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 6    Rockhurst University
      Gary Talewsky an d
 7    Harry Garavanian
 8
 9                                UNITED STATES DISTRICT COURT
10                            NORTHERN DISTRICT OF CALIFORNIA
11                                     SAN FRANCISCO DIVISION
12
13    IN RE: CATHODE RAY TUBE (CRT)             Case No. 3:07-cv-5944
      ANTITRUST LITIGATION                      MDL No. 1917
14
                                                CLASS ACTION
15    This Document Relates To:
                                                OBJECTION TO THE PROPOSED CLASS
16    All Indirect Purchaser Actions            ACTION SETTLEMENT AGREEMENT
                                                AND MOTION FOR ATTORNEY FEES
17                                              BY OBJECTOR ROCKHURST
                                                UNIVERSITY, OBJECTOR GARY
18                                              TALEWSKY, AND OBJECTOR HARRY
                                                GARAVANIAN
19
20
21                                              Judge: Honorable Samuel Conti
                                                Courtroom One, 17th Floor
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      OBJECTION TO THE PROPOSED CLASS ACTION SETTLEMENT AGREEMENT AND MOTION FOR
       ATTORNEY FEES BY OBJECTOR ROCKHURST UNIVERSITY, OBJECTOR GARY TALEWSKY,
                             AND OBJECTOR HARRY GRAVANIAN
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 1        I.       INTRODUCTION
 2              The proposed settlement has bargained away the rights of a Nationwide Class without
 3    adequate representation and must be rejected. Class Counsel must demonstrate that their
 4    proposed settlement meets the requirements of Rule 23 and falls within the range of possible
 5    approval. To satisfy this burden, the settlement must not provide any basis that would suggest
 6    unfairness to absent class members. Upon close examination, the proposed settlement is
 7    anything but fair. The settlement requires that individuals and entities in a Nationwide Class
 8    release all of their rights, including the right to bring an individual suit against the named
 9    defendants, without consideration or compensation for doing so. Ultimately the settlement
10    provides no relief for Nationwide Class members and comes nowhere close to being fair,
11    adequate, and reasonable. The Nationwide Class members are entitled to consideration for their
12    injunctive claims.
13        II.      BACKGROUND OF OBJECTORS
14              Rockhurst University. Objector Rockhurst University, established in 1910, is a Jesuit
15    University in Kansas City, Missouri and has an approximate enrollment of 3000.1 Matthew
16    Heinrich is the Associate Vice President of Facilities and Technology for Rockhurst University
17    in Kansas City, Missouri. The University’s address and telephone number is 1100 Rockhurst
18
      Road, Kansas City, MO 64110, telephone number (816) 501-4000. See Declaration Of Matthew
19
      Heinrich In Support Of Objection To The Settlement Agreement and Motion for Attorneys’
20
21    1
        Rockhurst University is part of a National Association of 28 Universities throughout the
22    United States including Boston College, Canisius College, College of the Holy Cross, Creighton
      University, Fairfield University, Fordham University, Georgetown University, Gonzaga
23    University, Santa Clara School of Theology of Santa Clara (assoc. member), John Carroll
24    University, Le Moye College, Loyola Marymount University, Loyola University Chicago,
      Loyola University Maryland, Loyola University New Orleans, Marquette University, Regis
25    University, St. Joseph’s University, St. Louis University, St. Peter’s University, Santa Clara
      University, Seattle University, Spring Hill College, The University of Scranton, University of
26    Detroit Mercy, University of San Francisco, Wheeling Jesuit University, Xavier University,
27    Boston College School of Theology and Ministry (assoc. member). Eighteen of these
      educational institutions are deprived of their recovery of the settlement funds in this case by the
28    issues raised herein.
                                            1
      OBJECTION TO THE PROPOSED CLASS ACTION SETTLEMENT AGREEMENT AND MOTION FOR
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 1    Fees (“Heinrich Decl”). Rockhurst University is a purchaser of CRT products for its own use,
 2    and not for resale between March 1, 1995 and November 25, 2007, Id., ¶5-8, Rockhurst
 3    University meets the Nationwide Class Definition and therefore has standing to bring this
 4    objection.
 5              Gary Talewsky. Objector, Gary Talewsky, is a Travel Professional and is part of a
 6    nationwide association of Travel Agency Owners & Agents of approximately 41 members. Mr.
 7    Talewsky works and resides in Massachusetts. See Declaration Of Gary Talewsky In Support
 8    Of Objection To The Settlement Agreement and Motion for Attorneys’ Fees (“Talwesky
 9    Decl.”). Mr. Talewsky’s address is 95 Washington Street, Suite 104-312, Canton, MA 02021
10    and his telephone number is (781) 471-2310. Talewsky Decl., ¶2. Mr. Talewsky purchased
11    multiple CRT products for his own use, and for the use of his business, and not for resale
12    between March 1, 1995 and November 25, 2007. Id., ¶4-9. Mr. Talewsky, as a purchaser of
13    CRT products, meets the Nationwide Class Definition and therefore has standing to bring this
14    objection.
15              Harry Garavanian. Objector, Harry Garavanian, is a Travel Professional and is part of a
16    nationwide association of Travel Agency Owners & Agents of approximately 41 members. Mr.
17    Garavanian works and resides in Massachusetts. See Declaration Of Harry Garavanian In
18    Support Of Objection To The Settlement Agreement and Motion for Attorneys’ Fees
19    (“Garavanian Decl.”). Mr. Garavanian’s address is 40 Vinal Sq., North Chelmsford, MA 01863,
20    and his telephone number is (978) 251-2868. Id., ¶ 2. Mr. Garavanian purchased multiple CRT
21    products for his own use, and for the use of his business, and not for resale between March 1,
22    1995 and November 25, 2007. Id., ¶4-9. Mr. Garavanian, as a purchaser of CRT products, meets
23    the Nationwide Class Definition and therefore has standing to bring this objection.
24       III.      ARGUMENT
25              Final approval is warranted if the settlement is determined to be “fundamentally fair,
26    adequate, and reasonable.” Class Plaintiffs v. City of Seattle, 955 F.2d 1268, 1276 (9th Cir.
27    1992). The Manual for Complex Litigation (Fourth) § 21.632 (2004) (“Manual”) provides:
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                                            2
      OBJECTION TO THE PROPOSED CLASS ACTION SETTLEMENT AGREEMENT AND MOTION FOR
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               Fairness calls for a comparative analysis of the treatment of the class members
 1
               vis-à-vis each other and vis-à-vis similar individuals with similar claims who are
 2             not in the class. Reasonableness depends on an analysis of the class allegations
               and claims and the responsiveness of the settlement to those claims. Adequacy of
 3             the settlement involves a comparison of the relief granted to what class members
               might have obtained without the class action process.
 4
            As discussed below, the proposed settlement bargains away the rights of indirect purchasers
 5
      in 29 states, requiring that they release their injunctive and monetary claims without any
 6
      consideration, as well as the rights of all claimants without sufficient compensation.
 7
                   A. Class Members Did Not Receive Adequate Representation
 8
               To satisfy constitutional due process concerns, absent class members must be afforded
 9
      adequate representation before entry of a judgment which binds them. Hanlon v. Chrysler
10
      Corp., 150 F.3d 1011, 1020 (9th Cir. 1998). The fulcrum of the adequacy requirement is an
11
      alignment of interests and incentives between the representative plaintiffs, counsel, and the
12
      absent class members. See Hopson v. Hanesbrands Inc., 2009 U.S. Dist. LEXIS 33900, at *10
13
      (N.D. Cal. Apr. 3, 2009) (Adequacy standard is met if “(1) the class representative and counsel
14
      do not have any conflicts of interest with other class members; and (2) the representative
15
      plaintiff and counsel will prosecute the action vigorously on behalf of the class”). Thus,
16
      representation is inadequate where the settlement terms prefer some class members over others
17
      and there are divergent interests between class members. See Hanlon, supra, 150 F.3d at 1020-
18
      21.
19
               Nationwide Settlement Class
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               The proposed settlements are contingent on settlement approval of a Nationwide Class
21
      consisting of “all persons and or entities who or which indirectly purchased in the United States
22
      for their own use and not for resale, CRT Products manufactured and/or sold by the Defendants,
23
      or any subsidiary, affiliate, or alleged co-conspirator thereof, at any time during the period
24
      March 1, 1995 through November 25, 2007.” Dkt. 3861, at p. 6. Class Counsel also seeks to
25
      certify Statewide Damages Classes, consisting of persons and entities who purchased CRT
26
      Products in the District of Columbia and in twenty-one states. Id. Although class members in
27
28
                                            3
      OBJECTION TO THE PROPOSED CLASS ACTION SETTLEMENT AGREEMENT AND MOTION FOR
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 1    the Statewide Damages Class may fall into the Nationwide Class, the inverse is not true, leaving
 2    purchasers in 29 states without any type of relief.
 3            In exchange for the release of “all federal and state-law claims…concerning the
 4    manufacture, supply, distribution, sales or pricing of CRT products,” the Settling Defendants
 5    are providing consideration in the amount of $563 million and an agreement to provide
 6    “specified cooperation to Plaintiffs in the prosecution of any continuing litigation” (Dkt. 3861,
 7    at p. 9 and Dkt. 3875, at p. 2) (although there is no continuing litigation with these settlement
 8    approvals). The “Releasors” are defined in each Settlement Agreement as “the indirect-
 9    purchaser plaintiff Class representatives and the indirect-purchaser Class Members….” 2 Each
10    agreement further states that the release is “in consideration of payment of the Settlement
11    Amount as specified in Paragraph […] of this Agreement.”3 Pursuant to the terms of the
12    settlement agreements, the Nationwide Class appears to fall within the provision for the
13    monetary relief, yet the Nationwide Class is prevented from making a claim on the CRT claims
14    website unless they fall within the State Class as well. Class Counsel’s proposed Plan of
15    Distribution provides only compensation to “members of the Statewide Damages Classes…who
16    claim their pro-rata share of the Settlement Fund based on the number of valid claims filed, and
17    the number and type of CRT Products each claimant purchased during the class period.” Dkt.
18    3862, at ¶ 43. There is no mention of injunctive relief or the monetary value of such relief for
19    the Nationwide Class. The Nationwide Class now is left in the wind, with no consideration of
20    any type actually being received. Members of the Nationwide Class receive nothing in return
21    for their release of claims.
22            //
23
      2
24      CPT Settlement, at ¶5; LG Settlement, at ¶5; Hitachi Settlement, at ¶5; Panasonic Settlement,
      at ¶5; Philips Settlement, at ¶5; Samsung Settlement, at ¶5; Toshiba Settlement, at ¶5; and
25    Technicolor/Thomson and Technologies Displays Settlement, at ¶5.
26    3
         CPT Settlement, at ¶13; LG Settlement, at ¶13; Hitachi Settlement, at ¶13; Panasonic
27    Settlement, at ¶13; Philips Settlement, at ¶13; Samsung Settlement, at ¶13; Toshiba Settlement,
      at ¶13; and Technicolor/Thomson and Technologies Displays Settlement, at ¶13.
28
                                            4
      OBJECTION TO THE PROPOSED CLASS ACTION SETTLEMENT AGREEMENT AND MOTION FOR
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 1           State Settlement Classes
 2           The distribution for the earlier approved settlements of Chungwa Picture Tubes
 3    (“CPT”) and LG hinge on the approval of the settlements and Distribution Plan at bar and are
 4    thus at issue herein. Between the issues in the earlier settlements coupled with the issues in the
 5    current settlements and distributions, multiple states have been blindsided with the loss of any
 6    recovery whatsoever. Multiple states were part of the earlier state damage class definitions and
 7    were removed subsequent to settlement, e.g. Massachusetts. Other states were part of the earlier
 8    National Settlement Class4 but now cannot recover, e.g. Missouri.
 9           For instance, members of the Massachusetts Statewide Class were included as part of the
10    initial settlement with CPT. Dkts 884-1; 437; 716. Both Class Counsel and Defense Counsel
11    represented to the court that their injunctive settlement provided monetary consideration. CPT
12    settled the “50-state federal injunctive claim in exchange for monetary consideration.” Dkt. 942,
13    at p 3:23 - 4:2. In light of “a colorable monetary claim in all 50 states,” CPT “settle[d] all those
14    claims—known or unknown, weak or strong, foreseen or unforeseen, based on existing law or
15    the creation of new law—that arise in a litigation.” Id. at p. 4:3 – 4:8. Yet, indirect purchaser
16    plaintiffs in Massachusetts, as well as Missouri, are precluded from the claims process and
17    receiving any monetary compensation or consideration in exchange for the release of their
18    injunctive and monetary claims, despite the fact that CPT settled for a “50-state federal
19    injunctive claim in exchange for monetary consideration.” Dkt. 942, at 3:23 – 4:2.
20           At the time of the settlement with CPT, Massachusetts was part of the State Damage
21    Class (Dkt. 884-1; 437; 716). Following the CPT Settlement, Class Counsel did not move for
22    Preliminary Approval for two years. During that period of time the Court dismissed the
23    Massachusetts claim with leave to amend for failure to plead that Plaintiffs had notified the
24    Defendants 30 days before filing the Consolidated Amended Complaint (CAC). Dkt. 597. Class
25
26    4
        Because they were part of the Nationwide Class it was not necessary for the State to sue on its
27    citizens behalf since Class Counsel was handling the recoveries, but with the issues at bar these
      claims are lost.
28
                                            5
      OBJECTION TO THE PROPOSED CLASS ACTION SETTLEMENT AGREEMENT AND MOTION FOR
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 1    Counsel then filed their Second Amended Complaint (SCAC). Dkt. 716. Class Counsel again
 2    failed to comply with the procedural requirements and properly plead that they had notified
 3    Defendants 30 days before filing the SCAC. Dkt. 768, at p. 12-13; 796. This time Massachusetts
 4    was dismissed with prejudice. Dkt. 768, at p. 12-13; 796.5 Objectors believe Class Counsel did
 5    not appeal.6 Objectors have seen nothing to indicate Class Counsel filed anything to adequately
 6    inform Massachusetts claimants of their right to file Direct Action Suits. On the contrary, Class
 7    Counsel filed a Stipulated Proposed Order (which did not make any reference to
 8    “Massachusetts”) (Dkt 796) and filed the Third Amended Complaint (TCAC) without
 9    Massachusetts (Dkt. 827). The proceedings were not very transparent. There does not appear to
10    be anything in the docket filed by Class Counsel that would clearly inform a consumer of, much
11    less suggest, a need to file a separate complaint (assuming the Statute of Limitations had not
12    run). In the subsequent Motions for Approval of the CPT settlement, many states were included
13    in the state damage classes, although they had previously been dismissed. In fact, Counsel had
14    argued to the court that it was possible to do so. See Dkt. 942, 943, 944. CPT intended to
15    include the Nationwide Class in its monetary settlement, and advocated that position to the
16    Court.7 However, even though CPT had already paid for the Massachusetts claims, Counsel did
17
      5
18     “Since plaintiffs have now had two opportunities to comply and plead compliance, the Special
      Master recommends that the allegations under the Massachusetts’ consumer protection statute
19    should be dismissed with prejudice.” Dkt. 768, at p. 12-13; 796.
20    6
        The Special Master and the Court was aware that Independent Direct actions could be filed,
21    and discussed it. “While certainly no procedural dismissal of this nature should bar the filing of
      a truly new suit…” Id. Class Counsel never informed the Massachusetts claimants of the need to
22    do so, and any Statute of Limitations has presumably run.
23    7
        “Nothing prohibits CPT from settling the 50-state federal injunctive claim in exchange for
24    monetary consideration. Indeed, this is an important component of the settlement because every
      member of the proposed settlement class holds a federal Sherman Act claim for injunctive
25    relief—even in those states for which no damages claim has been asserted. In exchange for
      monetary or other consideration provided in the settlement, class plaintiffs will release their
26    federal Sherman Act injunctive claims as well as any other potential state or federal damage
27    claims against CPT. Moreover, the anticompetitive conduct alleged in this case is illegal in
      every state in the Union, including District of Columbia.” Dkt. 943 (emphasis added).
28
                                            6
      OBJECTION TO THE PROPOSED CLASS ACTION SETTLEMENT AGREEMENT AND MOTION FOR
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 1    not add Massachusetts to the state damage settlement class for approval. Nor does it appear CPT
 2    ever signed off on a change to the Settlement Agreement class. Massachusetts is included in the
 3    Nationwide Class, but currently that class is not able to recover per the current claim forms.8
 4           The Nationwide Class is entitled to some type of consideration or compensation in
 5    exchange for its release. Counsel failed to adequately represent the Nationwide Class’ interests
 6    in securing any value for the release of their claims, and in fact seems to have had a conflict
 7    with multiple states, or with at least the Massachusetts and Missouri classes. As a result, the
 8    settlement is unfair, and final approval should be denied.
 9                 B. The Notice to Class Members Was Inadequate
10           To comport with due process requirements, the notice must clearly describe the
11    settlement’s benefits and limitations, including that the Nationwide Class releases its rights but
12    will receive no recovery. Fed. R. Civ. P. 23(c)(2)(B). The obfuscation of the actual terms of the
13    proposed settlement is improper. It is axiomatic that due process requires that the notice of a
14    settlement proposal must reasonably apprise members of the class of the terms of the settlement
15    and of the options open to those who would dissent. The notice here fails to adequately inform
16    class members of the terms of the settlement because it fails to state that members of the
17    Nationwide Class release all their rights but receive nothing in return.
18           Members of the Massachusetts and Missouri Statewide Class were included as part of
19    the initial State Damage Settlement with CPT in 2009, see supra (Dkts 884-1; 437; 716) but
20    cannot make a claim.        Indirect purchaser plaintiffs in the Nationwide Class, including
21    Massachusetts and Missouri, are also precluded from the claims process and receive nothing.
22    The notice is confusing, is arguably contrary to the settlement agreements, and fails to apprise
23    the class of their rights. Such procedurally and substantively deficient notice fails the
24    requirements of Rule 23 and amounts to denial of due process.
25           ///
26
      8
27      There are over 114 Universities and colleges currently in the Commonwealth of Massachusetts
      alone, all of which are shut out of this settlement.
28    https://en.wikipedia.org/wiki/List_of_colleges_and_universities_in_Massachusetts
                                            7
      OBJECTION TO THE PROPOSED CLASS ACTION SETTLEMENT AGREEMENT AND MOTION FOR
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 1           The Nationwide Class consists of persons or entities who purchased CRT Products from
 2    as early as March 1, 1995, making it highly probable that an individual claimant is of age 60 or
 3    older. Although a New Media notice campaign is modern and efficient, it may not be the
 4    appropriate manner to notice the claimant class herein. Notice of the Settlement was
 5    disseminated in some print publications, on the Internet, and via Press Release. Dkt. 1063, at p.
 6    4. Print publications of the Class Notice were published in Parade Magazine, USA Weekend,
 7    USA Today, The New York Times, and El Nueva Dia. Dkt. 1063, at p. 4. Given the significant
 8    decline in Parade Magazine’s circulation and the fact that Parade Magazine reaches less than
 9    35% of adults age 55 and older, it is questionable whether the these present methods are
10    adequately providing notice to the Nationwide Class. See Exhibit A attached to the Declaration
11    of Theresa D. Moore In Support of Objection to the Settlement Agreement and Opposition to
12    Motion for Approval (“Moore Decl. Ex. A). The graph attached as Exhibit A illustrates that the
13    CRT claimants are those of the age who do in fact tend to use print publications. Id. Old Media,
14    such as notice sent via AARP publications, postcards, radio, or television may be more
15    appropriate than New Media for this age group of claimants and have greater success in
16    reaching putative class members.
17           The Notice also fails to notify any non US state residents of their right to make a claim.
18               C. The Settlement Amount
19           The Objectors further submit that the settlement should be evaluated against the treble
20    damages potentially available to this class, and the policy of antitrust joint and several liability.
21    Treble damages are a fact of life in antitrust litigation. In some cases courts asked to approve a
22    settlement may believe the class’s claim is so strong that the merits of the amount negotiated
23    cannot reasonably be evaluated without measuring it against the likelihood of a treble as well as
24    a single damages recovery. Such is the case herein.
25           Plaintiffs’ expert estimated the total class damages to be $2.768 Billion. Dkt. 3861, at p.
26    14, fn. 31. The total class damages, trebled, is $8.3 Billion and represents Defendants’ potential
27    liability. To settle this important matter against serial price fixers for one-tenth of the potential
28
                                            8
      OBJECTION TO THE PROPOSED CLASS ACTION SETTLEMENT AGREEMENT AND MOTION FOR
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 1    damages seems not appropriate, particularly where joint and several liability is in play.
 2    Although Class Counsel likens this action to the In re TFT-LCD (Flat Panel) Antitrust
 3    Litigation and cites similar problems, in reality, the CRT conspiracy continued for a much
 4    longer period of time and was much better organized than the LCD conspiracy. In LCD, the
 5    potential single damages were approximately $800 million less than CRT, but LCD settled for
 6    almost twice the CRT settlement. LCD settled at $1.1 Billion, and CRT $576 million.
 7    Moreover, the LCD litigation recovered one-half of single damages, but the CRT recovered
 8    only one-fifth of single damages.
 9           While a large number, Objectors believe the $576 million settlement fund is insufficient
10    to fairly compensate the class members and deter similar conduct in the future. The Supreme
11    Court has said that private civil antitrust suits serve two purposes: to compensate the victims of
12    antitrust violation and to “deter violators and deprive them of ‘the fruits of their illegality.’”9
13    Pfizer, Inc. v. Gov’t of India, 434 U.S. 308, 314 (1978) (quoting Illinois Brick Co. v. Illinois,
14    431 U.S. 720, 746 (1977)). This settlement does not deprive those defendants of “the fruits of
15    their illegality”—if anything, it may provide reinforcement that further antitrust violations can
16    be settled for a fraction of their value, even in the face of compelling evidence of liability and
17    damages.10     Given the strength of the evidence, Objectors submit that the amounts the
18    Defendants have agreed to pay to settle this case is not enough.
19                 D. The Attorney Fee Request
20           No objection is made as to Class Counsel’s request of one-third of the total Settlement
21    for attorneys’ fees for the result they have achieved. Although it is a very large settlement, it
22    must be properly evaluated, and as written above, the class deserves much more.
23
      9
24     The evidence shows that the defendants continued with their price fixing conspiracies in the
      newer and more modern LCD technologies. In re TFT-LCD (Flat Panel) Antitrust Litigation,
25    No. 07-md-01827 (N.D. Cal.).
26    10
          Similarly, Objectors respectfully disagree to limiting the individual claimants recovery to
27    treble damages, assuming there are monies left over after a pro rata distribution. It is unfair and
      illogical to deny a claimant interest or damages on a $25 claim, while the Defendants are only
28    paying 1/5 of a $2.7 billion theft.
                                            9
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 1       IV.      ADOPTION OF OTHER OBJECTIONS
 2             The Objectors hereby adopt and incorporate herein all other objections lodged with the
 3    Court with regard to the Proposed Settlement, to the extent such objections are not inconsistent
 4    with the objections raised herein.
 5       V.       CONCLUSION
 6             The proposed settlement fails to protect the interests of putative class members and
 7    provides no relief to purchasers in 29 states. For the reasons discussed above, the Court should
 8    deny approval of the settlement as constituted.
 9
10                                                 Respectfully submitted,
11    Dated: October 8, 2015                            /s/ Theresa D. Moore                    .
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     tmoore@aliotolaw.com
 5
     Counsel for Objectors
 6   Rockhurst University
     Gary Talewsky and
 7   Harry Garavanian
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                                 UNITED STATES DISTRICT COURT
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                              NORTHERN DISTRICT OF CALIFORNIA
14
                                      SAN FRANCISCO DIVISION
15
     IN RE: CATHODE RAY TUBE (CRT)             Case No. 3:07-cv-5944
16   ANTITRUST LITIGATION                      MDL No. 1917
17                                             CLASS ACTION
18                                             DECLARATION OF THERESA D. MOORE
     This Document Relates to:                 IN SUPPORT OF OBJECTION TO THE
19                                             CLASS ACTION SETTLEMENT
     All Indirect Purchaser Actions            AGREEMENT AND MOTION FOR
20                                             ATTORNEY FEES
21
                                               Judge: Honorable Samuel Conti
22                                             Courtroom One, 17th Floor
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       DECLARATION OF THERESA D. MOORE ISO OBJECTION TO THE SETTLEMENT AGREEMENT
                             AND MOTION FOR ATTORNEY FEES
                                                      Case No. 3:07-cv-5944, MDL No. 1917
Case 4:07-cv-05944-JST Document 4436-4 Filed 02/26/16 Page 14 of 163



        Case 3:07-cv-05944-JST Document 4113-1 Filed 10/08/15 Page 2 of 4



 1             I, Theresa D. Moore, declare as follows:

 2             1.     I am an attorney licensed to practice law in the State of California., and am

 3   attorney for Objectors Rockhurst University, Gary Talewsky, and Harry Garavanian.

 4             2.     I make this declaration based on my own personal knowledge, and if called to

 5   testify as a witness in this matter, I could and would competently testify to the facts contained

 6   herein.
               3.     Attached hereto as Exhibit A is a true and correct copy of a graphic from a
 7
     presentation by Gilardi & Co.
 8

 9
               I declare under penalty of perjury that the foregoing is true and correct.
10
11
               Executed this 8th day of October, 2015, in San Francisco, California.
12
13
                                                               /s/ Theresa D. Moore
14
                                                          Theresa D. Moore
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         DECLARATION OF THERESA D. MOORE ISO OBJECTION TO THE CLASS ACTION SETTLEMENT
                          AGREEMENT AND MOTION FOR ATTORNEY FEES
                                                         Case No. 3:07-cv-5944, MDL No. 1917
Case 4:07-cv-05944-JST Document 4436-4 Filed 02/26/16 Page 15 of 163



        Case 3:07-cv-05944-JST Document 4113-1 Filed 10/08/15 Page 3 of 4



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Case 3:07-cv-05944-JST Document 4113-1 Filed 10/08/15 Page 4 of 4




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Case 4:07-cv-05944-JST Document 4436-4 Filed 02/26/16 Page 17 of 163



        Case 3:07-cv-05944-JST Document 4113-2 Filed 10/08/15 Page 1 of 2



 1   Theresa D. Moore (99978)
     Jill T. Lin (284962)
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 5   tmoore@aliotolaw.com
 6   Counsel for Objectors
     Rockhurst University
 7   Gary Talewsky
     Harray Garavanian
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                                 UNITED STATES DISTRICT COURT
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                              NORTHERN DISTRICT OF CALIFORNIA
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                                      SAN FRANCISCO DIVISION
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     IN RE: CATHODE RAY TUBE (CRT)             Case No. 3:07-cv-5944
17   ANTITRUST LITIGATION                      MDL No. 1917
18                                             CLASS ACTION
19                                             DECLARATION OF GARY TALEWSKY_IN
     This Document Relates to:                 SUPPORT OF OBJECTION TO THE
20                                             PROPOSED CLASS ACTION SETTLEMENT
     All Indirect Purchaser Actions            AGREEMENT AND MOTION FOR
21                                             ATTORNEY FEES BY OBJECTOR
                                               ROCKHURST UNIVERSITY AND
22                                             OBJECTOR GARY TALEWSKY AND
                                               OBJECTOR HARRY GARAVANIAN
23

24
                                               Judge: Honorable Samuel Conti
25                                             Courtroom One, 17th Floor
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       DECLARATION OF GARY TALEWSKY IN SUPPORT OF OBJECTION TO THE PROPOSED CLASS
        ACTION SETTLEMENT AGREEMENT AND MOTION FOR ATTORNEY FEES BY OBJECTOR
              ROCKHURST UNIVERSITY, GARY TALEWSKY, AND HARRY GARAVANIAN
                                                     Case No. 3:07-cv-5944, MDL No. 1917
Case 4:07-cv-05944-JST Document 4436-4 Filed 02/26/16 Page 18 of 163



        Case 3:07-cv-05944-JST Document 4113-2 Filed 10/08/15 Page 2 of 2



 1          I, Gary Talewsky, declare from my own personal knowledge and on information and belief,
 2   as follows:
 3          1.      I have been an owner of a Travel Agency, and am a Travel Agent. I reside and work
 4   in Massachusetts, and book travel and airline tickets among other services;
 5          2.      My address is 95 Washington Street, Suite 104-312, Canton, MA 02021, and my
 6   telephone number is (781) 471-2310;
 7          3.      I am a member of the CRT class;
 8          4.      I have purchased multiple CRT products for my own use, and for the use of my
 9   business, and not for resale between March 1, 1995 and November 25, 2007;
10          5.      I have purchased these CRT products in Massachusetts;
11          6.      I purchased these products from a retailer or someone other than a Defendant or co-
12   conspirator;
13          7.      I have purchased 18 CRT computer monitors for my office;
14          8.      I have purchased 4 CRT computer screens for my home;
15          9.      I have purchased 5 standard CRT televisions.
16          I declare under penalty of perjury that the foregoing is true and correct.
17          Executed this 7th day of October, 2015, in Bankok, Thailand.
18                                                          /S/
19                                                   Gary Talewsky
20

21                                            ATTESTATION
22          Pursuant to General Order No. 45, § X(B), regarding signatures, I attest that I have
23   obtained the concurrence in the filing of this document from the signatory.
24                                                        /S/ Theresa D. Moore                     .
25                                                   Counsel for Objector Gary Talewsky
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28                                         1
       DECLARATION OF GARY TALEWSKY IN SUPPORT OF OBJECTION TO THE PROPOSED CLASS
        ACTION SETTLEMENT AGREEMENT AND MOTION FOR ATTORNEY FEES BY OBJECTOR
              ROCKHURST UNIVERSITY, GARY TALEWSKY, AND HARRY GARAVANIAN
                                                     Case No. 3:07-cv-5944, MDL No. 1917
Case 4:07-cv-05944-JST Document 4436-4 Filed 02/26/16 Page 19 of 163



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Case 4:07-cv-05944-JST Document 4436-4 Filed 02/26/16 Page 20 of 163



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Case 4:07-cv-05944-JST Document 4436-4 Filed 02/26/16 Page 23 of 163



        Case 3:07-cv-05944-JST Document 4113-5 Filed 10/08/15 Page 1 of 2



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 5
     Counsel for Objectors
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 7   Harry Garavanian
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13                               UNITED STATES DISTRICT COURT
14                            NORTHERN DISTRICT OF CALIFORNIA
15                                    SAN FRANCISCO DIVISION
16   IN RE: CATHODE RAY TUBE (CRT)             Case No. 3:07-cv-5944
     ANTITRUST LITIGATION                      MDL No. 1917
17
                                               CLASS ACTION
18
                                               NOTICE OF INTENT TO APPEAR IN RE
19   This Document Relates to:                 CATHODE RAY TUBE (CRT) ANTITRUST
                                               LITIGATION MDL NO. 1917
20   All Indirect Purchaser Actions
                                               Date: November 13, 2015
21                                             Time: 10:00 a.m.
                                               Judge: Honorable Samuel Conti
22                                             Courtroom One, 17th Floor
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      NOTICE OF INTENT TO APPEAR IN RE CATHODE RAY TUBE (CRT) ANTITRUST LITIGATION MDL
      NO. 1917                                            Case No. 3:07-cv-5944, MDL No. 1917
Case 4:07-cv-05944-JST Document 4436-4 Filed 02/26/16 Page 24 of 163



        Case 3:07-cv-05944-JST Document 4113-5 Filed 10/08/15 Page 2 of 2



 1          In accordance with the Amended Order Granting Preliminary approval of Class Action
 2   Settlements with Philips, Panasonic, Hitachi, Toshiba, Samsung SDI, Thomas and TDA
 3   Defendants (Dkt. 3906), the undersigned hereby gives notice of an intention to appear at the
 4   Fairness Hearing on November 13, 2015 at 10:00 a.m.
 5
 6   Dated: October 8, 2015                              /s/ Theresa D. Moore                .
 7                                                       Theresa D. Moore (99978)
                                                         c/o ALIOTO LAW FIRM
 8                                                       One Sansome Street, 35th Floor
                                                         San Francisco, CA 94104
 9                                                       Telephone: (415) 434-8900
                                                         Facsimile: (415) 434-9200
10                                                       tmoore@aliotolaw.com
11                                                       Counsel for Objectors Rockhurst University
                                                         and Gary Talewsky
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      NO. 1917                                            Case No. 3:07-cv-5944, MDL No. 1917
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    PHPEHUVRQFHDFODVVDFWLRQVXLWLVILOHGSee, e.g., In re General Motors Corp. Pick-up Truck
    Fuel Tank)G UG&LU  VWDWLQJWKDWFODVVDWWRUQH\VRZHWKHHQWLUHFODVVD
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    FHUWDLQOLPLWHGDELOLWLHVWRSUHMXGLFHWKHVXEVWDQWLYHOHJDOLQWHUHVWVRISXWDWLYHFODVVPHPEHUVHYHQ
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                       $GHTXDWHO\5HSUHVHQWHGDQG6KRXOG%H,QFOXGHGLQWKH6WDWHZLGH
                      'DPDJHV&ODVVHV

               $VFHUWDLQLQJKRZWKH0DVVDFKXVHWWVDQG0LVVRXUL&ODVVHVZHUHORVWDQGIRUJRWWHQGXULQJ
     WKHVHHLJKW\HDUVRIOLWLJDWLRQFDQRQO\EHDFKLHYHGWKURXJKH[WHQVLYHLQYHVWLJDWLRQDQGFDQRQO\
     EHJOHDQHGLQRQHGRFXPHQWEXULHGGHHSLQWKHGRFNHW'NWV'HVSLWH/HDG&RXQVHO
     WRXWLQJWKDWWKH\³VXFFHVVIXOO\GHIHQGHGWKHSOHDGLQJVDJDLQVWWZRURXQGVRIPRWLRQVWRGLVPLVV
     FRPSULVLQJMRLQWDQGVHSDUDWHPRWLRQVWKDWUDLVHGDPXOWLWXGHRIGLIILFXOWLVVXHV´LQDFWXDOLW\
     0DVVDFKXVHWWVZDVGLVPLVVHGZLWKSUHMXGLFHGXHWR&RXQVHO¶VUHSHDWHGOHJDOHUURURQHLQZKLFK
     WKHFRXUWJDYHVSHFLILFLQVWUXFWLRQVKRZWRFRUUHFWSee'NW ³6LQFHSODLQWLIIVKDYHQRZKDG
    WZR RSSRUWXQLWLHV WR FRPSO\ DQG SOHDG FRPSOLDQFH WKH 6SHFLDO 0DVWHU UHFRPPHQGV WKDW WKH
    DOOHJDWLRQV XQGHU WKH 0DVVDFKXVHWWV¶ FRQVXPHU SURWHFWLRQ VWDWXWH VKRXOG EH GLVPLVVHG ZLWK
    SUHMXGLFH´ see also 'NWS 'NWS'NW'NWV
              :LWKUHJDUGWRWKH0LVVRXUL&ODVV/HDG&RXQVHOQRZDUJXHVWKDWWKH/DZRIWKH&DVH
    SUHYHQWHG WKHP IURP DGGLQJ WKH FODLPV IRU 0LVVRXUL RU RWKHU 2PLWWHG 6WDWHV EXW LQ UHDOLW\
    &RXQVHOVKRXOGKDYHILOHGWKHFODLP\HDUVEHIRUHWKH&RXUWRUGHUHGWKDWQRQHZFODLPVFRXOGEH
    ILOHG'NWsee also 'NW /HDG&RXQVHOVWLSXODWHGDQGWKH&RXUWWKHUHIRUHDFFRUGLQJO\
    RUGHUHG WKDW DQ\ DPHQGPHQWV WR IXWXUH FRPSODLQWV ZHUH OLPLWHG WR ³>D@PHQGPHQWV DGGLQJ RU
    GURSSLQJQDPHGSODLQWLIIVZLWKUHVSHFWWRFODLPVDQGVWDWHVDOUHDG\DWLVVXH LHQRQHZFODLPV
    RUVWDWHV ´ See Schick v. Berg, supra, :/DW  6'1<$SU  ³,Q
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      6LQFH PXFK RI WKLV FDVH KDV WDNHQ SODFH EHKLQG GRRUV ZLWKRXW ILOLQJ DOO GRFXPHQWV DQG
      WUDQVFULSWVRQWKHGRFNHWLWLVGLIILFXOWIRUDFODVVPHPEHUWRJUDVSWKHIXOOWXUQRIHYHQWV,WLV
    RQO\ZKHQDSDUW\REMHFWVWRD6SHFLDO0DVWHU¶V5HSRUW 5HFRPPHQGDWLRQWKDWWKHFRPSOHWH
      UHFRUGRIWUDQVDFWLRQVEHFRPHVSDUWRIWKHSXEOLFGRFNHW%XW,33GLGQRWREMHFWRUDSSHDOWKH5
       5WRGLVPLVV0DVVDFKXVHWWHVZLWKSUHMXGLFH,QWKHDERYHVFHQDULR,33VWLSXODWHGWRWKHHQWU\
    RIWKH&RXUW2UGHUUDWKHUWKDQDSSHDOLQJLWWKXVEDFNXSGRFXPHQWVDUHQRWILOHGRQWKHGRFNHW
      ,WLVXQFOHDULIGRFXPHQWVH[LVWHGZKLFKFRXOGKDYHVKHGOLJKWRQWKHPDWWHU
    
       ³2Q0D\/HDG&RXQVHOSUHSDUHGDQGILOHG,33V¶6HFRQG&$& 'NW 7KH,33V¶
    6HFRQG&$&DPHQGHGFHUWDLQVWDWHODZFODLPVDQGDGGHGRWKHUV'HIHQGDQWVILOHGDQRWKHUMRLQW
      PRWLRQWRGLVPLVVRQYDULRXVVWDWHODZJURXQGV'NW,WZDVGHQLHGLQSDUWDQGJUDQWHGLQ
    SDUWZLWKOHDYHWRDPHQGFHUWDLQVWDWHODZFODLPV'NW/HDG&RXQVHODJDLQWRRNWKHOHDG
      RQEULHILQJDQGDUJXLQJWKHVHFRQGURXQGRIPRWLRQVWRGLVPLVVZLWKDVVLVWDQFHIURPVRPHRWKHU

      ,33&RXQVHO´'NW
                                                        &DVH1RFY-670'/1R
          5(3/<,622%-(&7,21723523&/$66$&7,216(77/(0(17$*5((0(17$1'071)25$77<
           )((6%<2%-(&725652&.+856781,9(56,7<*$5<7$/(:.6<$1'+$55<*$5$9$1,$1
     Case 4:07-cv-05944-JST Document 4436-4 Filed 02/26/16 Page 34 of 163




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     RWKHUZRUGVSUHFHUWLILFDWLRQFODVVFRXQVHORZHDILGXFLDU\GXW\QRWWRSUHMXGLFHWKHLQWHUHVWVWKDW
     SXWDWLYHFODVVPHPEHUVKDYHLQWKHLUFODVVDFWLRQOLWLJDWLRQ´ 7KHUHLVQRLQGLFDWLRQWKDW/HDG
     &RXQVHO HYHU WULHG WR ILOH VXFK D FODLP RQ EHKDOI RI DQ\ RI WKH 2PLWWHG 6WDWHV LQFOXGLQJ DQ\
     0LVVRXUL FODVV  3XUVXDQW WR /HDG &RXQVHO¶V SUHYLRXV VWDWHPHQWV PDGH LQ WKHLU 0RWLRQ IRU
     3UHOLPLQDU\$SSURYDOWKHVWUHQJWKRIWKHVHFODLPVDQGWKHHVWLPDWHRIGDPDJHVZHUHUREXVW7KH
     FODLPVVKRXOGWKHUHIRUHQRWKDYHEHHQOHIWRXWRULJQRUHG
               'HVSLWHEHLQJDSSRLQWHGDQGDJUHHLQJWRUHSUHVHQWWKHSXWDWLYHFODVV/HDG&RXQVHOQHYHU
     ILOHGDFRPSODLQWRQEHKDOIRI0LVVRXUL$QGGHVSLWHKDYLQJDVWURQJ0DVVDFKXVHWWVFODLP/HDG
     &RXQVHOGLGQRWIROORZWKHVWDWXWRU\QRWLFHLQVWUXFWLRQVREWDLQHGDGLVPLVVDOZLWKRXWSUHMXGLFH
    UHSHDWHGWKHHUURUDQGREWDLQHGDGLVPLVVDOZLWKSUHMXGLFHIRUWKHVHFODLPDQWV1RHYLGHQFHKDV
    EHHQIRXQGWRGDWHWKDWLQGLFDWHVDQ\RQHDFWHGRQEHKDOIRIWKHVHFODLPDQWVDWWKLVWLPH/HDG
    &RXQVHOWKHUHXSRQGLGQRWDSSHDORUIROORZXSLQDQ\ZD\LQFOXGLQJDOHUWLQJFODLPDQWVWKDWDFWLRQ
    ZDVQHFHVVDU\DQGLQIDFWVWLSXODWHGWRWKHHQWU\RIWKHMXGJPHQWSee fn 1
              $QXPEHURIFRXUWVKDYHKHOGWKDWFODVVFRXQVHORZHVDILGXFLDU\GXW\WRXQQDPHGFODVV
    PHPEHUVLQWKHSUHFHUWLILFDWLRQSHULRGSee In re Bluetooth Headset Products Liab. Litig.
    )G WK&LU ³3ULRUWRIRUPDOFODVVFHUWLILFDWLRQWKHUHLVDQHYHQJUHDWHUSRWHQWLDO
    IRUDEUHDFKRIILGXFLDU\GXW\RZHGWKHFODVVGXULQJVHWWOHPHQW´ In re General Motors Corp.
    Pick-Up Truck Fuel Prod. Liab. Litig.supra)GDW ³%H\RQGWKHLUHWKLFDOREOLJDWLRQV
    WRWKHLUFOLHQWVFODVVDWWRUQH\VSXUSRUWLQJWRUHSUHVHQWDFODVVDOVRRZHWKHHQWLUHFODVVDILGXFLDU\
    GXW\RQFHWKHFODVVFRPSODLQWLVILOHG´ $VRQHFRXUWKDVDUWLFXODWHG
           >:@HPD\YHQWXUHDIHZVWDWHPHQWVDERXWWKHVFRSHRIWKHILGXFLDU\GXW\RZHG
             E\FODVVFRXQVHOWRSXWDWLYHFODVVPHPEHUVSULRUWRFODVVFHUWLILFDWLRQ,QVKRUW
           WKHVFRSHRIWKRVHGXWLHVLVOLPLWHGWRSURWHFWLQJWKHVXEVWDQWLYHOHJDOULJKWVRI
             SXWDWLYHFODVVPHPEHUVWKDWIRUPWKHEDVLVRIWKHFODVVDFWLRQVXLWIURPSUHMXGLFH
           LQDQDFWLRQDJDLQVWWKHGHIHQGDQWUHVXOWLQJIURPWKHDFWLRQVRIFODVVFRXQVHO
           :KHUHWKHDFWLRQVRIFODVVFRXQVHOSXWWKRVHULJKWVDWULVNFODVVFRXQVHOPXVWDW

    
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       See 'NW 3ODLQWLIIV¶H[SHUW'U-DQHW61HW]3K'HVWLPDWHGWKHWRWDOFODVVGDPDJHVWR
    EH  ELOOLRQ ZLWK &57 PRQLWRUV DFFRXQWLQJ IRU DSSUR[LPDWHO\  ELOOLRQ DQG &57
    WHOHYLVLRQVDFFRXQWLQJIRUDSSUR[LPDWHO\PLOOLRQ See also'NWDWIQ
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        See 'NWDW ³>&@HUWDLQO\QRSURFHGXUDOGLVPLVVDORIWKLVQDWXUHVKRXOGEDUWKHILOLQJ
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      RIDWUXO\QHZVXLW´ see also 'NW
                                                        &DVH1RFY-670'/1R
          5(3/<,622%-(&7,21723523&/$66$&7,216(77/(0(17$*5((0(17$1'071)25$77<
           )((6%<2%-(&725652&.+856781,9(56,7<*$5<7$/(:.6<$1'+$55<*$5$9$1,$1
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                D PLQLPXP SXW DEVHQW FODVV PHPEHUV RQ QRWLFH DQG SURYLGH WKHP ZLWK DQ
 
                RSSRUWXQLW\WRREMHFW:KHUHWKH\IDLOWRGRVRFODVVFRXQVHOH[SRVHVLWVHOIWR
               SRWHQWLDOOLDELOLW\IRUEUHDFKRILWVILGXFLDU\GXWLHV

               Schick v. Bergsupra:/DW  6'1<$SU %\IRUHJRLQJ
     DQ\SRWHQWLDOUHSDUDWLRQFODLPVIRUWKH/RVW6WDWHV/HDG&RXQVHOHIIHFWLYHO\ZDLYHGWKHVHFODVV
     PHPEHUV¶FODLPV>$@7KXV&RXQVHO¶VDFWLRQVRIHQWHULQJLQDELQGLQJVWLSXODWLRQZKLFKGRHVQRW
     GLUHFWO\QDPH\HWSUHYHQWVUHFRYHU\IRU0DVVDFKXVHWWVDQG0LVVRXULDQGZKLFKOLPLWHGUHFRYHU\
     RQO\WRWKH6WDWHZLGH'DPDJHV&ODVVQHFHVVDULO\SUHMXGLFHGWKH/RVW6WDWHV¶VXEVWDQWLYHOHJDO
     ULJKWVWRUHFRYHU\
               ,QDWWHPSWLQJWRMXVWLI\WKHWHUPVRIWKLVSHQGLQJVHWWOHPHQW&ODVV&RXQVHOWDNHVDSRVLWLRQ
    GLUHFWO\DQWDJRQLVWLFWRWKHLQWHUHVWVRIWKHLURZQ/RVW6WDWHVDQG1DWLRQZLGH2PLWWHG6WDWHFODVV
    PHPEHUV DQG XQGHUPLQHV WKHLU ULJKW WR FODLP GDPDJHV ,Q VXSSRUW RI WKHLU 0RWLRQ IRU )LQDO
    $SSURYDO&RXQVHOVHHPLQJO\GHIHQGVWKHLUGHFLVLRQQRWWRIROORZWKH&RXUW¶VLQVWUXFWLRQVDQG
    GLUHFWLRQVIRUILOLQJDQDPHQGHGFRPSODLQWIRU0DVVDFKXVHWWV 'NW DVLIWKHGLVPLVVDOZLWK
    SUHMXGLFHRIWKH0DVVDFKXVHWWVFRPSODLQWQHYHUH[LVWHGEHFDXVHWKH\GLGQRWGRZKDWWKHODZDQG
    WKHFRXUWUHTXLUHGLHJLYHDQGDOOHJHOHJDOQRWLFH&RXQVHOGRHVQRWWDNHDQ\UHVSRQVLELOLW\IRU
    QHYHUILOLQJDFRQVXPHU0LVVRXULFDVH$QGLQHDFKVLWXDWLRQ&RXQVHOVWDWHVLQWKHLUSDSHUVWKDW
    2EMHFWRUVDQGDEVHQWFODVVPHPEHUVVKRXOGKDYHGRQHVRWKHPVHOYHV7KHUHFRXOGKDUGO\EHD
    EHWWHULOOXVWUDWLRQRIWKHGLUHFWFRQIOLFWEHWZHHQWKHVHFODVVHVDQGWKH6WDWH&ODVV7KLV/RVW6WDWHV
    DQG 2PLWWHG 6WDWHV VXEJURXS FRXOG QRW SRVVLEO\ KDYH EHHQ DGHTXDWHO\ UHSUHVHQWHG E\ &ODVV
    &RXQVHO ZKR DIILUPDWLYHO\ DWWHPSWHGWRXQGHUPLQHWKHVHVWDWHV¶VHSDUDWHFODLPVIRU HFRQRPLF
    LQMXULHVDQGSRUWUD\VRUYDOXHVWKHPDVZRUWKOHVV3ODLQWLIIVDQGWKHLU&RXQVHORZHGD³ILGXFLDU\
    GXW\´WRWKH³HQWLUHFODVV´In re General Motors, supra)GDWS7RDGHTXDWHO\UHSUHVHQW
    WKH HQWLUH VHWWOHPHQW FODVV &ODVV &RXQVHO VKRXOG QRW WDNH DQ\ SRVLWLRQ DQWDJRQLVWLF WR VRPH
    PHPEHUVRIWKHFODVV,QIDFW&RXQVHOFRXOGVWLOOKDYHSURWHFWHGWKHVHFODLPDQWVDQGLQFOXGHG
    WKHVHFODVVHVLQWKHPRQHWDU\UHFRYHU\VHWWOHPHQWVEXWGHFOLQHGWRGRVR
              :KHUHDSURSRVHGFODVVDFWLRQVHWWOHPHQWGRHVQRWDGHTXDWHO\SURWHFWWKHLQWHUHVWVRID
    VXEVHWRIFODVVPHPEHUVZKRKDYHDGGLWLRQDOFODLPVQRWSXUVXHGE\WKHFODVVUHSUHVHQWDWLYHDQG
    QRWFRPSHQVDWHGLQWKHVHWWOHPHQWWKHDGHTXDF\RIUHSUHVHQWDWLRQUHTXLUHPHQWLVQRWVDWLVILHG
                                                        &DVH1RFY-670'/1R
          5(3/<,622%-(&7,21723523&/$66$&7,216(77/(0(17$*5((0(17$1'071)25$77<
           )((6%<2%-(&725652&.+856781,9(56,7<*$5<7$/(:.6<$1'+$55<*$5$9$1,$1
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     See, e.g., In re Community Bank of Northern Virginia)G UG&LU 
         FODVV UHSUHVHQWDWLYHV SURYLGHG LQDGHTXDWH UHSUHVHQWDWLRQ E\ IDLOLQJ WR DVVHUW FRORUDEOH IHGHUDO
     VWDWXWRU\FODLPVRIVRPHFODVVPHPEHUV see also Smith v. Sprint Communications Co., L.P.
     )G WK&LU  UHYHUVLQJQDWLRQZLGHVHWWOHPHQWFODVVGXHWRLQDGHTXDWHUHSUHVHQWDWLRQ
     RI SODLQWLIIV SXUVXLQJ RWKHU FRPSHWLQJ FODVV DFWLRQV ZKRVH FODLPV ZHUH FRPSURPLVHG E\
     VHWWOHPHQW 0DVVDFKXVHWWVDQG0LVVRXULZHUHQRWDGHTXDWHO\UHSUHVHQWHGLQWKHFRXUVHRIWKLV
     DFWLRQ7KHLUFODLPVZHUHQRW³SURVHFXWHGYLJRURXVO\RQWKHLUEHKDOI´DVUHTXLUHGIn re Mego Fin.
     Corp. Sec. Litig.)G WK&LU 
                '     7KH1DWLRQZLGH&ODVV5HFHLYHV1R6HWWOHPHQW5HOLHIDQG9DOXH)RUWKH
                         5HOHDVHRI7KHLU&ODLPV
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               $UHOHDVHRIFODLPVZLWKRXWFRQVLGHUDWLRQUHVXOWVLQDVHWWOHPHQWWKDWLVQRWIDLUUHDVRQDEOH
    RUDGHTXDWHDQGLVDVHWWOHPHQWWKDWDWULDOFRXUWFDQQRWDSSURYHSee Reynolds v. Beneficial Natl.
    Bank, et al.)G WK&LU /DFNRIYDOXHH[FKDQJHGIRUDUHOHDVHRI
    FODLPVUHQGHUVDVHWWOHPHQWXQUHDVRQDEOHDQGXQIDLUDWOHDVWZLWKUHVSHFWWRWKRVHGLVDGYDQWDJHG
    PHPEHUV RI WKH FODVV See, e.g., Amchem Products v. Windsor  86    see also
    Yoshioka v. Charles Schwab Corp1R(0&86'LVW/(;,6DW 
        1' &DO 'HF    GHQ\LQJ ILQDO VHWWOHPHQW DSSURYDO ZKHUH ³XQFHUWDLQ YDOXH RI WKH
    VHWWOHPHQWPD>GH@WKHUHOHDVHJLYHQLQH[FKDQJHWKHUHIRUHSUREOHPDWLF´ Daniels v. Aeropostale
    West, Inc.1R:+$86'LVW/(;,6DW  1'&DO0D\ 
        GHQ\LQJDSSURYDORID)DLU/DERU6WDQGDUGV$FW )/6$ VHWWOHPHQWDQGVWDWLQJWKDW³>Q@RRQH
    VKRXOGKDYHWRJLYHDUHOHDVHDQGFRYHQDQWQRWWRVXHLQH[FKDQJHIRU>QRWKLQJ@´ 
               3ODLQWLIIV LQ D FODVV DFWLRQ PD\ UHOHDVH FODLPV WKDW ZHUH RU FRXOG KDYH EHHQ SOHG LQ
    H[FKDQJHIRUVHWWOHPHQWUHOLHIWal-Mart Stores, Inc. v. Visa U.S.A., Inc.)G G
    &LU +RZHYHUEODFNOHWWHUODZGLFWDWHVWKDWFRQVLGHUDWLRQPXVWEHJLYHQLQH[FKDQJHSee
    In Re Dry Max Pampers Litigation  )G   WK &LU   YDFDWLQJ FODVV DFWLRQ
    VHWWOHPHQW DSSURYDO DQG FHUWLILFDWLRQ RI D VHWWOHPHQW FODVV WKDW WUHDWHG QDPHG SODLQWLIIV PRUH
    IDYRUDEO\WKDQRWKHUFODVVPHPEHUVZKRUHFHLYHG³QHDUO\ZRUWKOHVV´LQMXQFWLYHUHOLHI´ 
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     Case 4:07-cv-05944-JST Document 4436-4 Filed 02/26/16 Page 37 of 163




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               $OWKRXJK&ODVV&RXQVHOKDVZDYHUHGEHWZHHQODEHOVRIWKH³,QMXQFWLYH5HOLHI´&ODVVDQG
     WKH³1DWLRQZLGH´&ODVVWKH\FRQWHQGWKDWWKH\ZHUHIXOO\DZDUHWKDWDQ\LQMXQFWLYHUHOLHIZRXOG
     EH RI QR YDOXH DQG WKHUH LV LQ IDFW QR LQMXQFWLRQ ,QLWLDOO\ WKH SDUWLHV UHSUHVHQWHG WKDW WKH
     1DWLRQZLGH&ODVVZRXOGUHFHLYHFRQVLGHUDWLRQHYHQDPRQHWDU\UHZDUGSee 'NWDW &37
     VHWWOHGWKH³VWDWHIHGHUDOLQMXQFWLYHFODLPLQH[FKDQJHIRUPRQHWDU\FRQVLGHUDWLRQ´ see also
     'NWDW7KHUHOHDVHVDUHHYLGHQWO\RIVRPHZRUWKDQGYDOXHWR'HIHQGDQWVIRU³JOREDO
     SHDFH´ RWKHUZLVH 'HIHQGDQWV ZRXOG QRW EH GHPDQGLQJ LW $FFRUGLQJO\ WKH ODZ UHTXLUHV
     FRQVLGHUDWLRQSee Richardson v. L'Oreal USA, Inc.)6XSSG ''& 
         ILQGLQJ WKDW ³RPLWWLQJ GDPDJHV FODLPV IURP WKH FRPSODLQW EXW DJUHHLQJ WR UHOHDVH GDPDJHV
    FODLPV RQ D FODVVZLGH EDVLV LV WDQWDPRXQW WR DVVHUWLQJ GDPDJHV FODLPV EXW DJUHHLQJ WR
    FRPSURPLVHWKHDELOLW\WREULQJWKHPDVDFODVVLQUHWXUQIRUQRWKLQJ´ 
              /HDG&RXQVHOFLWHVWRNguyen v. Radient Pharmaceuticals Corp.1R6$&9
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    DUH QRW HQWLWOHG WR FRPSHQVDWLRQ IRU WKH UHOHDVH IRU WKHLU VXEVWDQWLYH OHJDO ULJKWV 7KH FDVH LV
    LQDSSRVLWHKHUH,QNguyenWKHREMHFWRUDUJXHGWKDWWKHSURSRVHGSODQRIGLVWULEXWLRQZDVXQIDLU
    EHFDXVHLWSURYLGHGQRUHFRYHU\IRUWUDGHUVZKRVHVKDUHVIHOOLQWRWKH³LQDQGRXW´FDWHJRU\ ³LQ
    DQGRXWWUDGHUV´ 7KHFRXUWLQNguyenFRQFOXGHGWKDWWKHREMHFWRUZRXOGQRWKDYHEHHQDEOHWR
    VKRZWKDWGHIHQGDQW¶VPLVUHSUHVHQWDWLRQLQWKDWFDVHFDXVHGWKHHFRQRPLFORVV*LYHQWKDWLQDQG
    RXWWUDGHUVSXUFKDVHGVKDUHVGXULQJWKH&ODVV3HULRGEXWVROGLWEHIRUHWKH&ODVV3HULRGFORVHG
        WKH GDWH RI WKH 'HIHQGDQW¶V PLVUHSUHVHQWDWLRQ  LW ZDV LPSRVVLEOH WR LVRODWH GHIHQGDQW¶V
    PLVUHSUHVHQWDWLRQDVWKHSUR[LPDWHFDXVHIRUWKHLQDQGRXWWUDGHUV¶LQMXU\7KH&RXUWKHOGWKDW
    WKHSODQRIDOORFDWLRQWKHUHIRUHDSSURSULDWHO\GLGQRWSURYLGHPRQHWDU\UHFRYHU\IRULQDQGRXW
    WUDGHUVDVWKHVHFODLPVODFNHGDQ\PHULWIdDW
              ,Q FRQWUDVW WKH /RVW 6WDWHV KDG YDOLG FODLPV XQGHU WKHLU VWDWH¶V FRQVXPHU SURWHFWLRQ
    VWDWXWHVLQDGGLWLRQWRWKHIHGHUDOFODLPVIRULQMXQFWLYHUHOLHIDVVHUWHGLQWKH&RPSODLQW7KH/RVW
    6WDWHVZHUHHTXDOO\DIIHFWHGE\'HIHQGDQWV¶DFWLRQVDQGWKHFRQVSLUDF\,QIDFW/HDG&RXQVHO
    DGPLWVWKDWWKHZHLJKWLQJRI&573URGXFWVUHIOHFWVWKHUHVSHFWLYHKDUPWRSXUFKDVHUVRIWKRVH
    SURGXFWVDQGZDVWKHUHIRUHQHFHVVDU\WRFRPSHQVDWHFODVVPHPEHUVZKRSDLGPRUHIRUDSDUWLFXODU

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          5(3/<,622%-(&7,21723523&/$66$&7,216(77/(0(17$*5((0(17$1'071)25$77<
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     Case 4:07-cv-05944-JST Document 4436-4 Filed 02/26/16 Page 38 of 163




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     &57 3URGXFW WKDQ RWKHUV 'NW  DW  see also 'NW  ,33¶V H[SHUW IRXQG WKDW WKH
     RYHUFKDUJH RQ PRQLWRU WXEHV ZDV PRUH WKDQ WZLFH WKH RYHUFKDUJH RQ WHOHYLVLRQ WXEHV  &ODVV
     PHPEHUV LQ WKHVH /RVW 6WDWHV VXIIHUHG WKH VDPH RYHUFKDUJHV DQG SRVVHVVHG YDOLG FODLPV IRU
     PRQHWDU\UHFRYHU\\HWXQGHUWKHSURSRVHGVHWWOHPHQWWKH\ZLOOQRWUHFHLYHDQ\FRPSHQVDWLRQIRU
     WKHLULQMXULHVRUUHOHDVH
                7KHSURSRVHGVHWWOHPHQWIDLOVWRFRPSHQVDWHDQGHYHQJRHVDVIDUDVWRGLVPDQWOHDQ\
     UHVSHFWLYHULJKWVRIWKH1DWLRQZLGH&ODVVWRUHOLHIDJDLQVWWKHVHWWOLQJGHIHQGDQWV%XWHYHQPRUH
     WURXEOLQJ ZLWK UHJDUG WR WKLV LVVXH LV WKH FRQIOLFWLQJ FRQIXVLQJ DQGRU PLVOHDGLQJ LQIRUPDWLRQ
     SURYLGHG WR WKH FRXUW FRXQVHO DQG WR WKH FRQVXPHUV &ODVV PHPEHUV ZHUH OHG WR EHOLHYH WKDW
    PRQHWDU\UHOLHIZRXOGEHIRUWKFRPLQJEXWQRZDWWKLVODWHMXQFWXUHZKHQLWLVWRRODWHWREULQJ
    LQGLYLGXDODFWLRQVWKH/RVW6WDWHVQRZGLVFRYHUWKDWWKHUHLVQRPRQHWDU\UHOLHI6LPLODUO\&ODVV
    0HPEHUV ZHUH OHG WR EHOLHYH WKDW WKHUH ZDV LQMXQFWLYH UHOLHI WKHQ WKHUH LV QRW /HDG &RXQVHO
    RULJLQDOO\SRUWUD\HG³7KH6HWWOHPHQW&ODVVLQFOXGHVD³1DWLRQZLGH&ODVV´RILQGLUHFWSXUFKDVHUV
    RI&573URGXFWVVHHNLQJLQMXQFWLYHUHOLHI´'NW8SRQGLVWULEXWLRQ&ODVVPHPEHUV
    GRQRWJHWWKHSURPLVHGLQMXQFWLRQRUYDOXHIRULW\HWWKH\DUHERXQGWRUHOHDVHWKHGHIHQGDQWV
               (     $SSURYDO RI 7KH 6HWWOHPHQW 5HTXLUHV +HLJKWHQHG -XGLFLDO 6FUXWLQ\ RI
                         3RWHQWLDO,QWUD&ODVV&RQIOLFWVDQG$GHTXDF\RI5HSUHVHQWDWLRQ
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               :KHQDFODVVLVFHUWLILHGIRUVHWWOHPHQWRQO\FRXUWVPXVWJLYHKHLJKWHQHGDWWHQWLRQWRWKH
    DGHTXDF\RIUHSUHVHQWDWLRQUHTXLUHPHQWWRSURWHFWWKHLQWHUHVWVRIDEVHQWFODVVPHPEHUV2EMHFWRUV
    DVVHUW WKDW WKHUH DSSHDU WR EH LUUHFRQFLODEOH FRQIOLFWV LQGHHG FODVKLQJ LQWHUHVWV EHWZHHQ WKH
    SODLQWLIIFODVVHVWKDWWKHLUHFRQRPLFLQWHUHVWVDUHQRWDOLJQHGDQGWKDWWKHLQWUDFODVVFRQIOLFWVDW
    OHDVW UHTXLUH WKH FHUWLILFDWLRQ RI VHSDUDWHO\ UHSUHVHQWHG VXEFODVVHV IRU WKH 0DVVDFKXVHWWV DQG
    0LVVRXUL³/RVW6WDWH´&ODVVHVDVZHOODVWKH1DWLRQZLGH2PLWWHG6WDWHV&ODVVHV,QGHHGFRXUWV
    ³PXVW SD\ µXQGLOXWHG HYHQ KHLJKWHQHG DWWHQWLRQ¶ WR FODVV FHUWLILFDWLRQ UHTXLUHPHQWV LQ D
    VHWWOHPHQW FRQWH[W´ Hanlon v. Chrysler Corp.  )G   WK &LU   TXRWLQJ
    Amchemsupra86DWSaccord Ortiz v. Fibreboard Corp86
          ³:KHQ D GLVWULFW FRXUW  FHUWLILHV IRU FODVV DFWLRQ VHWWOHPHQW RQO\ WKH PRPHQW RI
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     Case 4:07-cv-05944-JST Document 4436-4 Filed 02/26/16 Page 39 of 163




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     FHUWLILFDWLRQUHTXLUHVµKHLJKWHQH>G@DWWHQWLRQ¶>FLWDWLRQ@WRWKHMXVWLILFDWLRQVIRUELQGLQJWKHFODVV
     PHPEHUV´ 
               7KHVHWWOHPHQWKHUHLQGUDZVLQWRTXHVWLRQZKHWKHUWKH/RVW6WDWHVDQGWKH1DWLRQZLGH
     &ODVVZHUHDGHTXDWHO\UHSUHVHQWHGDWDOOWLPHV5XOH D UHTXLUHVWKDW³UHSUHVHQWDWLYHSDUWLHV
     ZLOOIDLUO\DQGDGHTXDWHO\SURWHFWWKHLQWHUHVWVRIWKHFODVV´)HG5&LY3 D  7KH'XH
     3URFHVV&ODXVH«UHTXLUHVWKDWWKHQDPHGSODLQWLIIVDWDOOWLPHVDGHTXDWHO\UHSUHVHQWWKHLQWHUHVWV
     RIWKHDEVHQWFODVVPHPEHUV´Hess v. Spring Corp.)G WK&LU Hanlon
     v. Chrysler Corp. supra,  )G DW  ³7R VDWLVI\ FRQVWLWXWLRQDO GXH SURFHVV FRQFHUQV
     DEVHQWFODVVPHPEHUVPXVWEHDIIRUGHGDGHTXDWHUHSUHVHQWDWLRQEHIRUHHQWU\RIDMXGJPHQWZKLFK
    ELQGVWKHP´ Brown v. Ticor Title Ins. Co.)G WK&LU ³>,@IWKHSODLQWLII
    ZDVQRWDGHTXDWHO\UHSUHVHQWHGLQWKHSULRUDFWLRQRUWKHUHZDVDGHQLDORIGXHSURFHVVWKHQWKH
    SULRUGHFLVLRQKDVQRSUHFOXVLYHHIIHFW 7KHDGHTXDWHUHSUHVHQWDWLRQUHTXLUHPHQW³LVW\SLFDOO\
    FRQVWUXHGWRIRUHFORVHWKHFODVVDFWLRQZKHUHWKHUHLVDFRQIOLFWRILQWHUHVWEHWZHHQWKHQDPHG
    3ODLQWLIIDQGWKHPHPEHUVRIWKHSXWDWLYHFODVV´Gen. Tel. Co. of the Northwest, Inc. v. EEOC
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              7KHQDPHGSODLQWLIIVKDYHDQREOLJDWLRQWRDGHTXDWHO\UHSUHVHQWWKHLQWHUHVWVRIWKHHQWLUH
    FODVVDFWLQJDVILGXFLDULHVRQEHKDOIRIWKHFODVVZLWKRXWDQ\FRQIOLFWVZLWKFODVVLQWHUHVWV. )HG
    5&LY3 D  7KHFUXFLDOLQTXLU\LV³ZKHWKHUDSURSRVHGFODVVKDVVXIILFLHQWXQLW\VRWKDW
    DEVHQWPHPEHUVFDQIDLUO\EHERXQGE\GHFLVLRQVRIFODVVUHSUHVHQWDWLYHV7KDWGRPLQDQWFRQFHUQ
    SHUVLVWVZKHQVHWWOHPHQWUDWKHUWKDQWULDOLVSURSRVHG´Amchem Productssupra86DW
    :KHQDUHTXHVWIRUFODVVFHUWLILFDWLRQLVVXEPLWWHGDVSDUWRIDSURSRVHGFODVVVHWWOHPHQWWKH
    SURSULHW\RIFHUWLILFDWLRQPXVWEHFRQVLGHUHGVHSDUDWHO\IURPWKHIDLUQHVVRIWKHVHWWOHPHQWIn re
    Ins. Brokerage Antitrust Litigation)G UG&LU ,QGHWHUPLQLQJDGHTXDF\
    RI UHSUHVHQWDWLRQ KRZHYHU WKH ³FRXUW PD\ WDNH WKH WHUPV RI WKH SURSRVHG VHWWOHPHQW LQWR
    FRQVLGHUDWLRQ´In re Community Bank of Northern Virginia)G UG&LU 
    In re General Motors Corp. Pick-up Truck Fuel Tank, )G UG&LU  ILQGLQJ
    LQDGHTXDWHUHSUHVHQWDWLRQGXHWR³FRQVSLFXRXVHYLGHQFHRIDQLQWUDFODVVFRQIOLFWLQWKHYHU\
    WHUPVRIWKLVVHWWOHPHQW´ ³>$@MXGJHPXVWIRFXVRQWKHVHWWOHPHQW¶VGLVWULEXWLRQWHUPV RUWKRVH

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     Case 4:07-cv-05944-JST Document 4436-4 Filed 02/26/16 Page 40 of 163




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     VRXJKW WRGHWHFWVLWXDWLRQVZKHUHVRPHFODVVPHPEHUV¶LQWHUHVWVGLYHUJHIURPWKRVHRIRWKHUVLQ
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     JURXS´In re General Motors, supra)GDWS
               +HUHLQKHUHQWFRQIOLFWVKDYHDULVHQEHFDXVHWKH1DWLRQZLGH&ODVVLVSUHFOXGHGIURPDQ\
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     RI WKH 1DWLRQZLGH &ODVV UHFHLYH QRWKLQJ LQ UHWXUQ IRU WKHLU UHOHDVH RI FODLPV )RU LQVWDQFH
    PHPEHUVRIWKH0DVVDFKXVHWWV6WDWHZLGH&ODVVZHUHLQFOXGHGDVSDUWRIWKHFODVVZKHQWKHLQLWLDO
    VHWWOHPHQWZLWK&KXQJZD3LFWXUH7XEHV ³&37´ ZDVVLJQHG'NWDW&37VHWWOHGWKH
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    XQNQRZQZHDNRUVWURQJIRUHVHHQRUXQIRUHVHHQEDVHGRQH[LVWLQJODZRUWKHFUHDWLRQRIQHZ
    ODZ²WKDWDULVHLQDOLWLJDWLRQ´IdDW<HWLQGLUHFWSXUFKDVHUSODLQWLIIVLQ0DVVDFKXVHWWVDUH
    SUHFOXGHGIURPWKHFODLPVSURFHVVDQGUHFHLYLQJDQ\PRQHWDU\FRPSHQVDWLRQRUFRQVLGHUDWLRQLQ
    H[FKDQJHIRUWKHUHOHDVHRIWKHLULQMXQFWLYHDQGPRQHWDU\FODLPVGHVSLWHWKHIDFWWKDWWKHSDUWLHV
    UHSUHVHQWHGWRWKHFRXUWWKDW&37VHWWOHGIRUD³VWDWHIHGHUDOLQMXQFWLYHFODLPLQH[FKDQJHIRU
    PRQHWDU\FRQVLGHUDWLRQ´'NWDW
              7KH 1DWLRQZLGH &ODVV LV HQWLWOHG WR VRPH W\SH RI FRQVLGHUDWLRQ RU FRPSHQVDWLRQ LQ
    H[FKDQJHIRULWVUHOHDVHDQG,33VIDLOHGWRDGHTXDWHO\UHSUHVHQWWKH1DWLRQZLGH&ODVV¶LQWHUHVWV
    LQVHFXULQJDQ\YDOXHIRUWKHUHOHDVHRIWKHLUFODLPV$VDUHVXOWWKH6WDWHZLGH'DPDJHV&ODVVHV
    DUHLQDSSURSULDWHO\IDYRUHGRYHURWKHUVXEFODVVHVFUHDWLQJLQWUDFODVVFRQIOLFWV
              )    7KH&RXUW6KRXOG&HUWLI\D6HSDUDWHO\5HSUHVHQWHG6XEFODVVWR(QVXUH
                       7KDW7KH'LVWLQFW(FRQRPLF,QWHUHVWVRI0LVVRXULDQG0DVVDFKXVHWWV$UH
                     $GHTXDWHO\5HSUHVHQWHG
              $WWKHYHU\OHDVWWKHFRQIOLFWVEHWZHHQWKH6WDWHZLGH'DPDJHV&ODVVDQGWKH/RVW6WDWHV
    DQG 1DWLRQZLGH &ODVV 2PLWWHG 6WDWHV VXEJURXSV UHTXLUHG WKH FHUWLILFDWLRQ RI D VHSDUDWHO\
    UHSUHVHQWHGVXEFODVV HV WRHQVXUHWKDWWKHLUGLVWLQFWLQWHUHVWVDUHIXOO\DQGDGHTXDWHO\UHSUHVHQWHG
                                                       &DVH1RFY-670'/1R
          5(3/<,622%-(&7,21723523&/$66$&7,216(77/(0(17$*5((0(17$1'071)25$77<
           )((6%<2%-(&725652&.+856781,9(56,7<*$5<7$/(:.6<$1'+$55<*$5$9$1,$1
     Case 4:07-cv-05944-JST Document 4436-4 Filed 02/26/16 Page 41 of 163




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     LQ WKH VHWWOHPHQW ³'LYHUJHQW LQWHUHVWV PXVW EH WDNHQ LQWR DFFRXQW DQG IDLUO\ DFFRPPRGDWHG
     EHIRUHWKHSDUWLHVQHJRWLDWHDILQDOVHWWOHPHQW,IWKHSDUWLHVKDYHQRWDQWLFLSDWHGWKHQHHGIRU
     VXEFODVVHV WKH FRXUW PD\ GHFLGH WR FHUWLI\ VXEFODVVHV DSSRLQW DWWRUQH\V WR UHSUHVHQW WKH
     VXEFODVVHVDQGVHQGWKHSDUWLHVEDFNWRWKHQHJRWLDWLQJWDEOH´0DQXDOIRU&RPSOH[/LWLJDWLRQ
         )HG-XGLFLDO&HQWHUWKHG S$VWKH6XSUHPH&RXUWKDVH[SODLQHG³WKH
     DGYHUVLW\DPRQJVXEJURXSVUHTXLUHVWKDWWKHPHPEHUVRIHDFKVXEJURXSFDQQRWEHERXQGWRD
     VHWWOHPHQWH[FHSWE\FRQVHQWVJLYHQE\WKRVHZKRXQGHUVWDQGWKDWWKHLUUROHLVWRUHSUHVHQWVROHO\
     WKHPHPEHUVRIWKHLUUHVSHFWLYHVXEJURXSV´Amchem, supra86DW
               &RXUWVLQWKLVGLVWULFWKDYHVLPLODUO\UHFRJQL]HGWKHSURSULHW\RIFHUWLI\LQJVXEFODVVHVWR
    DFFRPPRGDWH WKH GLYHUJHQW LQWHUHVWV RI SRWHQWLDOO\ DQWDJRQLVWLF FODVV PHPEHUV ZKLOH VWLOO
    DFKLHYLQJWKHEHQHILWVRIDFODVVDFWLRQ&RQVLVWHQWZLWKAmchemIHGHUDOFRXUWVKDYHKHOGWKDW
    VXEFODVVHVVKRXOGEHFUHDWHGZKHUHWKHUHDUHGLVWLQFWJURXSVRIFODVVPHPEHUVZLWKGLYHUJHQW
    DQGSRWHQWLDOO\FRQIOLFWLQJLQWHUHVWVLQWKHVHWWOHPHQW)RULQVWDQFHLQIn re Community Bank of
    Northern Virginia supra  )G  WKH 7KLUG &LUFXLW UHYHUVHG WKH FHUWLILFDWLRQ RI D
    VHWWOHPHQWFODVVILQGLQJWKDWWKHUHZHUHXQUHVROYHGTXHVWLRQVZKHWKHUWKHQDPHGUHSUHVHQWDWLYHV
    DGHTXDWHO\UHSUHVHQWHGFODVVPHPEHUVZKRKDGRWKHUFODLPVWKDWZHUHQRWVXIILFLHQWO\SXUVXHG
    LQ WKH FDVH EXW ZHUH UHOHDVHG DV SDUW RI WKH VHWWOHPHQW 7KH FRXUW RSLQHG ³$W WKH YHU\ OHDVW
    FRQVLGHUDWLRQVKRXOGKDYHEHHQJLYHQWRWKHIHDVLELOLW\RIGLYLGLQJWKHFODVVLQWRVXEFODVVHVVR
    WKDWDFRXUWH[DPLQLQJWKHSURSRVHGVHWWOHPHQWFRXOGKDYHMXGJHGWKHIDLUQHVVRIWKHVHWWOHPHQW
    DVLWDSSOLHGWRVLPLODUO\VLWXDWHGFODVVPHPEHUV´Id. DW
              %HFDXVHRIWKHGLYHUJHQWLQWHUHVWVRIWKHSODLQWLIIVDQGWKHVXEJURXSVDQGWKHLQDELOLW\RI
    WKHSODLQWLIIVDQGWKHLUFRXQVHOWRSURYLGHDGHTXDWHUHSUHVHQWDWLRQRIWKHFRQIOLFWLQJLQWHUHVWVWKH
    &RXUWVKRXOGQRWFHUWLI\WKHVHVHWWOHPHQWFODVVHVZLWKRXWDOVRFHUWLI\LQJDVHSDUDWHO\UHSUHVHQWHG
    VXEFODVV IRU WKH /RVW 6WDWHV DQG 2PLWWHG 6WDWHV DV ZHOO DV VHSDUDWH UHSUHVHQWDWLRQ IRU WKH
    1DWLRQZLGH&ODVVPHPEHUV
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                   $UH6XVSHFW
              5DWKHU WKDQ KRLVW VXVSHFW PRWLYHV RQ 2EMHFWRUV &RXQVHO VKRXOG EH DZDUH RI LWV RZQ
    DSSHDUDQFHRIPRWLYDWLRQVLQUHSUHVHQWLQJXQQDPHGSODLQWLIIV7KHSUREOHPVKHUHLQDUHHUURUV
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     Case 4:07-cv-05944-JST Document 4436-4 Filed 02/26/16 Page 42 of 163




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     WKDWFRXOGKDYHEHHQUHPHGLHGZHOOEHIRUHWKLVWLPHDQGWKLV2EMHFWRULQIDFWDWWHPSWHGVXFK
     See Moore Decl$VRQHRIWKHDWWRUQH\VVHHNLQJRQHRIWKHORZHVWORGHVWDUVLQWKHFDVHDQG
     ZLWK&ODVV&RXQVHO¶VPLOOLRQUHTXHVWHGIHHDWULVNWKHVXVSHFWPRWLYHDOOHJDWLRQWDUJHWHG
     DW2EMHFWRULVQHLWKHUSODXVLEOHQRUVRXQG$QGLWLVQRWVRDV&ODVV&RXQVHOVWDWHWKDW2EMHFWRU¶V
     FRXQVHOUHIXVHGWRUHGXFHKHUORGHVWDU2EMHFWRU¶VFRXQVHOGLGLQIDFWDELGHE\&ODVV&RXQVHO¶V
     UHTXHVWVDQGSUHSDUHGDQGSURGXFHGPXOWLSOH)HH'HFODUDWLRQVLQFOXGLQJZLWK&ODVV&RXQVHOV¶
     UHFRPPHQGDWLRQRXWOLQHGIRUWKH&RXUWLQWKHLU'HFODUDWLRQSee Moore Decl
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     WKDW&RXQVHOKDGDGXW\WRLQFOXGHWKHVHXQQDPHGFODVVPHPEHUVZKRVHFODLPVZHUHORVWDQG
    WKH YDOXH RI WKHVH FODLPV VKRXOG EH LQFOXGHG LQ WKH VHWWOHPHQW WKHQ DGGLWLRQDO FRQVLGHUDWLRQ
    ZRXOGEHGXH7KXVDUHYLVHGVHWWOHPHQWZRXOGUHTXLUHHLWKHUWKDW'HIHQGDQWVSD\PRUHWKH
    6WDWH&ODVVHVEHGLOXWHGRU&ODVV&RXQVHO¶VIHHEHUHGXFHGWRSD\IRUWKH/RVWDQG2PLWWHG6WDWHV
              +    $WWRUQH\)HHV
              2EMHFWRUVGRQRWREMHFWWRWKHFRXUWXVLQJDSHUFHQWDJHWRFRPSHQVDWHFRXQVHODQGRQH

    WKLUGLVDFRPPRQDQGW\SLFDOSHUFHQWDJHLQDSULYDWHFDVHDQGVKRXOGDOVREHFRQVLGHUHGKHUHLQ

    ,QODUJHUFDVHVVLPSO\EHFDXVHWKHGDPDJHVWKHULVNVDQGWKHUHZDUGVDUHODUJHURQHVKRXOGQRW

    HOHYDWHWKHIHHUHZDUGVDVV\QRQ\PRXVWRDZLQGIDOOIRUFRXQVHO$VVWDWHGLQWKHRSHQLQJSDSHUV

    PLOOLRQLVDUHPDUNDEOHDPRXQWDQG&ODVV&RXQVHOVKRXOGEHFRPPHQGHGIRUVXFKDODUJH

    VXP+DYLQJEHHQSDUWRI&R/HDGWHDPLQ7)7/&'2EMHFWRUV¶&RXQVHOLVZHOODZDUHRIWKH

    ZRUNDQGWKHKXUGOHVQHHGHGWRRYHUFRPHVXFKVXEVWDQWLDOEDUULHUVDQGDUHYLHZRIWKHQXPEHU

    RI KRXUV ZRUNHG LV QRW QHFHVVDULO\ KHOSIXO IRU D 3ODLQWLII FRXQVHO QHHGV WR EH DEOH WR ZRUN

    ZKDWHYHUDPRXQWRIWLPHLVQHFHVVDU\ZLWKRXWEHLQJFRQVWUDLQHG²VRPHWLPHVWKLQJVJRTXLFNHU

    WKDQ DQWLFLSDWHG ZLWK ZHOO WKRXJKW RXW VWUDWHJLHV DQG VRPHWLPHV SURMHFWV WDNH ORQJHU WKDQ

    DQWLFLSDWHG7KHILQDOUHVXOWRIWKHFDVHVKRXOGEHZKDWGHWHUPLQHVWKHUHZDUGDQGLIDSDUW\ORVHV

    WKH\JHWQRWKLQJ7KXVWKHSRWHQWLDOOLDELOLW\LVDYLWDOFRQVLGHUDWLRQDORQJZLWKWKHRWKHUIDFWRUV

              7KLVFRXUWPXVWDWOHDVWVDWLVI\LWVHOIWKDWWKHFODVVVHWWOHPHQWLVZLWKLQWKHEDOOSDUNRI

    UHDVRQDEOHQHVVHarris v. Vector Mktg. Corp1R&9(0&:/DW

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     Case 4:07-cv-05944-JST Document 4436-4 Filed 02/26/16 Page 43 of 163




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     &DO   7R SHUIRUP WKLV IXQFWLRQ WKH WULDO FRXUW PXVW UHFHLYH DQG FRQVLGHU HQRXJK
     LQIRUPDWLRQ DERXW WKH QDWXUH DQG PDJQLWXGH RI WKH FODLPV EHLQJ VHWWOHG DV ZHOO DV WKH
     LPSHGLPHQWVWRUHFRYHU\WRPDNHDQLQGHSHQGHQWDVVHVVPHQWRIWKHUHDVRQDEOHQHVVRIWKHWHUPV
     WRZKLFKWKHSDUWLHVKDYHDJUHHGId7KXVWKHFRXUWVKRXOGORRNWRWKHZKHWKHUDOOFODLPDQWVZHUH
     UHSUHVHQWHGYLJRURXVO\DQGZKHWKHUWKHVHWWOHPHQWDPRXQWLVDSSURSULDWH
               7KHVHWWOHPHQWKHUHLQLVDGPLWWHGO\DJUHDWDPRXQWEXWWKHUHDUHDGGLWLRQDOVWHSVIDFWRUV
     DQGHYLGHQFHWKDWQHHGWREHSUHVHQWHGHYDOXDWHGFRQVLGHUHGDQGLQFOXGHGWRGHWHUPLQHLIWKLV
     LVWKHEHVWUHVXOWIRUWKHFODVV,QWKH0RWLRQIRU)LQDO$SSURYDOPDQ\RIWKHVDPHGLIILFXOWLHV
     ZHUHGHWDLOHGDVLQWKH7)7/&'FDVHEXWZKDWLVWUXO\WKDWPXFKPRUHGLIILFXOWKHUHLQWKDWPDGH
    WKLVFDVHZRUWKVRPXFKOHVVLQVHWWOHPHQW"
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    OLDELOLW\6LQFH&ODVV&RXQVHOOLNHQVWKLVDFWLRQVRFORVHO\WRWKHIn re TFT-LCD (Flat Panel)
    Antitrust LitigationDQGFLWHVVLPLODUSUREOHPVLQRUGHUWRJUDQWILQDODSSURYDOWKHFRXUWQHHGV
    HYLGHQWLDU\VXSSRUWWRXQGHUVWDQGZK\WKHUHLVVXFKDGLVFUHSDQF\LQVHWWOHPHQW:KLOHDYHU\
    ODUJHQXPEHUWKHHYLGHQFHVHHPVWRVKRZWKDWPLOOLRQVHWWOHPHQWIXQGLVLQVXIILFLHQWWR
    IDLUO\FRPSHQVDWHWKHFODVVPHPEHUVDQGGHWHUVLPLODUFRQGXFWLQWKHIXWXUH,QLCDWKHSRWHQWLDO
    VLQJOHGDPDJHVZHUHDSSUR[LPDWHO\PLOOLRQOHVVWKDQCRTEXWLCD VHWWOHGIRUDOPRVWWZLFH
    WKH CRT VHWWOHPHQW LCD VHWWOHG DW  %LOOLRQ DQG CRT  PLOOLRQ 0RUHRYHU WKH LCD
    OLWLJDWLRQ UHFRYHUHG RQHKDOI RI VLQJOH GDPDJHV EXW CRT UHFRYHUHG RQO\ RQHILIWK RI VLQJOH
    GDPDJHV,QRUGHUWRDSSURYHWKHVHWWOHPHQWWKH&RXUWPXVWEHSURYLGHGZLWKWKHHYLGHQWLDU\
    IRXQGDWLRQ VXEVWDQWLDWLQJ VXFK D GLVFUHSDQF\ 6LQFH LW KDV FRPH WR OLJKW WKDW VXEFODVVHV KDYH
    FODLPVWKDWZHUHQRWSXUVXHGDQGWKDWDSSDUHQWFRQIOLFWVH[LVWWKDWPXVWEHHYDOXDWHGDVZHOOLQ
    GHWHUPLQLQJWKHFODLPDQGVHWWOHPHQWYDOXHRIWKHFDVH
              )XUWKHULWKDVQRWEHHQEURXJKWWRWKLVFRXUWVDWWHQWLRQDQGWKHFRXUWVKRXOGEHDZDUHWKDW
    WKH SXEOLVKHG 1RWLFH LQ WKH &37 VHWWOHPHQW VWDWHG WKDW FRXQVHO ZLOO RQO\ VHHN XS WR  LQ
    DWWRUQH\IHHVSee &371RWLFHDVLWH[LVWHGRQDWWDFKHGWRMoore DeclDV([KLELW(7KH
    &37 DQG /* VHWWOHPHQW ZHEVLWH ZDV ORFDWHG DW ZZZFSWVHWWOHPHQWFRP EXW WKH VHWWOHPHQW

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     WKHSDVWHLJKW\HDUVRIOLWLJDWLRQQRRQHKDVORRNHGRXWIRUWKHLQWHUHVWVRIWKHVHXQQDPHGFODVV
     PHPEHUV%HFDXVHWKHUHLVQRLQMXQFWLYHUHOLHIDQGPHPEHUVRIWKH1DWLRQZLGH&ODVVUHFHLYHGQR
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                                                             Counsel for Objectors Rockhurst
                                                               University, Harry Garavanian, and Gary
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 6   Counsel for Objectors Rockhurst University,
     Harry Garavanian, and Gary Talewsky
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18                                                 '(&/$5$7,212)7+(5(6$'0225(,1
     7KLV'RFXPHQW5HODWHVWR                    68332572)2%-(&7,21727+(
19                                                 352326('&/$66$&7,216(77/(0(17
     $OO,QGLUHFW3XUFKDVHU$FWLRQV               $*5((0(17$1'027,21)25
20                                                 $77251(<)((6%<2%-(&725
                                                   52&.+856781,9(56,7<2%-(&725
21                                                 *$5<7$/(:6.<$1'2%-(&725
                                                   +$55<*$5$9$1,$1
22
23                                                 -XGJH+RQRUDEOH-RKQ67LJDU
                                                   &RXUWURRPWK)ORRU
24                                                 6SHFLDO0DVWHU0DUWLQ4XLQQ-$06

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28

       '(&/2)7+(5(6$'0225(,622%-(&7,21723523&/$66$&7,216(77/(0(17
                        $*5((0(17$1'071)25$77<)((6%<2%-(&7256
                                                     &DVH1RFY -67 0'/1R
Case 4:07-cv-05944-JST Document 4436-4 Filed 02/26/16 Page 46 of 163




                                          


 1           ,7KHUHVD'0RRUHGHFODUHDVIROORZV

 2                ,DPDQDWWRUQH\OLFHQVHGWRSUDFWLFHODZLQWKH6WDWHRI&DOLIRUQLD,DPDWWRUQH\WKH

 3   IRU 2EMHFWRUV 5RFNKXUVW 8QLYHUVLW\ *DU\ 7DOHZVN\ DQG +DUU\ *DUDYDQLDQ , PDNH WKLV

 4   GHFODUDWLRQ EDVHG RQ P\ RZQ SHUVRQDO NQRZOHGJH DQG LI FDOOHG WR WHVWLI\ DV D ZLWQHVV LQ WKLV

 5   PDWWHU,FRXOGDQGZRXOGFRPSHWHQWO\WHVWLI\WRWKHIDFWVFRQWDLQHGKHUHLQ

 6                ,PDNHWKLV'HFODUDWLRQLV6XSSRUWRIWKH2EMHFWLRQV7R7KH3URSRVHG&ODVV$FWLRQ

 7   6HWWOHPHQWDQG0RWLRQ)RU$WWRUQH\)HHV5HLPEXUVHPHQWRI/LWLJDWLRQ([SHQVHVDQG,QFHQWLYH

 8   $ZDUGVWR&ODVV5HSUHVHQWDWLYHV

 9                7KH2EMHFWLRQVILOHGKHUHLQDUHYDOLG2EMHFWLRQVZKLFKUDLVHVHULRXVTXHVWLRQVZLWK

10   UHJDUG WR WKH 6HWWOHPHQWV DQG WKH GLVWULEXWLRQ RI WKH SULRU 6HWWOHPHQWV RI &37 DQG /* DQG ZLOO

11   VDIHJXDUGWKDWWKHVHWWOHPHQWZLWKVWDQGV&RQVWLWXWLRQDOPXVWHU

12                7KH ILOLQJ DQG VXEVWDQFH RI WKHVH 2EMHFWLRQV KDYH QR EHDULQJ RQ P\ SHQGLQJ

13   UHTXHVWIRUDWWRUQH\IHHV see 'NW 

14                &ODVV &RXQVHO VWDWHV WKH 2EMHFWLRQV DUH VXVSHFW EHFDXVH WKH\ DURVH RQO\ DIWHU DQ

15   DXGLW FRPPLWWHH PDGH XS RI XQNQRZQ PHPEHUV  PDGH FXWV WR P\ ORGHVWDU +RZHYHU &RXQVHO

16   LJQRUHVDQGIDLOVWREULQJWRWKHFRXUW¶VDWWHQWLRQWKHIDFWWKDWWKH$WWRUQH\)HH'HFODUDWLRQVDQGWKH

17   2EMHFWLRQVZHUHGXHGHSHQGLQJRQWKHWLPLQJDQGVFKHGXOHWKHFRXUWRUGHUHGDW&ODVV&RXQVHO¶V

18   UHTXHVW DQG WKDW &ODVV &RXQVHO KDG GLUHFWHG DOO FRXQVHO WR LQIRUP WKHLU ³RWKHU FOLHQWV¶ WR PDNH

19   FODLPV

20                , GLG QRW UHIXVH /HDG FRXQVHO¶V UHTXHVW WR UHGXFH P\ ORGHVWDU DV VWDWHG LQ WKHLU

21   PRWLRQ SDSHUV DQG GLG LQ IDFW UHGXFH LW DW &ODVV &RXQVHO¶V UHTXHVW DQG SURYLGHG WKHP ZLWK 

22   VHSDUDWH'HFODUDWLRQVUHGXFLQJWKHDPRXQWHDFKWLPH

23                ,VXEPLWWHGRQHRIWKHVPDOOHVWORGHVWDUVLQWKHFDVH$WWDFKHGKHUHWRDV([KLELW$

24   LVDWUXHDQGFRUUHFWFRS\RID6XPPDU\/RGHVWDUVXEPLWWHGZLWKLQDQGDV([KLELWZLWKP\)HH

25   'HFODUDWLRQ 'NW 

26                ,DPUHTXHVWLQJFRPSHQVDWLRQIRUKRXUVRIZRUNRYHUWKHFRXUVHRI\HDUV

27                2Q -XO\   , VXEPLWWHG P\ RULJLQDO )HH 'HFODUDWLRQ WR &ODVV &RXQVHO IRU

28
                                                 
            '(&/2)7+(5(6$'0225(,6223372,336¶027,21)25),1$/$33529$/2)7+(
               6(77/(0(176$1'5(3/<72&/$66&2816(/¶623326,7,21722%-(&7,216
                                                       &DVH1RFY -67 0'/1R
Case 4:07-cv-05944-JST Document 4436-4 Filed 02/26/16 Page 47 of 163




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 1    $W WKH UHTXHVW RI &ODVV &RXQVHO , VXEVHTXHQWO\ UHYLHZHG DQG UHGXFHG P\ ORGHVWDU

 2   DQGVXEPLWWHGDUHYLVHG)HH'HFODUDWLRQ

 3               2Q $XJXVW   , VXEPLWWHG P\ UHYLVHG )HH 'HFODUDWLRQ WR &ODVV &RXQVHO

 4   ZKLFK UHGXFHG P\ ORGHVWDU WR  $ WUXH DQG FRUUHFW FRS\ RI WKH )HH 'HFODUDWLRQ LV

 5   DWWDFKHGKHUHWRDV([KLELW%

 6               2Q $XJXVW   &ODVV &RXQVHO VHQW DQ HPDLO WR ,33 &RXQVHO DWWDFKHG DV

 7   ([KLELW&DQH[FHUSWRIZKLFKVWDWHV

 8           
             :HDVNWKDW\RXSOHDVHPDNHVXUHWKDWWKHQDPHGSODLQWLIIVand any of your other clients
 9           who purchased CRT televisions or computer monitors during the class period, file claims. 
             ,WLVYHU\LPSRUWDQWWKDWHDFKRIWKHQDPHGSODLQWLIIVILOHDFODLP:HDOVRHQFRXUDJH\RX
10
             WR WHOO \RXU IULHQGV IDPLO\ PHPEHUV DQG RWKHU DFTXDLQWDQFHV DQG HQFRXUDJH WKHP WR ILOH
11           FODLPVWRR HPSKDVLVDGGHG 
             
12            2Q$XJXVW&ODVV&RXQVHOVHQWPHDQHPDLODQGLQIRUPHGPHWKH\FXWP\
13   IHHIURPWRDQGZRXOGRQO\EHSUHSDUHGWRLQFOXGHWKHIURP
14   LQWKH-RLQW)HH3HWLWLRQDQGDJDLQUHTXHVWHGWKDW,UHYLVHP\)HH'HFODUDWLRQ,GLGDV
15   UHTXHVWHGE\&ODVV&RXQVHO
16               2Q $XJXVW   , VXEPLWWHG P\ G 5HYLVHG 'HFODUDWLRQ DW &ODVV &RXQVHO¶V
17   UHTXHVWDWWDFKHGDV([KLELW'LVDWUXHDQGFRUUHFWFRS\3DUDJUDSKDQGVWDWHDVIROORZV
18
                 7KHQXPEHURIKRXUVUHDVRQDEO\H[SHQGHGDQGSUHVHQWHGKHUHLQIURP
19                E\ PH LV  KRXUV  7KH ORGHVWDU DW KLVWRULFDO UDWHV LV 
                 7KH ORGHVWDU DW FXUUHQW UDWHV LV  /HDG FRXQVHO UHTXHVWV WKDW ,
20               GLVFRXQWDQG VXEPLW WLPH RQO\ IRU DW UHGXFHG UDWH DQG KRXUV RI
                  KRXUV ZKLFK , GR KHUHLQ  ([SHQVH KRXUV DUH QRW GXSOLFDWHG LQ P\
21               ORGHVWDU
22
                 7KHWRWDOQXPEHURI,KRXUVUHDVRQDEO\H[SHQGHGRQWKLVIURPLQFHSWLRQWR
23               0D\LVKRXUV2YHUWKHHQWLUH\HDUSURVHFXWLRQRIWKHFDVH
                 P\ WLPH H[SHQGHG ZDV QRW GXSOLFDWLYH RU ZDVWHIXO DQG ZDV QHFHVVDU\ WR
24               DELGHE\P\HWKLFDOGXWLHVDVUHSUHVHQWLQJPXOWLSOHFOLHQWV7KHWRWDOORGHVWDU
                 DW KLVWRULFDO UDWHV LV  7KH WRWDO ORGHVWDU DW FXUUHQW UDWHV LV
25               7KHKRXUVH[SHQGHGE\PHZHUHIRUWKHEHQHILWRIP\FOLHQWV
26               DQG WKH FODVV ([KLELW  UHIOHFWV P\ WLPH VR UHGXFHG EXW P\ DFWXDO WLPH
                 HIIRUW DQG ORGHVWDU IRU ZKLFK , GR DSSO\ KHUHLQ LV UHIOHFWHG LQ WKH SUH
27               GLVFRXQWHGKRXUVDQGORGHVWDUDVGHVFULEHGKHUHLQ

28                                               
            '(&/2)7+(5(6$'0225(,6223372,336¶027,21)25),1$/$33529$/2)7+(
               6(77/(0(176$1'5(3/<72&/$66&2816(/¶623326,7,21722%-(&7,216
                                                       &DVH1RFY -67 0'/1R
                                                             
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 1                2Q 6HSWHPEHU   &ODVV &RXQVHO LQIRUPHG PH WKH\ ZRXOG QRW VXEPLW P\

 2   'HFODUDWLRQ EHFDXVH ³LW GRHVQ¶W FRQIRUP ZLWK ZKDW &RXQVHO DVNHG IRU DQG ZKDW RWKHU ILUPV KDG

 3   GRQH´

 4                2Q 6HSWHPEHU   &ODVV &RXQVHO LQFRUUHFWO\ UHSUHVHQWHG WR WKH &RXUW LQ D

 5   ILOLQJWKDW³)XUWKHUQRQHRIWKHRWKHU,33ILUPVKDVREMHFWHGWR/HDG&RXQVHO¶VDOORFDWLRQRIWKH

 6   IHHVLQWKHILUVWLQVWDQFH´ 'NWSOLQHO  7KHUHZHUHRWKHUPLVVWDWHPHQWVRQSDJHV

 7   DVZHOO ,HPDLOHG&ODVV&RXQVHODQGWROGKLPWKDWVWDWHPHQWLQWKHILOLQJZDVQRWWUXHWKDW,

 8   ZDV REMHFWLQJ DQG KDG VXEPLWWHG P\ 'HFODUDWLRQ WR KLP VWDWLQJ VXFK  , DVNHG KLP WR ILOH P\

 9   'HFODUDWLRQ

10                2Q 6HSWHPEHU   &ODVV &RXQVHO ILOHG WKHLU 0RWLRQ IRU $ZDUG RI $WWRUQH\

11   )HHV 5HLPEXUVHPHQW RI /LWLJDWLRQ ([SHQVHV DQG ,QFHQWLYH $ZDUGV 7R &ODVV 5HSUHVHQWDWLYHV

12   LQFOXGHGWKHILJXUHUHTXHVWEXWGLGQRWLQFOXGHP\'HFODUDWLRQ2Q6HSWHPEHU,

13   ILOHGP\'HFODUDWLRQUHTXHVWLQJWKHUHGXFHGORGHVWDURIQRWWKHILJXUHVWDWHGLQ&ODVV

14   &RXQVHO¶V'HFODUDWLRQ,Q6XSSRUWRIWKH0RWLRQIRU$ZDUGRI$WWRUQH\V )HHV5HLPEXUVHPHQWRI

15   /LWLJDWLRQ ([SHQVHV DQG ,QFHQWLYH $ZDUGV WR &ODVV 5HSUHVHQWDWLYHV ILOHG E\ ,QGLUHFW 3XUFKDVHU

16   3ODLQWLIIV see'NW 

17                6SHFLDO 0DVWHU 4XLQQ KDG DOUHDG\ EHHQ DSSRLQWHG RQ 6HSWHPEHU   WR

18   DOORFDWH WKH DWWRUQH\ IHHV LQ WKLV PDWWHU  $V SDUW RI WKH &R/HDG &RXQVHO WHDP LQ WKHTFT-LCD

19   PDWWHU ZKHUHLQ 6SHFLDO 0DVWHU 4XLQQ SHUIRUPHG WKH VDPH IXQFWLRQ RI DOORFDWLRQ , ZDV YHU\

20   IDPLOLDU ZLWK WKH SURFHVV DQG NQHZ WKHUH ZRXOG EH DQ RSSRUWXQLW\ WR SUHVHQW P\ UHTXHVW WR WKH

21   6SHFLDO0DVWHUDQGZDVFRPIRUWDEOHZLWKWKHSURFHVVDQGSURFHGXUH&ODVV&RXQVHODOVRLQIRUPHG

22   PHWKDW6SHFLDO0DVWHU4XLQQKDGOLVWHQHGWRDQGUDLVHGKLVDOORFDWLRQLQTFT-LCD.

23                , KDYH QR GHVLUH WR GHOD\ WKH VHWWOHPHQW DQG LQ IDFW HDUO\ RQ PDGH D UHDVRQDEOH

24   UHTXHVWDQGRIIHUWR&ODVV&RXQVHOWRZRUNRQDQGFRUUHFWWKHHUURUVLQWKH6HWWOHPHQWVEXWZDV

25   UHEXNHGIURPDQ\GLVFXVVLRQ

26                7KH ,QWHUQHW $UFKLYH LV DQ RUJDQL]DWLRQ ZKLFK GRFXPHQWV DQG VDYHV IRU KLVWRULF

27   SXUSRVHV ZHEVLWHV DV WKH\ H[LVWHG RQ D SDUWLFXODU GDWHV LQ WKH SDVW 7KH ,QWHUQHW $UFKLYH D

28                                               
            '(&/2)7+(5(6$'0225(,6223372,336¶027,21)25),1$/$33529$/2)7+(
               6(77/(0(176$1'5(3/<72&/$66&2816(/¶623326,7,21722%-(&7,216
                                                       &DVH1RFY -67 0'/1R
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Case 4:07-cv-05944-JST Document 4436-4 Filed 02/26/16 Page 49 of 163




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 1    F  QRQSURILWEXLOGLQJDGLJLWDOOLEUDU\RI,QWHUQHWVLWHVDQGRWKHUFXOWXUDODUWLIDFWVLQGLJLWDO

 2   IRUP7KH:D\EDFN0DFKLQHLVDQLQLWLDWLYHRIWKH,QWHUQHW$UFKLYH$WWDFKHGKHUHWRDV([KLELW(

 3   LVDWUXHDQGFRUUHFWFRS\RIH[FHUSWVRIWKH&37&571RWLFHZHEVLWHDVLWH[LVWHGRQDQG

 4   ZDVE\PHGRZQORDGHGRQIURPWKH,QWHUQHW$UFKLYHZHEVLWHKWWSDUFKLYHRUJZHE6HH

 5   SDJH4XHVWLRQ

 6               ,GRQRWNQRZDQGKDYHQRUHFROOHFWLRQRIHYHU\PHHWLQJRUVSHDNLQJZLWKDWWRUQH\

 7   3DXO -XVWL DQG GHQ\ HYHU ZRUNLQJ LQ FRQFHUW ZLWK 0U 3DXO -XVWL DV LPSOLHG LQ &ODVV &RXQVHO¶V

 8   SDSHUV

 9           

10          ,GHFODUHXQGHUSHQDOW\RISHUMXU\WKDWWKHIRUHJRLQJLVWUXHDQGFRUUHFW([HFXWHGWKLVWK

11   GD\RI'HFHPEHU

12                                                       /s/ Theresa D. Moore by JL

13                                                       7KHUHVD'0RRUH

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28                                               
            '(&/2)7+(5(6$'0225(,6223372,336¶027,21)25),1$/$33529$/2)7+(
               6(77/(0(176$1'5(3/<72&/$66&2816(/¶623326,7,21722%-(&7,216
                                                       &DVH1RFY -67 0'/1R
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            2007                    -695'00                    2'0             0'0             1'5             0'0             0'0             0'0             0'0             0'0             2'5            3'5             0'0             0'0                  9'5 -6&602'50

            2008                    -725'00                17'5                2'0             1'1             0'0             0'0             0'0             0'0             0'0             2'0          56'1              0'0             0'0               78'7 -57&057'50

            2009                    -750'00                    4'5             2'1             0'0             0'0             0'0             0'0             0'0             0'0             7'5            7'4             1'3             0'0               22'8 -17&062'50

            2010                    -750'00                    4'3             1'2             0'0             0'0             0'0             0'0             0'0             0'0             4'5          12'3              0'0             0'0               22'3 -16&687'50

            2011                    -750'00                    2'8             0'0             0'0             0'0             0'0             0'0             0'0             0'0             1'0            5'4             2'2             0'0               11'4 -8&550'00

            2012                    -750'00                    5'4             0'0             0'0             0'0             0'0             0'0             0'0             2'6             3'0          12'2              2'6             0'0               25'8 -19&312'50

            2013                    -775'00                    5'1             0'0             0'0             0'0             0'0             0'0             0'0             2'5             2'5            8'7             1'0             0'0               19'8 -15&345'00

            2014                    -785'00                    5'6             0'0             0'0             0'0             0'0             0'0             0'0             0'0             4'9            7'3             4'3             0'0               22'1 -17&348'50

            2015                    -795'00                    2'0             0'0             0'0             0'0             0'0             0'0             0'0             3'0             0'0            9'1             4'0             0'0               18'1 -14&397'45

                                                              49'2                5'3             2'6             0'0             0'0             0'0             0'0             8'1         27'9          122'0              15'4              0'0             230'4 -172&363'45


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Case 4:07-cv-05944-JST Document 4436-4 Filed 02/26/16 Page 53 of 163




 1   Theresa D. Moore (99978)
     Attorney At Law
 2   c/o ALIOTO LAW FIRM
     One Sansome Street, 35th Floor
 3   San Francisco, CA 94104
     Telephone: (415) 434-8900
 4   Facsimile: (415) 434-9200
     tmoore@aliotolaw.com
 5
     Counsel for Indirect Purchaser Plaintiffs
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11
                                 UNITED STATES DISTRICT COURT
12
                              NORTHERN DISTRICT OF CALIFORNIA
13
                                      SAN FRANCISCO DIVISION
14
     IN RE: CATHODE RAY TUBE (CRT)               Case No. 3:07-cv-5944
15   ANTITRUST LITIGATION                        MDL No. 1917
16                                               CLASS ACTION
17                                               DECLARATION OF THERESA D. MOORE IN
     This Document Relates to:                   SUPPORT OF PLAINTIFFS’ APPLICATION
18                                               FOR ATTORNEYS’ FEES, EXPENSES AND
     All Indirect Purchaser Actions              INCENTIVE AWARDS
19
                                                 Judge: Honorable Samuel Conti
20                                               Courtroom One, 17th Floor
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                    DECLARATION OF THERESA D. MOORE IN SUPPORT OF PLAINTIFFS’
                 APPLICATION FOR ATTORNEYS’ FEES, EXPENSES AND INCENTIVE AWARDS
                                                           Case No. 3:07-cv-5944, MDL No. 1917
Case 4:07-cv-05944-JST Document 4436-4 Filed 02/26/16 Page 54 of 163




 1          I, Theresa Driscoll Moore, declare as follows:
 2          1.      I am an attorney licensed to practice before the courts of the State of California as
 3   well as the United States District Courts for the Northern, Eastern and Central Districts of
 4   California, as well as admitted Pro Hoc Vice in Federal Courts throughout the nation. I am Of
 5   Counsel to the law firm of Alioto Law Firm, and make this Declaration in support of my own
 6   personal work in this matter at bar, and not those of the Alioto Law Firm. Any further request for
 7   expenses or attorneys’ fees from the Alioto Law Firm do not include my work in this case. I have
 8   personal knowledge of the facts stated in this declaration and, if called as a witness, I could and
 9   would testify competently to them. I make this declaration in support of my own request for
10   attorneys’ fees and reimbursement of litigation expenses, as set forth in Plaintiffs’ Application for
11   Attorneys’ Fees, Expenses and Incentive Awards.
12          2.      I am counsel of record in this case, and represent plaintiffs Margaret Slagle, Mark
13   Pierce, Barbara Caldwell, Barry Kushner, Brian A. Luscher, Jerry Cook, Scott Friedson as well as
14   Indirect Purchaser Plaintiffs. All of the work I have performed as counsel in this case is mine
15   alone. A brief description of me and of my firm to which I am Of Counsel is attached as Exhibit 1
16   and incorporated herein by reference.
17          3.      I have been a trial lawyer for 34 years, as a Deputy District Attorney prosecuting
18   cases on behalf of the State of California, and in civil litigation prosecuting antitrust cases in
19   Federal and State Courts almost exclusively on behalf of antitrust plaintiffs. To date I have been
20   lead and/or co lead counsel in approximately 130 trials to verdict, having practiced both criminal
21   and civil litigation. I began my antitrust career with the Alioto Law Firm of Joseph M. Alioto in
22   1981 when I participated in my first antitrust trial. I then practiced as a Deputy District Attorney in
23   San Francisco for seven and one half years until returning to advocacy teaching and practice of
24   civil antitrust litigation at the Alioto Law Firm, where I remain today. I am a trial attorney
25   specializing in advocacy, and my substantive legal focus includes antitrust, unfair competition,
26   business, consumer and complex class actions. A representative sampling of my antitrust and class
27   action cases follows in paragraph 9.
28                                              1
                    DECLARATION OF THERESA D. MOORE IN SUPPORT OF PLAINTIFFS’
                 APPLICATION FOR ATTORNEYS’ FEES, EXPENSES AND INCENTIVE AWARDS
                                                                          MDL 3:07-md-1827 SI
Case 4:07-cv-05944-JST Document 4436-4 Filed 02/26/16 Page 55 of 163




 1                4. I am a Judge Pro Tem for the State of California San Francisco Superior Court,
 2                   since 1996.
 3
             5.      I am a distinguished Professor Adjunct in Trial/Evidence Practice at University of
 4
     California Hastings College of the Law where I have been teaching trial advocacy since the 1995-
 5
     1996 academic year.
 6
             6.      I have served on multiple occasions as Co-chair, Keynote Speaker, and Instructor at
 7
     the National College of Advocacy, Intensive Advocacy Program, and multiple other associations.
 8
             7.      I have authored books and articles, the most recent were published this year in 2015
 9
     by Lexis Nexis and the National Institute of Trial Advocacy, consisting of two separate books on
10
     trial practice, and a third book is slated for publication in 2016, all as part of a series of Trial
11
     Practice books authored by me named “Trial By Fire”.
12
             8.      I am a Certified Mediator and a Special Master. In my capacity as a negotiator and
13
     mediator I have successfully mediated approximately 150 cases for many private and government
14
     organizations, including the Federal Equal Employment Opportunity Commission, Multi-Option
15
     ADR Project, State of California First District Court of Appeal, Conflicts Resolution Center, San
16
     Francisco Superior Court and San Mateo County Courts, Bar and Community as a partial list.
17
             9.      I studied at the Sorbonne and Institut d'Études Politiques de Paris in Paris, France,
18
     received my Bachelor of Arts from Santa Clara University, and my Juris Doctorate from
19
     University of California Hastings College of the Law.
20
             A representative sample of my antitrust and class action cases includes:
21
                         •   AD/SAT v. Associated Press, et al.-- antitrust litigation alleging illegal
22
                             pricing U.S.D.C. S.D.N.Y.; Case No. 94-civ-6655 (PKL)
23

24                       •   In Re: Airline Ticket Commission Antitrust Litigation- antitrust class action

25                           alleging that the airlines conspired to fix travel agents’ commission rates

26                           U.S.D.C. Minn Fourth Division; MDL Docket No. 1058 Master File No. 4-
27
                             95 107 (all actions combined)
28                                               2
                     DECLARATION OF THERESA D. MOORE IN SUPPORT OF PLAINTIFFS’
                  APPLICATION FOR ATTORNEYS’ FEES, EXPENSES AND INCENTIVE AWARDS
                                                             Case No. 3:07-cv-5944 SC, MDL No. 1917
Case 4:07-cv-05944-JST Document 4436-4 Filed 02/26/16 Page 56 of 163




 1                •   AD/SAT v. McClatchy Newspapers, Inc.-- antitrust litigation alleging and
 2                    illegal pricing conspiracy U.S.D.C. for the Eastern District of California;
 3
                      Case No. CIV-S-95-1387 (DFL) (PAN)
 4
                  •   Neve Brothers, et al. v. Potash Corporation of Saskatechewan, et al.--
 5
                      antitrust class action of inidrect purchasers of potash. Sup. Ct. CA S.F. Case
 6
 7                    No. 959767; Ct. App. CA, 1st Dist..

 8                •   Notz et al v Ticketmaster-Southern Californai, Inc. et al. --antitrust
 9                    consumer class action alleging a territorial allocation in violation of the
10
                      Cartwright Act Sup. Ct. CA S.F. Case No. 943-327
11
                  •   Cosmetics Antitrust Litigation--antitrust class action alleging that
12
                      manufacturers of prestige cosmetics and retail department stores conspired
13

14                    to prevent discounting of cosmetics Sup. Ct CA Marin J.C.C.P. 4056;

15                    USDC N.D.CA No. 3:03 cv-03359 SBA

16                •   Automobile Antitrust Litigation I, II JCCP 4298 and 4303—antitrust
17
                      statewide class action by indirect purchasers alleging a price fixing
18
                      conspiracy. Sup.Ct. CA S.F; J.C.C.P. Nos. 004298, 004303;U.S.D.C. for the
19
                      District of Maine; MDL 03-md-1532
20

21                •   Clayworth, et al. v. Pfizer, Inc., et al.--antitrust action by indirect purchaser

22                    retail pharmacists alleging a price fixing conspiracy against major drug

23                    manufacturers Sup. Ct. CA Alameda Case No. 04172428
24
                  •   In Re Nasdaq Market Makers Antitrust Litigation --antitrust nationwide
25
                      class action alleging a price fixing conspiracy MDL 1023 94 Civ. 3996
26
                      (RWS)
27
28                                         3
               DECLARATION OF THERESA D. MOORE IN SUPPORT OF PLAINTIFFS’
            APPLICATION FOR ATTORNEYS’ FEES, EXPENSES AND INCENTIVE AWARDS
                                                       Case No. 3:07-cv-5944 SC, MDL No. 1917
Case 4:07-cv-05944-JST Document 4436-4 Filed 02/26/16 Page 57 of 163




 1                •   Breaux v Agency Rent a Car; --class action of employees of rental car
 2                    company. USDC N.D. CA
 3
                  •   In Re Tableware Litigation-- antitrust action alleging illegal pricing and
 4
                      boycott U.S.D.C. Case No. C-04-3514 VRW
 5
                  •   Tam Travel et al. v. Delta Airlines et al-- antitrust action of opt outs from a
 6
 7                    class action alleging that the airlines conspired to fix travel agents’

 8                    commission rates
 9                •   In Re Verizon Wireless Data Charges Litigation-- antitrust action alleging
10
                      an illegal scheme of charging for data on mobile devices. USDC 3:10-cv-
11
                      01749
12
                  •   In Re Optical Disc Drive Antitrust Litigation (ODD)-- antitrust action
13

14                    alleging illegal conspiracy to fix the prices of optical disc drives used in

15                    electronic devices such as monitors and computers and other devices.

16                    USDC ND CA Case No. MDL 02143
17
                  •   Malaney v. United Airlines, Inc.-- action under the Clayton Act alleging an
18
                      illegal combination and merger of airlines USDC ND CA Case No: 12-
19
                      15182
20

21                •   D’ Augusta v. Northwest Airlines, Inc. and Delta Air Lines, Inc.,--action

22                    under the Clayton Act alleging an illegal combination and merger of airlines

23                    USDC ND CA 3:08-cv-3007
24
                  •   In re Aftermarket Filters Antitrust Litigation--antitrust action alleging illegal
25
                      conspiracy of price fixing for replacement motor vehicle oil, fuel and engine
26
                      air filters. USDC ND ILL 1:08-cv-04883
27
28                                         4
               DECLARATION OF THERESA D. MOORE IN SUPPORT OF PLAINTIFFS’
            APPLICATION FOR ATTORNEYS’ FEES, EXPENSES AND INCENTIVE AWARDS
                                                       Case No. 3:07-cv-5944 SC, MDL No. 1917
Case 4:07-cv-05944-JST Document 4436-4 Filed 02/26/16 Page 58 of 163




 1                      •   Wayne Taleff, et al v. Southwest Airlines Co., et al.,-- action under the
 2                          Clayton Act alleging an illegal combination and merger of major airlines
 3
                            USDC NDCA 11-16173
 4
                        •   Credit/Debit Card Tying Cases-- represented the inventor of the credit card
 5
                            system as an objector to a class action settlement through a successful
 6
 7                          appeal California Superior Court, San Francisco J.C.C.P. 4335

 8                      •   RP Healthcare, Inc., et al. v. Pfizer, Inc., et al.,-antitrust action alleging an
 9                          illegal scheme to pay generics to not produce a drug in order to illegally
10
                            keep the price at supracompetitive levels. (USDC NJ) MDL No. 3:12-cv-
11
                            05129
12
                        •   Fjord et al In Re AMR Corporation, --antitrust Action for violations of
13

14                          Section 7 of the Clayton Antitrust Act Case No: 11-15463

15                      •   In re TFT-LCD (Flat Panel) Antitrust Litigation-- Co lead counsel; antitrust

16                          action alleging illegal conspiracy to fix the prices of LCDs used in TVs,
17
                            tablets, and computer monitors USDC ND CA Case No. MDL 1827
18
                        •   In Re Lipitor Antitrust Litigation, --antitrust action of horizontal market
19
                            allocations in the form of reverse payments to generics. (USDC) MDL No.
20

21                          2332

22          10.     Throughout the course of this litigation, I have kept files contemporaneously

23   documenting all time spent, including tasks performed, and expenses incurred, and have

24   transmitted time reports to Lead Counsel. All of the time and expenses reported were incurred for

25   the benefit of the Indirect Purchaser Plaintiffs (“IPPs”).

26          11.     During the course of this litigation, I have been involved in the following tasks and

27   activities on behalf of the IPPs. All of this work was assigned and/or approved by Lead Counsel.

28                                               5
                     DECLARATION OF THERESA D. MOORE IN SUPPORT OF PLAINTIFFS’
                  APPLICATION FOR ATTORNEYS’ FEES, EXPENSES AND INCENTIVE AWARDS
                                                             Case No. 3:07-cv-5944 SC, MDL No. 1917
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 1          I have been involved in the CRT litigation from the earliest stages, including the initial
 2   investigation of claims, research of the industry, and monitoring of the MDL process. My firm
 3   interviewed clients and reviewed documentation in support of their claims. We kept them apprised
 4   of developments throughout the case. From the beginning we have advised and counseled
 5   regarding strategy and tactics of the litigation including areas of discovery, motion practice, trial,
 6   and prospectively for administration of claims. I have drafted underlying complaints and motions,
 7   and monitored all developments in the case for our clients. All consultation and review of
 8   documents was performed to fulfill a current or expected project or role in the case, including
 9   drafting, revising, and advising on memoranda, evidence and witnesses. I communicated with lead
10   and co counsel regarding status of the case, strategy of the case, assignments, discovery, witnesses,
11   law, motions, upcoming deadlines, and I investigated historical, financial and business research on
12   defendants.
13          12.      The schedule attached as Exhibit 2, and incorporated herein, is a detailed summary
14   of the amount of time spent by me alone and does not reflect the work or expenses of others. It
15   does not include any time devoted to preparing this declaration or otherwise pertaining to the Joint
16   Fee Petition. The lodestar calculation is based on figures lower than my historical billing rates in
17   effect at the time services were performed. Exhibit 2 was prepared from contemporaneous time
18   records regularly prepared and maintained, and I authorize them to be submitted for inspection by
19   the Court if necessary. The hourly rates were, at the time the work was performed, and are
20   currently, lower than the usual and customary hourly rates charged for my services in similar
21   complex litigation. In Exhibit 2 I have charged a rate reduced from my usual and customary rate at
22   the time.
23          13.      The total number of hours reasonably expended and presented herein on this
24   litigation by me from inception to May 31, 2015 is 230.4 hours. The total lodestar at historical
25   rates is $172,363.45. The total lodestar at current rates is $183,168.00. Expense items are not
26   duplicated in my lodestar.
27          14.      The expenses the firm incurred in litigating this action are reflected in the books
28                                                6
                      DECLARATION OF THERESA D. MOORE IN SUPPORT OF PLAINTIFFS’
                   APPLICATION FOR ATTORNEYS’ FEES, EXPENSES AND INCENTIVE AWARDS
                                                              Case No. 3:07-cv-5944 SC, MDL No. 1917
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 1   and records of the firm. These books and records are prepared from expense vouchers, invoices,
 2   receipts, check records and other source materials and accurately reflect the expenses incurred.
 3   The firm’s expense records are available for inspection by the Court if necessary.
 4          15.     My firm to which I am Of Counsel incurred unreimbursed expenses, all of which
 5   were reasonable and necessary for the prosecution of this litigation, and the firm may request such
 6   reimbursement separate and apart from me.
 7          16.     Herein, I am not requesting reimbursement of any expenses.
 8

 9          I declare under penalty of perjury that the foregoing is true and correct. Executed this 21st
10   day of August 2015, in San Francisco, CA.
11
12                                                   Theresa
                                                      h      D
                                                             Driscoll
                                                               i ll M Moore
                                                     Attorney At Law
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                     DECLARATION OF THERESA D. MOORE IN SUPPORT OF PLAINTIFFS’
                  APPLICATION FOR ATTORNEYS’ FEES, EXPENSES AND INCENTIVE AWARDS
                                                             Case No. 3:07-cv-5944 SC, MDL No. 1917
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           Case 4:07-cv-05944-JST Document 4436-4 Filed 02/26/16 Page 62 of 163



Theresa Driscoll Moore, Adjunct Faculty - UCHastings                                                               7/29/15, 11:16 AM




    Theresa Driscoll Moore, Adjunct Faculty
    Adjunct Professor Theresa Moore was born and raised in San Francisco, California. She received her Bachelor of Arts
    from the University of Santa Clara in 1978 and her Juris Doctor from the University of California, Hastings College of
    the Law in 1981. She attended and studied political science/communications and language at UCLA and at the
    Sorbonne in Paris, France.

    Professor Moore has been practicing law since 1981 and has been lead trial attorney in over 100 trials, both jury and
    court trials. She has practiced civil litigation in private practice and criminal litigation as a San Francisco District
    Attorney. Her present practice includes complex litigation, antitrust, consumer, employment, business, and juvenile.
    Having tried so many cases, both criminal and civil, she is intimately familiar with the court and litigation process. In
    addition to practicing civil litigation, Professor Moore is a Judge Pro Tem and a California Certified Mediator, as well as
    being a member of several Continuing Legal Education faculties. She has developed a special insight and unique
    ability in litigation by having participated in cases from all perspectives in her legal litigation career.

    In addition, Professor Moore is very active as a volunteer in the San Francisco community, for both legal and charitable
    organizations. She lives with her husband, who is also a San Francisco native, and their three children in San
    Francisco. Her offices are located in the San Francisco financial district.




http://www.uchastings.edu/academics/faculty/adjunct/moore/index.php                                                      Page 1 of 1
Case 4:07-cv-05944-JST Document 4436-4 Filed 02/26/16 Page 63 of 163




    Theresa D. Moore

        Ms. Moore specializes in trial practice and mediation. Her substantive legal focus includes
    antitrust, unfair competition, business, consumer and complex class actions. Ms. Moore has
    been representing antitrust plaintiffs with the Alioto Law Firm since 1981. She has been lead
    counsel in over 100 trials, including civil and criminal trials as a Deputy District Attorney in
    San Francisco.

        Ms. Moore is a Judge Pro Tem for the State of California in San Francisco Superior
    Court. She is a distinguished Professor Adjunct in Trial Advocacy and Evidence at the
    University of California, Hastings College of Law. She has served as keynote speaker and co-
    chair for the National College of Advocacy.

        Ms. Moore is also a California Certified Mediator and Special Master. She has
    successfully mediated approximately 150 cases for private and government organizations,
    including the Federal Equal Employments Opportunity Commission, Multi-Option ADR
    Project, State of California First District Court of Appeal , Conflicts Resolution Center, San
    Francisco Superior Court, and the San Mateo County Courts.

        Ms Moore received her Juris Doctor from the University of California, Hastings College
    of the Law in 1981. She received her Bachelor of Arts from the University of Santa Clara in
    1978.

        Ms. Moore is admitted to practice in the State of California, as well as the United States
    District Courts for the Northern, Eastern and Central Districts of California.

        A representative sample of Ms. Moore’s class action and antitrust cases includes:

    AD/SAT v. Associated Press, et al.-- antitirust litigation alleging illegal pricing
    U.S.D.C. S.D.N.Y.; Case No. 94-civ-6655 (PKL)

    In Re: Airline Ticket Commission Antitrust Litigation- antitrust class action alleging that the
    airlines conspired to fix travel agents’ commission rates
    U.S.D.C. Minn Fourth Division;MDL Docket No. 1058 Master File No. 4-95-107 (all actions
    combined)

    AD/SAT v. McClatchy Newspapers, Inc.-- anititrust litigation alleging and illegal pricing
    conspiracy U.S.D.C. for the Eastern District of California; Case No. CIV-S-95-1387 (DFL)
    (PAN)

    Neve Brothers, et al. v. Potash Corporation of Saskatechewan, et al.-- antitrust class action
    of inidrect purchasers of potash.
    Sup. Ct. CA S.F. Case No. 959767; Ct. App. CA, 1st Dist..
 Theresa D. Moore                                                                                    11
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    Notz et al v Ticketmaster-Southern Californai, Inc. et al. --antitrust consumer class action
    alleging a territorial allocation in violation of the Cartwright Act
    Sup. Ct. CA S.F. Case No. 943-327

    Cosmetics Antitrust Litigation--antitrust class action alleging that manufacturers of prestige
    cosmetics and retail department stores conspired to prevent discounting of cosmetics Sup. Ct
    CA Marin J.C.C.P. 4056; USDC N.D.CA No. 3:03 cv-03359 SBA

    Automobile Antitrust Litigation I, II JCCP 4298 and 4303—antitrust statewide class action
    by indirect purchasers alleging a price fixing conspiracy. Sup.Ct. CA S.F; J.C.C.P. Nos.
    004298, 004303;U.S.D.C. for the District of Maine; MDL 03-md-1532

    Clayworth, et al. v. Pfizer, Inc., et al.--antitrust action by indirect purchaser retail pharmacists
    alleging a price fixing conspiracy. against major drug manufacturers
    Sup. Ct. CA Alameda Case No. 04172428

    In Re Nasdaq Market Makers Antitrust Litigation --antitrust nationwide class action alleging
    a price fixing conspiracy MDL 1023 94 Civ. 3996 (RWS)

    Breaux v Agency Rent a Car; USDC N.D. CA--class action of employees of rental car
    company

    In Re Tableware Litigation; antitrust action alleging illegal pricing and boycott U.S.D.C. Case
    No. C-04-3514 VRW




 Theresa D. Moore                                                                                    12
           Case 4:07-cv-05944-JST Document 4436-4 Filed 02/26/16 Page 65 of 163



AliotoLawFirm                                                               7/29/15, 1:24 PM




http://www.aliotolaw.com/                                                         Page 1 of 1
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                                      ALIOTO LAW FIRM
                                       1 SANSOME STREET, 35th FL
                                     SAN FRANCISCO, CALIFORNIA 94104
                                     (415) 434-8900 • FAX (415) 434-9200


    Joseph M. Alioto

           Joseph M. Alioto has prosecuted private antitrust cases for the last forty-six years.
    He has tried and won more or as many antitrust cases as any other attorney in the country.
    He has represented farmers, independent companies, inventors, patent holders,
    manufacturers, suppliers, wholesalers, retailers, distributors, unions, consumers, and
    entrepreneurs against foreign as well as domestic corporations. Mr. Alioto’s cases involve
    every major industry from manufacturing to service, trading to finance, supply to retail,
    transportation to mining, foreign and domestic.

                                        COURT MEMBERSHIP

            Mr. Alioto has argued antitrust appeals on behalf of plaintiffs in the United States
    Supreme Court and all twelve Circuit Courts of Appeals. He has represented antitrust plaintiffs in
    federal court in almost every state in the country. He has appeared before the California Supreme
    Court, every California appellate district, and has tried cases in every major California city.

              United States Supreme Court

              United States Court of Appeals for the First Circuit
              United States Court of Appeals for the Second Circuit
              United States Court of Appeals for the Third Circuit
              United States Court of Appeals for the Fourth Circuit
              United States Court of Appeals for the Fifth Circuit
              United States Court of Appeals for the Sixth Circuit
              United States Court of Appeals for the Seventh Circuit
              United States Court of Appeals for the Eighth Circuit
              United States Court of Appeals for the Ninth Circuit
              United States Court of Appeals for the Tenth Circuit
              United States Court of Appeals for the Eleventh Circuit
              United States Court of Appeals for the District of Columbia Circuit

              United States District Courts, Pro Hac Vice: Mr. Alioto has tried antitrust cases in the
              federal District Courts in some forty states including courts in New York, New York

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           Boston, Massachusetts; Atlanta, Georgia; Minneapolis, Minnesota; Wichita Kansas;
           Fort Worth, Dallas, and Amarillo, Texas; Las Vegas and Reno, Nevada; Boise, Idaho;
           Seattle/Tacoma, Washington; Salt Lake City, Utah; Honolulu, Hawaii; Phoenix,
           Arizona; Albuquerque, New Mexico; Philadelphia, Pennsylvania; and others.


                               ANTITRUST CASES SINCE 1969

         Since 1969, Mr. Alioto has represented antitrust plaintiffs in more than 300 cases
 involving various industries, including:

 Accounting                Computers                  Mining                     Satellites Services
 Advertising               Construction               Mortgage Banking            and Equipment
 Agriculture               Consumer                   N.F.L. Football            Shipping
 Air Transportation          Electronics              Newspapers                 Soda Ash
 Aluminum                  Corn Wet Milling           Oil                        Soft Drinks
 Appraising                Cosmetics                  Optic Fibers               Steam Shipping
 Automobiles               Distilled Spirits          Overhead Doors             Telecomm.
 Barges                    Distribution               Pacemakers                 Tickets
 Cable Television          Farm Equipment             Peripheral Mftring         Trading
 Cattle Ranching           Glass                      Photo-Finishing            Travel Industries
 Compact Discs             Health Care                Potash                     Trucking
 Computer                  Hospitals                  Potatoes                   Wheat
  Hardware                 Ice Cream                  Processing                 Wool Mftring
 Computer                  Insurance                  Professional Svcs.          and others
  Network                  Livestock                  Publishing
 Computer                  Medical Devices            Rendering
  Software                 Milk                       Retailing

                                      ANTITRUST TRIALS

        Mr. Alioto has tried and won more or as many antitrust cases as any attorney in
 the country. A sampling of his trials, which last anywhere from three weeks to seven
 months, include the following:

        Gary v. Shell (Oil)
        Hallmark v. Reynolds (Alumina)
        Treasure Valley Potato Growers v. Ore-Ida (Potatoes)
        Fulhurst v. Maytag (electronic ticketing)
 Joseph M. Alioto                                                                                      2
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        Chisholm v. International Harvester (farm equipment)
        Kohn v. Maricopa Rendering (rendering)
        De Voto v. Bankers Mortgage (mortgage banking)
        Janich v. American Distilling (distilled spirits)
        Bray v. Safeway Stores (cattle/beef)
        Cointronics v. Burroughs (computer processing)
        TwoDoor v. Overhead Door (electronic doors)
        Kaplan v. Burroughs (computer processing)
        Aloha Airlines v. Hawaiian Airlines (passenger air transportation)
        Bubble-Up v. Coca-Cola (soft drinks)
        Selton v. PT&T (yellow page publishing)
        Dimmitt v. CPC International (corn wet milling)
        Broadway v. UPS (delivery/consolidation service)
        McDonald v. Johnson & Johnson (TENS/pacemakers)
        Rickards v. CERF (veterinarians)
        Adams Construction (construction)
        Ringsby v. Consolidated Freightways (long haul trucking)
        Lightwave v. Corning (optic fiber)
        Metropolitan News v. Daily Journal (newspaper publishing)
        Las Vegas Sun v. Summa Corp. (advertising/publishing)
        Syufy v. American Theaters (motion picture production and exhibition)
        Forro v. IBM (computer/peripheral manufacturers)
        Amec v. Johnson & Johnson (electronic medical equipment)
        Filco v. Amana (consumer electronic sales)
        United States v. Rice Growers (rice)
        Go-Video v. Matsushita (VCRs)
        Blue Cross v. HCA (hospitals/insurance)
        Southern Publishing v. Lesher Publishing (newspapers)
        Rao v. S/T Hospitals (physicians)
        Los Angeles Raiders v. NFL (professional football)
        Baldareli v. H&R Block (tax preparation)
        Latian v. Banco do Brasil (foreign finance)
        Anderson v. Deloitte, Touche & Ross (accounting)
        Montreal Trading v. MIC (international potash trading)
        King v. National Benevolent Association (real estate)
        Reilly v. Hearst Newspaper Corporation (newspapers)
        Raiders v. National Football League (football)
        IREF v. Arthur Andersen (accounting)


 Joseph M. Alioto                                                               3
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                                   TRIALS OF SPECIAL NOTE

        Mr. Alioto has twice set the record for the largest judgments in the history of the
 Antitrust Laws:

        •   Bray v. Safeway, largest judgment in the history of the antitrust laws up to that date
            (1974, $32 million).

        •   McDonald v. Johnson & Johnson, largest judgment for individuals in the history of the
            antitrust laws up to that date (1981, $170 million).

                                   LECTURES ON ANTITRUST

        Approximately 10-20 at American Bar Association, State Bar Associations, Law
 Schools, Symposia, etc. Topics have varied from practical instruction (e.g. “How To Try
 An International Antitrust Case”) to philosophical underpinning of the antitrust laws (e.g.
 “Adam Smith, Antitrust, and the United States.”)


                                CONGRESSIONAL TESTIMONY

        •   United States Senate, Judiciary Committee; United States Congress, Judiciary,
            Maritime Committees; California Senate

        •   United States Senate Judiciary Committee hearing regarding “Consolidation in
            the Oil and Gas Industry: Raising Prices?”


            TELEVISED DEBATES WITH REAGAN/BUSH ADMINISTRATION
                       DEPARTMENT OF JUSTICE CHIEFS

        •   William Baxter, Assistant Attorney General, Antitrust Division; CNN

        •   Charles Rule, Assistant Attorney General, Antitrust         Division; FNN

                                ANTITRUST CASES REPORTED

         The following is a list of Mr. Alioto’s cases that have been published in official reporters,
 and it therefore represents only a small fraction of his historical case file.
 Joseph M. Alioto                                                                                        4
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    1. Texaco Inc. v. Dagher, Nos. 04-805 & 04-814, SUPREME COURT OF THE UNITED
       STATES, 547 U.S. 1 (2006).

    2. AD/SAT v. AP, Docket No. 96-7304, UNITED STATES COURT OF APPEALS FOR
       THE SECOND CIRCUIT, 181 F.3d 216 (1999)

    3. Alpha Lyracom Space Communs. v. COMSAT Corp., Docket No. 96-9283, UNITED
       STATES COURT OF APPEALS FOR THE SECOND CIRCUIT, 113 F.3d 372 (1997).

    4. Am. Channel, LLC v. Time Warner Cable, Inc. , Civil No. 06-2175 (DWF/SRN) ,
       UNITED STATES DISTRICT COURT FOR THE DISTRICT OF MINNESOTA , 2007
       U.S. Dist. LEXIS 3484 (2007).

    5. Assigned Container Ship Claims, Inc. v. American President Lines, Ltd., No. 85-1978,
       UNITED STATES COURT OF APPEALS FOR THE NINTH CIRCUIT, 784 F.2d 1420
       (1986).

    6. AT&T Corp. v. JMC Telecom, LLC, No. 05-1304 , UNITED STATES COURT OF
       APPEALS FOR THE THIRD CIRCUIT , 470 F.3d 525 (2006).

    7. Azizian v. Federated Dep't Stores, Inc., No. C 03-3359 SBA , UNITED STATES
       DISTRICT COURT FOR THE NORTHERN DISTRICT OF CALIFORNIA (2006).

    8. Betz v. Trainer Wortham & Co., No. 05-15704, UNITED STATES COURT OF
       APPEALS FOR THE NINTH CIRCUIT (2007).

    9. Black v. Acme Markets, Inc., No. 76-3040, UNITED STATES COURT OF APPEALS
       FOR THE FIFTH CIRCUIT, 564 F.2d 681 (1977).

    10. Cinema Service Corp. v. Twentieth Century-Fox Film Corp., Civ. A. No. 77-265 B,
        UNITED STATES DISTRICT COURT FOR THE WESTERN DISTRICT OF
        PENNSYLVANIA, 477 F. Supp. 174 (1979).

    11. CSY Liquidating Corp. v. Harris Trust & Sav. Bank, No. 96 C 1216, UNITED STATES
        DISTRICT COURT FOR THE NORTHERN DISTRICT OF ILLINOIS, EASTERN
        DIVISION (1998).



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    12. Dollar Rent A Car Systems, Inc. v. Hertz Corp., No. C-75-2650-CBR, UNITED
       STATES DISTRICT COURT FOR THE NORTHERN DISTRICT OF CALIFORNIA,
       434 F. Supp. 513 (1977).

    13. EEOC v. Local Union No. 38, Civil Action No. C 73-0645 SC., United States District
        Court for the Northern District of California. (1981).

    14. Enron Corp. Secs. v. Enron Corp., MDL-1446, CIVIL ACTION NO. H-01-3624,
        CONSOLIDATED CASES , UNITED STATES DISTRICT COURT FOR THE
        SOUTHERN DISTRICT OF TEXAS, HOUSTON DIVISION , 439 F. Supp. 2d 692
        (2006).

    15. Feinstein v. Nettleship Co. of Los Angeles, Nos. 77-3998, 82-5698, UNITED STATES
        COURT OF APPEALS FOR THE NINTH CIRCUIT, 714 F.2d 928 (1983).

    16. Gibson v. Greater Park City Co., Civil No. C-81-0823W., United States District Court
        for the District of Utah, Central Division. (1984).

    17. Golden State Transit Corp. v. Los Angeles, CA No. 83-5903, UNITED STATES
        COURT OF APPEALS FOR THE NINTH CIRCUIT, 726 F.2d 1430 (1984).

    18. Go-Video v. Motion Picture Ass'n of Am. (In re Dual-Deck Video Cassette Recorder
        Antitrust Litig.), No. 92-15967, UNITED STATES COURT OF APPEALS FOR THE
        NINTH CIRCUIT, 10 F.3d 693 (1993).

    19. Go-Video, Inc. v. Akai Electric Co., No. 88-2900, UNITED STATES COURT OF
        APPEALS FOR THE NINTH CIRCUIT, 885 F.2d 1406 (1989).

    20. High Tech. Careers v. San Jose Mercury News, CIVIL NO. 90-20579 SW, UNITED
        STATES DISTRICT COURT FOR THE NORTHERN DISTRICT OF CALIFORNIA
        (1994).

    21. Hilo v. BP Exploration & Oil, No. 95-56545, UNITED STATES COURT OF APPEALS
        FOR THE NINTH CIRCUIT (1997).

    22. Hilo v. Exxon Corp., No. 92-56496, UNITED STATES COURT OF APPEALS FOR
        THE NINTH CIRCUIT, 997 F.2d 641 (1993).



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    23. Horizons International, Inc. v. Baldrige, Nos. 86-1135, 86-1144, UNITED STATES
        COURT OF APPEALS FOR THE THIRD CIRCUIT, 811 F.2d 154 (1987).

    24. In re Airport Car Rental Antitrust Litigation, No. 81-4399, UNITED STATES COURT
        OF APPEALS FOR THE NINTH CIRCUIT, 693 F.2d 84 (1982).

    25. In re Beef Industry Antitrust Litigation, MDL No. 248, UNITED STATES DISTRICT
        COURT FOR THE NORTHERN DISTRICT OF TEXAS, DALLAS DIVISION, 542 F.
        Supp. 1122 (1982).

    26. In re Municipal Bond Reporting Antitrust Litigation, No. 80-2012, UNITED STATES
        COURT OF APPEALS, FIFTH CIRCUIT, 672 F.2d 433 (1982).

    27. In re Tableware Antitrust Litig., No C-04-3514 VRW , UNITED STATES DISTRICT
       COURT FOR THE NORTHERN DISTRICT OF CALIFORNIA (2007).

    28. J.T. Gibbons, Inc. v. Crawford Fitting Co., Civ. A. No. 79-1127, UNITED STATES
        DISTRICT COURT FOR THE EASTERN DISTRICT OF LOUISIANA, 565 F. Supp.
        167 (1981).

    29. Jacobs v. G. Heileman Brewing Co., Civil Action No. 82-736, UNITED STATES
        DISTRICT COURT FOR THE DISTRICT OF DELAWARE, 551 F. Supp. 639 (1982).

    30. Johnston v. IVAC Corp., No. 88-1639, UNITED STATES COURT OF APPEALS FOR
        THE FEDERAL CIRCUIT, 885 F.2d 1574 (1989).

    31. Kalmanovitz v. G. Heileman Brewing Co., No. 84-5682, UNITED STATES COURT OF
       APPEALS FOR THE THIRD CIRCUIT, 769 F.2d 152 (1985).

    32. Lec Tec Corp. v. Johnson & Johnson, Civil No. 3-81-644; Civil No. 4-79-189., United
        States District Court for the District of Minnesota, Fourth Division (1982).

    33. Los Angeles Memorial Coliseum Comm'n v. National Football League, Nos. 83-5907,
        83-5908, 83-5909, UNITED STATES COURT OF APPEALS FOR THE NINTH
        CIRCUIT, 791 F.2d 1356 (1986).

    34. McDonald v. Johnson & Johnson, Civ. No. 4-79-189, UNITED STATES DISTRICT
        COURT FOR THE DISTRICT OF MINNESOTA, FOURTH DIVISION, 537 F. Supp.
        1282 (1982)
 Joseph M. Alioto                                                                             7
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    35. Montreal Trading, Ltd. v. Amax, Inc., No. 79-1999, UNITED STATES COURT OF
        APPEALS, TENTH CIRCUIT, 661 F.2d 864 (1981).

    36. National Ass'n of Review Appraisers & Mortgage Underwriters v. Appraisal Found., No.
        94-2689, No. 94-3074, UNITED STATES COURT OF APPEALS FOR THE EIGHTH
        CIRCUIT, 64 F.3d 1130 (1995).

    37. Newby v. Enron Corp. (In re Enron Corp. Secs., Derivative & ERISA Litig.), MDL-
       1446, CIVIL ACTION NO. H-01-3624 CONSOLIDATED CASES , UNITED STATES
       DISTRICT COURT FOR THE SOUTHERN DISTRICT OF TEXAS, HOUSTON
       DIVISION (2007).

    38. Omni Resource Dev. Corp. v. Conoco, Inc., No. 82-4615, UNITED STATES COURT
        OF APPEALS FOR THE NINTH CIRCUIT, 739 F.2d 1412 (1984).

    39. Ostrofe v. H. S. Crocker Co., No. 77-3985, UNITED STATES COURT OF APPEALS,
       NINTH CIRCUIT, 670 F.2d 1378 (1982).

    40. Overhead Door Corp. v. Nordpal Corp., No. 4-75-Civ. 523., United States District Court
        for the District of Minnesota, Fourth Division. (1978).

    41. Pabst Brewing Co. v. Kalmanovitz, Civil Action No. 82-711, UNITED STATES
       DISTRICT COURT FOR THE DISTRICT OF DELAWARE, 551 F. Supp. 882 (1982).

    42. Paramount Film Distributing Corp. v. Civic Center Theatre, Inc., Nos. 7565, 7566, 7573,
        7585, UNITED STATES COURT OF APPEALS TENTH CIRCUIT, 333 F.2d 358
        (1964).

    43. Phototron Corp. v. Eastman Kodak Co., No. 88-1128, UNITED STATES COURT OF
        APPEALS FOR THE FIFTH CIRCUIT, 842 F.2d 95 (1988).

    44. Reazin v. Blue Cross & Blue Shield, Inc., No. 85-6027-K, UNITED STATES
       DISTRICT COURT FOR THE DISTRICT OF KANSAS, 663 F. Supp. 1360 (1987).

    45. Reilly v. Medianews Group, Inc., No. C 06-04332 SI , UNITED STATES DISTRICT
       COURT FOR THE NORTHERN DISTRICT OF CALIFORNIA (2007).



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    46. Spanish International Communications Corp., SIN, Inc. v. Leibowitz, Case No. 84-0655-
        Civ-Aronovitz, UNITED STATES DISTRICT COURT FOR THE SOUTHERN
        DISTRICT OF FLORIDA, 608 F. Supp. 178 (1985).

    47. Stratmore v. Goodbody, No. 88-5130, UNITED STATES COURT OF APPEALS FOR
       THE SIXTH CIRCUIT, 866 F.2d 189; 1989 U.S. App. LEXIS 492 (1989).

    48. Syufy Enterprises v. National General Theatres, Inc., No. 76-2003, UNITED STATES
       COURT OF APPEALS FOR THE NINTH CIRCUIT, 575 F.2d 233 (1978).

    49. Thornhill Pub. Co. v. General Tel. & Electronics Corp., No. 76-3428, UNITED
        STATES COURT OF APPEALS, NINTH CIRCUIT, 594 F.2d 730 (1979).

    50. Transeuro Amertrans Worldwide Moving & Relocations, Ltd. v. Conoco, Inc., No. 02-
        5174 , UNITED STATES COURT OF APPEALS FOR THE TENTH CIRCUIT , 95
        Fed. Appx. 288 (2004).

    51. Traweek v. San Francisco, No. C 83-5640 TEH, UNITED STATES DISTRICT COURT
        FOR THE NORTHERN DISTRICT OF CALIFORNIA, 659 F. Supp. 1012 (1985).

    52. Turner v. Johnson & Johnson, Civil Action No. 79-2259-MC, UNITED STATES
       DISTRICT COURT FOR THE DISTRICT OF MASSACHUSETTS, 549 F. Supp. 807
       (1982).

    53. Turner v. Johnson & Johnson, Nos. 86-1211, 86-1212, UNITED STATES COURT OF
       APPEALS FOR THE FIRST CIRCUIT, 809 F.2d 90 (1986).

    54. Unioil, Inc. v. E.F. Hutton & Co., No. 85-6024, UNITED STATES COURT OF
       APPEALS FOR THE NINTH CIRCUIT, 809 F.2d 548 (1986).

    55. United Ass'n Local 38 Pension Trust Fund v. Aetna Cas. & Sur. Co., No. 84-2667,
        UNITED STATES COURT OF APPEALS FOR THE NINTH CIRCUIT, 790 F.2d 1428
        (1986).

    56. United States v. G. Heileman Brewing Co., Civil Action No. 82-750, UNITED STATES
        DISTRICT COURT FOR THE DISTRICT OF DELAWARE, 563 F. Supp. 642 (1983).




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    57. Unocal Corp. v. Kaabipour, No. 97-56324, No. 98-56216, No. 98-56631, No. 98-56365,
        UNITED STATES COURT OF APPEALS FOR THE NINTH CIRCUIT, 177 F.3d 755
        (1999).

    58. Wang & Wang, LLP v. Banco Do Brasil, S.A., No. Civ. S-06-00761 DFL KJM ,
        UNITED STATES DISTRICT COURT FOR THE EASTERN DISTRICT OF
        CALIFORNIA (2007).

    59. Zinser v. Continental Grain Co., Nos. 79-2296, 79-2310, UNITED STATES COURT
       OF APPEALS, TENTH CIRCUIT, 660 F.2d 754 (1981).




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    Theresa D. Moore

        Ms. Moore specializes in trial practice and mediation. Her substantive legal focus includes
    antitrust, unfair competition, business, consumer and complex class actions. Ms. Moore has
    been representing antitrust plaintiffs with the Alioto Law Firm since 1981. She has been lead
    counsel in over 100 trials, including civil and criminal trials as a Deputy District Attorney in
    San Francisco.

        Ms. Moore is a Judge Pro Tem for the State of California in San Francisco Superior
    Court. She is a distinguished Professor Adjunct in Trial Advocacy and Evidence at the
    University of California, Hastings College of Law. She has served as keynote speaker and co-
    chair for the National College of Advocacy.

        Ms. Moore is also a California Certified Mediator and Special Master. She has
    successfully mediated approximately 150 cases for private and government organizations,
    including the Federal Equal Employments Opportunity Commission, Multi-Option ADR
    Project, State of California First District Court of Appeal , Conflicts Resolution Center, San
    Francisco Superior Court, and the San Mateo County Courts.

        Ms Moore received her Juris Doctor from the University of California, Hastings College
    of the Law in 1981. She received her Bachelor of Arts from the University of Santa Clara in
    1978.

        Ms. Moore is admitted to practice in the State of California, as well as the United States
    District Courts for the Northern, Eastern and Central Districts of California.

        A representative sample of Ms. Moore’s class action and antitrust cases includes:

    AD/SAT v. Associated Press, et al.-- antitirust litigation alleging illegal pricing
    U.S.D.C. S.D.N.Y.; Case No. 94-civ-6655 (PKL)

    In Re: Airline Ticket Commission Antitrust Litigation- antitrust class action alleging that the
    airlines conspired to fix travel agents’ commission rates
    U.S.D.C. Minn Fourth Division;MDL Docket No. 1058 Master File No. 4-95-107 (all actions
    combined)

    AD/SAT v. McClatchy Newspapers, Inc.-- anititrust litigation alleging and illegal pricing
    conspiracy U.S.D.C. for the Eastern District of California; Case No. CIV-S-95-1387 (DFL)
    (PAN)

    Neve Brothers, et al. v. Potash Corporation of Saskatechewan, et al.-- antitrust class action
    of inidrect purchasers of potash.
    Sup. Ct. CA S.F. Case No. 959767; Ct. App. CA, 1st Dist..
 Theresa D. Moore                                                                                    11
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    Notz et al v Ticketmaster-Southern Californai, Inc. et al. --antitrust consumer class action
    alleging a territorial allocation in violation of the Cartwright Act
    Sup. Ct. CA S.F. Case No. 943-327

    Cosmetics Antitrust Litigation--antitrust class action alleging that manufacturers of prestige
    cosmetics and retail department stores conspired to prevent discounting of cosmetics Sup. Ct
    CA Marin J.C.C.P. 4056; USDC N.D.CA No. 3:03 cv-03359 SBA

    Automobile Antitrust Litigation I, II JCCP 4298 and 4303—antitrust statewide class action
    by indirect purchasers alleging a price fixing conspiracy. Sup.Ct. CA S.F; J.C.C.P. Nos.
    004298, 004303;U.S.D.C. for the District of Maine; MDL 03-md-1532

    Clayworth, et al. v. Pfizer, Inc., et al.--antitrust action by indirect purchaser retail pharmacists
    alleging a price fixing conspiracy. against major drug manufacturers
    Sup. Ct. CA Alameda Case No. 04172428

    In Re Nasdaq Market Makers Antitrust Litigation --antitrust nationwide class action alleging
    a price fixing conspiracy MDL 1023 94 Civ. 3996 (RWS)

    Breaux v Agency Rent a Car; USDC N.D. CA--class action of employees of rental car
    company

    In Re Tableware Litigation; antitrust action alleging illegal pricing and boycott U.S.D.C. Case
    No. C-04-3514 VRW




 Theresa D. Moore                                                                                    12
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    Angelina Alioto-Grace

        Mrs. Alioto-Grace is a general commercial litigator with a focus in antitrust, complex
    business tort, class action, intellectual property, unfair competition, and racial discrimination.
    Her experience includes both trial and appellate advocacy in the federal and state courts. Mrs.
    Alioto-Grace’s responsibilities include all aspects of trial preparation from opening statement
    through argument. Additional pre-trial responsibilities include initiating pleadings, all phases
    of discovery, client retention and management, and settlement negotiation.

        Mrs. Alioto-Grace is admitted to practice in the State of California, the State of New
    York, the Commonwealth of Massachusetts, the United States Supreme Court, the Ninth
    Circuit Court of Appeals, the United States District Court for the Northern District of
    California and the United States District Courts for the Southern and Eastern Districts of New
    York.

       Mrs. Alioto-Grace is a former associate of Akin, Gump, Strauss, Hauer & Feld L.L.P. in
    New York, New York. She received her Juris Doctorate in 1995 from the Georgetown
    University Law Center. After law school, Mrs. Alioto-Grace clerked for the Office of the
    Counsel to the President of the United States.




 Angelina Alioto-Grace                                                                             13
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    Thomas P. Pier

        Mr. Pier practices antitrust litigation with the Alioto Law Firm. He is admitted to practice
    in the State of California, as well as the United States District Court for the Northern District
    of California. Since joining the Alioto Law Firm in 2005, Mr. Pier has been involved in
    antitrust litigation in the fields of transportation, communications, pharmaceuticals, and
    building controls. Mr. Pier’s primary responsibilities are in the coordination of discovery
    matters.

        Mr. Pier received a Juris Doctorate from the University of San Francisco in 2004. Mr.
    Pier also received a Master of Arts in Journalism from the University of Texas, Austin in
    2003, and a Bachelor of Arts in Public Policy from Brown University in 1995.




 Thomas P. Pier                                                                                   15
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            2008                    -725'00                17'5                2'0             1'1             0'0             0'0             0'0             0'0             0'0             2'0          56'1              0'0             0'0               78'7 -57&057'50

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  From: Lauren Capurro (Russell) LaurenRussell@tatp.com
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   Date: August 24, 2015 at 6:26 PM
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 4   Facsimile: (415) 434-9200
     tmoore@aliotolaw.com
 5
     Counsel for Indirect Purchaser Plaintiffs
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11
                                 UNITED STATES DISTRICT COURT
12
                              NORTHERN DISTRICT OF CALIFORNIA
13
                                      SAN FRANCISCO DIVISION
14
     IN RE: CATHODE RAY TUBE (CRT)               Case No. 3:07-cv-5944
15   ANTITRUST LITIGATION                        MDL No. 1917
16                                               CLASS ACTION
17                                               DECLARATION OF THERESA D. MOORE IN
     This Document Relates to:                   SUPPORT OF PLAINTIFFS’ APPLICATION
18                                               FOR ATTORNEYS’ FEES, EXPENSES AND
     All Indirect Purchaser Actions              INCENTIVE AWARDS
19
                                                 Judge: Honorable Samuel Conti
20                                               Courtroom One, 17th Floor
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                    DECLARATION OF THERESA D. MOORE IN SUPPORT OF PLAINTIFFS’
                 APPLICATION FOR ATTORNEYS’ FEES, EXPENSES AND INCENTIVE AWARDS
                                                           Case No. 3:07-cv-5944, MDL No. 1917
Case 4:07-cv-05944-JST Document 4436-4 Filed 02/26/16 Page 107 of 163




 1          I, Theresa Driscoll Moore, declare as follows:
 2          1.      I am an attorney licensed to practice before the courts of the State of California as
 3   well as the United States District Courts for the Northern, Eastern and Central Districts of
 4   California, as well as admitted Pro Hoc Vice in Federal Courts throughout the nation. I am Of
 5   Counsel to the law firm of Alioto Law Firm, and make this Declaration in support of my own
 6   personal work in this matter at bar, and not those of the Alioto Law Firm. Any further request for
 7   expenses or attorneys’ fees from the Alioto Law Firm do not include my work in this case. I have
 8   personal knowledge of the facts stated in this declaration and, if called as a witness, I could and
 9   would testify competently to them. I make this declaration in support of my own request for
10   attorneys’ fees and reimbursement of litigation expenses, as set forth in Plaintiffs’ Application for
11   Attorneys’ Fees, Expenses and Incentive Awards.
12          2.      I am counsel of record in this case, and represent plaintiffs Margaret Slagle, Mark
13   Pierce, Barbara Caldwell, Barry Kushner, Brian A. Luscher, Jerry Cook, Scott Friedson as well as
14   Indirect Purchaser Plaintiffs. All of the work I have performed as counsel in this case is mine
15   alone. A brief description of me and of my firm to which I am Of Counsel is attached as Exhibit 1
16   and incorporated herein by reference.
17          3.      I have been a trial lawyer for 34 years, as a Deputy District Attorney prosecuting
18   cases on behalf of the State of California, and in civil litigation prosecuting antitrust cases in
19   Federal and State Courts almost exclusively on behalf of antitrust plaintiffs. To date I have been
20   lead and/or co lead counsel in approximately 130 trials to verdict, having practiced both criminal
21   and civil litigation. I began my antitrust career with the Alioto Law Firm of Joseph M. Alioto in
22   1981 when I participated in my first antitrust trial. I then practiced as a Deputy District Attorney in
23   San Francisco for seven and one half years until returning to advocacy teaching and practice of
24   civil antitrust litigation at the Alioto Law Firm, where I remain today. I am a trial attorney
25   specializing in advocacy, and my substantive legal focus includes antitrust, unfair competition,
26   business, consumer and complex class actions. A representative sampling of my antitrust and class
27   action cases follows in paragraph 9.
28                                              1
                    DECLARATION OF THERESA D. MOORE IN SUPPORT OF PLAINTIFFS’
                 APPLICATION FOR ATTORNEYS’ FEES, EXPENSES AND INCENTIVE AWARDS
                                                                          MDL 3:07-md-1827 SI
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 1                4. I am a Judge Pro Tem for the State of California San Francisco Superior Court,
 2                   since 1996.
 3
             5.      I am a distinguished Professor Adjunct in Trial/Evidence Practice at University of
 4
     California Hastings College of the Law where I have been teaching trial advocacy since the 1995-
 5
     1996 academic year.
 6
             6.      I have served on multiple occasions as Co-chair, Keynote Speaker, and Instructor at
 7
     the National College of Advocacy, Intensive Advocacy Program, and multiple other associations.
 8
             7.      I have authored books and articles, the most recent were published this year in 2015
 9
     by Lexis Nexis and the National Institute of Trial Advocacy, consisting of two separate books on
10
     trial practice, and a third book is slated for publication in 2016, all as part of a series of Trial
11
     Practice books authored by me named “Trial By Fire”.
12
             8.      I am a Certified Mediator and a Special Master. In my capacity as a negotiator and
13
     mediator I have successfully mediated approximately 150 cases for many private and government
14
     organizations, including the Federal Equal Employment Opportunity Commission, Multi-Option
15
     ADR Project, State of California First District Court of Appeal, Conflicts Resolution Center, San
16
     Francisco Superior Court and San Mateo County Courts, Bar and Community as a partial list.
17
             9.      I studied at the Sorbonne and Institut d'Études Politiques de Paris in Paris, France,
18
     received my Bachelor of Arts from Santa Clara University, and my Juris Doctorate from
19
     University of California Hastings College of the Law.
20
             A representative sample of my antitrust and class action cases includes:
21
                         •   AD/SAT v. Associated Press, et al.-- antitrust litigation alleging illegal
22
                             pricing U.S.D.C. S.D.N.Y.; Case No. 94-civ-6655 (PKL)
23

24                       •   In Re: Airline Ticket Commission Antitrust Litigation- antitrust class action

25                           alleging that the airlines conspired to fix travel agents’ commission rates

26                           U.S.D.C. Minn Fourth Division; MDL Docket No. 1058 Master File No. 4-
27
                             95 107 (all actions combined)
28                                               2
                     DECLARATION OF THERESA D. MOORE IN SUPPORT OF PLAINTIFFS’
                  APPLICATION FOR ATTORNEYS’ FEES, EXPENSES AND INCENTIVE AWARDS
                                                             Case No. 3:07-cv-5944 SC, MDL No. 1917
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 1                •   AD/SAT v. McClatchy Newspapers, Inc.-- antitrust litigation alleging and
 2                    illegal pricing conspiracy U.S.D.C. for the Eastern District of California;
 3
                      Case No. CIV-S-95-1387 (DFL) (PAN)
 4
                  •   Neve Brothers, et al. v. Potash Corporation of Saskatechewan, et al.--
 5
                      antitrust class action of inidrect purchasers of potash. Sup. Ct. CA S.F. Case
 6
 7                    No. 959767; Ct. App. CA, 1st Dist..

 8                •   Notz et al v Ticketmaster-Southern Californai, Inc. et al. --antitrust
 9                    consumer class action alleging a territorial allocation in violation of the
10
                      Cartwright Act Sup. Ct. CA S.F. Case No. 943-327
11
                  •   Cosmetics Antitrust Litigation--antitrust class action alleging that
12
                      manufacturers of prestige cosmetics and retail department stores conspired
13

14                    to prevent discounting of cosmetics Sup. Ct CA Marin J.C.C.P. 4056;

15                    USDC N.D.CA No. 3:03 cv-03359 SBA

16                •   Automobile Antitrust Litigation I, II JCCP 4298 and 4303—antitrust
17
                      statewide class action by indirect purchasers alleging a price fixing
18
                      conspiracy. Sup.Ct. CA S.F; J.C.C.P. Nos. 004298, 004303;U.S.D.C. for the
19
                      District of Maine; MDL 03-md-1532
20

21                •   Clayworth, et al. v. Pfizer, Inc., et al.--antitrust action by indirect purchaser

22                    retail pharmacists alleging a price fixing conspiracy against major drug

23                    manufacturers Sup. Ct. CA Alameda Case No. 04172428
24
                  •   In Re Nasdaq Market Makers Antitrust Litigation --antitrust nationwide
25
                      class action alleging a price fixing conspiracy MDL 1023 94 Civ. 3996
26
                      (RWS)
27
28                                         3
               DECLARATION OF THERESA D. MOORE IN SUPPORT OF PLAINTIFFS’
            APPLICATION FOR ATTORNEYS’ FEES, EXPENSES AND INCENTIVE AWARDS
                                                       Case No. 3:07-cv-5944 SC, MDL No. 1917
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 1                •   Breaux v Agency Rent a Car; --class action of employees of rental car
 2                    company. USDC N.D. CA
 3
                  •   In Re Tableware Litigation-- antitrust action alleging illegal pricing and
 4
                      boycott U.S.D.C. Case No. C-04-3514 VRW
 5
                  •   Tam Travel et al. v. Delta Airlines et al-- antitrust action of opt outs from a
 6
 7                    class action alleging that the airlines conspired to fix travel agents’

 8                    commission rates
 9                •   In Re Verizon Wireless Data Charges Litigation-- antitrust action alleging
10
                      an illegal scheme of charging for data on mobile devices. USDC 3:10-cv-
11
                      01749
12
                  •   In Re Optical Disc Drive Antitrust Litigation (ODD)-- antitrust action
13

14                    alleging illegal conspiracy to fix the prices of optical disc drives used in

15                    electronic devices such as monitors and computers and other devices.

16                    USDC ND CA Case No. MDL 02143
17
                  •   Malaney v. United Airlines, Inc.-- action under the Clayton Act alleging an
18
                      illegal combination and merger of airlines USDC ND CA Case No: 12-
19
                      15182
20

21                •   D’ Augusta v. Northwest Airlines, Inc. and Delta Air Lines, Inc.,--action

22                    under the Clayton Act alleging an illegal combination and merger of airlines

23                    USDC ND CA 3:08-cv-3007
24
                  •   In re Aftermarket Filters Antitrust Litigation--antitrust action alleging illegal
25
                      conspiracy of price fixing for replacement motor vehicle oil, fuel and engine
26
                      air filters. USDC ND ILL 1:08-cv-04883
27
28                                         4
               DECLARATION OF THERESA D. MOORE IN SUPPORT OF PLAINTIFFS’
            APPLICATION FOR ATTORNEYS’ FEES, EXPENSES AND INCENTIVE AWARDS
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 1                      •   Wayne Taleff, et al v. Southwest Airlines Co., et al.,-- action under the
 2                          Clayton Act alleging an illegal combination and merger of major airlines
 3
                            USDC NDCA 11-16173
 4
                        •   Credit/Debit Card Tying Cases-- represented the inventor of the credit card
 5
                            system as an objector to a class action settlement through a successful
 6
 7                          appeal California Superior Court, San Francisco J.C.C.P. 4335

 8                      •   RP Healthcare, Inc., et al. v. Pfizer, Inc., et al.,-antitrust action alleging an
 9                          illegal scheme to pay generics to not produce a drug in order to illegally
10
                            keep the price at supracompetitive levels. (USDC NJ) MDL No. 3:12-cv-
11
                            05129
12
                        •   Fjord et al In Re AMR Corporation, --antitrust Action for violations of
13

14                          Section 7 of the Clayton Antitrust Act Case No: 11-15463

15                      •   In re TFT-LCD (Flat Panel) Antitrust Litigation-- Co lead counsel; antitrust

16                          action alleging illegal conspiracy to fix the prices of LCDs used in TVs,
17
                            tablets, and computer monitors USDC ND CA Case No. MDL 1827
18
                        •   In Re Lipitor Antitrust Litigation, --antitrust action of horizontal market
19
                            allocations in the form of reverse payments to generics. (USDC) MDL No.
20

21                          2332

22
23          10.     Throughout the course of this litigation, I have kept files contemporaneously
24   documenting all time spent, including tasks performed, and expenses incurred, and have
25   transmitted time reports to Lead Counsel. All of the time and expenses reported were incurred for
26   the benefit of the Indirect Purchaser Plaintiffs (“IPPs”).
27          11.     During the course of this litigation, I have been involved in the following tasks and
28                                               5
                     DECLARATION OF THERESA D. MOORE IN SUPPORT OF PLAINTIFFS’
                  APPLICATION FOR ATTORNEYS’ FEES, EXPENSES AND INCENTIVE AWARDS
                                                             Case No. 3:07-cv-5944 SC, MDL No. 1917
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 1   activities on behalf of the IPPs. All of this work was assigned and/or approved by Lead Counsel.
 2          I have been involved in the CRT litigation from the earliest stages, including the initial
 3   investigation of claims, research of the industry, and monitoring of the MDL process. My firm
 4   interviewed clients and reviewed documentation in support of their claims. We kept them apprised
 5   of developments throughout the case. From the beginning we have advised and counseled
 6   regarding strategy and tactics of the litigation including areas of discovery, motion practice, trial,
 7   and prospectively for administration of claims. I have drafted underlying complaints and motions,
 8   and monitored all developments in the case for our clients. All consultation and document review
 9   of pleadings, motions etc. was performed to fulfill a current or expected project or role in the case,
10   including drafting, revising, and advising on memoranda, evidence and witnesses. I communicated
11   with lead and co counsel regarding status of the case, strategy of the case, assignments, discovery,
12   witnesses, law, motions, upcoming deadlines, and I investigated historical, financial and business
13   research on defendants.
14          12.     The schedule attached as Exhibit 2, and incorporated herein, is a detailed summary
15   of the amount of time spent by me alone and does not reflect the work or expenses of others. It
16   does not include any time devoted to preparing this declaration or otherwise pertaining to the Joint
17   Fee Petition. The lodestar calculation is based on figures lower than my historical billing rates in
18   effect at the time services were performed. Exhibit 2 was prepared from contemporaneous time
19   records regularly prepared and maintained, and I authorize them to be submitted for inspection by
20   the Court if necessary. The hourly rates were, at the time the work was performed, and are
21   currently, lower than the usual and customary hourly rates charged for my services in similar
22   complex litigation. In Exhibit 2 I have charged a rate reduced from my usual and customary rate at
23   the time.
24          13.     The number of hours reasonably expended and presented herein from 2007-2008 by
25   me is 33.25 hours. The lodestar at historical rates is $22.918.75. The lodestar at current rates is
26   $24,106.25. Lead counsel requests that I discount and submit time only for 2007-2008 at reduced
27   rate and hours of 33.25 hours, which I do herein. Expense hours are not duplicated in my lodestar.
28                                               6
                     DECLARATION OF THERESA D. MOORE IN SUPPORT OF PLAINTIFFS’
                  APPLICATION FOR ATTORNEYS’ FEES, EXPENSES AND INCENTIVE AWARDS
                                                             Case No. 3:07-cv-5944 SC, MDL No. 1917
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 1           14.     The total number of I hours reasonably expended on this from inception to May 31,
 2   2015 is 230.4 hours. Over the entire 9 year prosecution of the case my time expended was not
 3   duplicative or wasteful, and was necessary to abide by my ethical duties as representing multiple
 4   clients. The total lodestar at historical rates is $172,363.45. The total lodestar at current rates is
 5   $183,168.00. The hours expended by me were for the benefit of my clients and the class. Exhibit 2
 6   reflects my time so reduced, but my actual time, effort, and lodestar for which I do apply herein is
 7   reflected in the pre-discounted hours and lodestar as described herein.
 8           15.     The expenses the firm incurred in litigating this action are reflected in the books
 9   and records of the firm. These books and records are prepared from expense vouchers, invoices,
10   receipts, check records and other source materials and accurately reflect the expenses incurred.
11   The firm’s expense records are available for inspection by the Court if necessary.
12           16.     My firm to which I am Of Counsel incurred unreimbursed expenses, all of which
13   were reasonable and necessary for the prosecution of this litigation, and the firm may request such
14   reimbursement separate and apart from me.
15           17.     Herein, I am not requesting reimbursement of any expenses.
16
17           I declare under penalty of perjury that the foregoing is true and correct. Executed this 28th
18   day of August 2015, in San Francisco, CA.
19
                                                              Theresa D. Moore
20                                                      Theresa Driscoll Moore
                                                        Attorney At Law
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28                                                7
                      DECLARATION OF THERESA D. MOORE IN SUPPORT OF PLAINTIFFS’
                   APPLICATION FOR ATTORNEYS’ FEES, EXPENSES AND INCENTIVE AWARDS
                                                              Case No. 3:07-cv-5944 SC, MDL No. 1917
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Theresa Driscoll Moore, Adjunct Faculty - UCHastings                                                               7/29/15, 11:16 AM




    Theresa Driscoll Moore, Adjunct Faculty
    Adjunct Professor Theresa Moore was born and raised in San Francisco, California. She received her Bachelor of Arts
    from the University of Santa Clara in 1978 and her Juris Doctor from the University of California, Hastings College of
    the Law in 1981. She attended and studied political science/communications and language at UCLA and at the
    Sorbonne in Paris, France.

    Professor Moore has been practicing law since 1981 and has been lead trial attorney in over 100 trials, both jury and
    court trials. She has practiced civil litigation in private practice and criminal litigation as a San Francisco District
    Attorney. Her present practice includes complex litigation, antitrust, consumer, employment, business, and juvenile.
    Having tried so many cases, both criminal and civil, she is intimately familiar with the court and litigation process. In
    addition to practicing civil litigation, Professor Moore is a Judge Pro Tem and a California Certified Mediator, as well as
    being a member of several Continuing Legal Education faculties. She has developed a special insight and unique
    ability in litigation by having participated in cases from all perspectives in her legal litigation career.

    In addition, Professor Moore is very active as a volunteer in the San Francisco community, for both legal and charitable
    organizations. She lives with her husband, who is also a San Francisco native, and their three children in San
    Francisco. Her offices are located in the San Francisco financial district.




http://www.uchastings.edu/academics/faculty/adjunct/moore/index.php                                                      Page 1 of 1
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     Theresa D. Moore

         Ms. Moore specializes in trial practice and mediation. Her substantive legal focus includes
     antitrust, unfair competition, business, consumer and complex class actions. Ms. Moore has
     been representing antitrust plaintiffs with the Alioto Law Firm since 1981. She has been lead
     counsel in over 100 trials, including civil and criminal trials as a Deputy District Attorney in
     San Francisco.

         Ms. Moore is a Judge Pro Tem for the State of California in San Francisco Superior
     Court. She is a distinguished Professor Adjunct in Trial Advocacy and Evidence at the
     University of California, Hastings College of Law. She has served as keynote speaker and co-
     chair for the National College of Advocacy.

         Ms. Moore is also a California Certified Mediator and Special Master. She has
     successfully mediated approximately 150 cases for private and government organizations,
     including the Federal Equal Employments Opportunity Commission, Multi-Option ADR
     Project, State of California First District Court of Appeal , Conflicts Resolution Center, San
     Francisco Superior Court, and the San Mateo County Courts.

         Ms Moore received her Juris Doctor from the University of California, Hastings College
     of the Law in 1981. She received her Bachelor of Arts from the University of Santa Clara in
     1978.

         Ms. Moore is admitted to practice in the State of California, as well as the United States
     District Courts for the Northern, Eastern and Central Districts of California.

         A representative sample of Ms. Moore’s class action and antitrust cases includes:

     AD/SAT v. Associated Press, et al.-- antitirust litigation alleging illegal pricing
     U.S.D.C. S.D.N.Y.; Case No. 94-civ-6655 (PKL)

     In Re: Airline Ticket Commission Antitrust Litigation- antitrust class action alleging that the
     airlines conspired to fix travel agents’ commission rates
     U.S.D.C. Minn Fourth Division;MDL Docket No. 1058 Master File No. 4-95-107 (all actions
     combined)

     AD/SAT v. McClatchy Newspapers, Inc.-- anititrust litigation alleging and illegal pricing
     conspiracy U.S.D.C. for the Eastern District of California; Case No. CIV-S-95-1387 (DFL)
     (PAN)

     Neve Brothers, et al. v. Potash Corporation of Saskatechewan, et al.-- antitrust class action
     of inidrect purchasers of potash.
     Sup. Ct. CA S.F. Case No. 959767; Ct. App. CA, 1st Dist..
  Theresa D. Moore                                                                                    11
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     Notz et al v Ticketmaster-Southern Californai, Inc. et al. --antitrust consumer class action
     alleging a territorial allocation in violation of the Cartwright Act
     Sup. Ct. CA S.F. Case No. 943-327

     Cosmetics Antitrust Litigation--antitrust class action alleging that manufacturers of prestige
     cosmetics and retail department stores conspired to prevent discounting of cosmetics Sup. Ct
     CA Marin J.C.C.P. 4056; USDC N.D.CA No. 3:03 cv-03359 SBA

     Automobile Antitrust Litigation I, II JCCP 4298 and 4303—antitrust statewide class action
     by indirect purchasers alleging a price fixing conspiracy. Sup.Ct. CA S.F; J.C.C.P. Nos.
     004298, 004303;U.S.D.C. for the District of Maine; MDL 03-md-1532

     Clayworth, et al. v. Pfizer, Inc., et al.--antitrust action by indirect purchaser retail pharmacists
     alleging a price fixing conspiracy. against major drug manufacturers
     Sup. Ct. CA Alameda Case No. 04172428

     In Re Nasdaq Market Makers Antitrust Litigation --antitrust nationwide class action alleging
     a price fixing conspiracy MDL 1023 94 Civ. 3996 (RWS)

     Breaux v Agency Rent a Car; USDC N.D. CA--class action of employees of rental car
     company

     In Re Tableware Litigation; antitrust action alleging illegal pricing and boycott U.S.D.C. Case
     No. C-04-3514 VRW




  Theresa D. Moore                                                                                    12
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AliotoLawFirm                                                              7/29/15, 1:24 PM




http://www.aliotolaw.com/                                                         Page 1 of 1
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                                       ALIOTO LAW FIRM
                                        1 SANSOME STREET, 35th FL
                                      SAN FRANCISCO, CALIFORNIA 94104
                                      (415) 434-8900 • FAX (415) 434-9200
 
 
     Joseph M. Alioto
 
            Joseph M. Alioto has prosecuted private antitrust cases for the last forty-six years.
     He has tried and won more or as many antitrust cases as any other attorney in the country.
     He has represented farmers, independent companies, inventors, patent holders,
     manufacturers, suppliers, wholesalers, retailers, distributors, unions, consumers, and
     entrepreneurs against foreign as well as domestic corporations. Mr. Alioto’s cases involve
     every major industry from manufacturing to service, trading to finance, supply to retail,
     transportation to mining, foreign and domestic.
 
                                         COURT MEMBERSHIP
 
             Mr. Alioto has argued antitrust appeals on behalf of plaintiffs in the United States
     Supreme Court and all twelve Circuit Courts of Appeals. He has represented antitrust plaintiffs in
     federal court in almost every state in the country. He has appeared before the California Supreme
     Court, every California appellate district, and has tried cases in every major California city.
 
               United States Supreme Court
 
               United States Court of Appeals for the First Circuit
               United States Court of Appeals for the Second Circuit
               United States Court of Appeals for the Third Circuit
               United States Court of Appeals for the Fourth Circuit
               United States Court of Appeals for the Fifth Circuit
               United States Court of Appeals for the Sixth Circuit
               United States Court of Appeals for the Seventh Circuit
               United States Court of Appeals for the Eighth Circuit
               United States Court of Appeals for the Ninth Circuit
               United States Court of Appeals for the Tenth Circuit
               United States Court of Appeals for the Eleventh Circuit
               United States Court of Appeals for the District of Columbia Circuit
 
               United States District Courts, Pro Hac Vice: Mr. Alioto has tried antitrust cases in the
               federal District Courts in some forty states including courts in New York, New York
 
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            Boston, Massachusetts; Atlanta, Georgia; Minneapolis, Minnesota; Wichita Kansas;
            Fort Worth, Dallas, and Amarillo, Texas; Las Vegas and Reno, Nevada; Boise, Idaho;
            Seattle/Tacoma, Washington; Salt Lake City, Utah; Honolulu, Hawaii; Phoenix,
            Arizona; Albuquerque, New Mexico; Philadelphia, Pennsylvania; and others.


                                ANTITRUST CASES SINCE 1969

          Since 1969, Mr. Alioto has represented antitrust plaintiffs in more than 300 cases
  involving various industries, including:

 Accounting                 Computers                  Mining                     Satellites Services
 Advertising                Construction               Mortgage Banking            and Equipment
 Agriculture                Consumer                   N.F.L. Football            Shipping
 Air Transportation           Electronics              Newspapers                 Soda Ash
 Aluminum                   Corn Wet Milling           Oil                        Soft Drinks
 Appraising                 Cosmetics                  Optic Fibers               Steam Shipping
 Automobiles                Distilled Spirits          Overhead Doors             Telecomm.
 Barges                     Distribution               Pacemakers                 Tickets
 Cable Television           Farm Equipment             Peripheral Mftring         Trading
 Cattle Ranching            Glass                      Photo-Finishing            Travel Industries
 Compact Discs              Health Care                Potash                     Trucking
 Computer                   Hospitals                  Potatoes                   Wheat
  Hardware                  Ice Cream                  Processing                 Wool Mftring
 Computer                   Insurance                  Professional Svcs.          and others
  Network                   Livestock                  Publishing
 Computer                   Medical Devices            Rendering
  Software                  Milk                       Retailing

                                       ANTITRUST TRIALS

         Mr. Alioto has tried and won more or as many antitrust cases as any attorney in
  the country. A sampling of his trials, which last anywhere from three weeks to seven
  months, include the following:

         Gary v. Shell (Oil)
         Hallmark v. Reynolds (Alumina)
         Treasure Valley Potato Growers v. Ore-Ida (Potatoes)
         Fulhurst v. Maytag (electronic ticketing)
  Joseph M. Alioto                                                                                      2
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         Chisholm v. International Harvester (farm equipment)
         Kohn v. Maricopa Rendering (rendering)
         De Voto v. Bankers Mortgage (mortgage banking)
         Janich v. American Distilling (distilled spirits)
         Bray v. Safeway Stores (cattle/beef)
         Cointronics v. Burroughs (computer processing)
         TwoDoor v. Overhead Door (electronic doors)
         Kaplan v. Burroughs (computer processing)
         Aloha Airlines v. Hawaiian Airlines (passenger air transportation)
         Bubble-Up v. Coca-Cola (soft drinks)
         Selton v. PT&T (yellow page publishing)
         Dimmitt v. CPC International (corn wet milling)
         Broadway v. UPS (delivery/consolidation service)
         McDonald v. Johnson & Johnson (TENS/pacemakers)
         Rickards v. CERF (veterinarians)
         Adams Construction (construction)
         Ringsby v. Consolidated Freightways (long haul trucking)
         Lightwave v. Corning (optic fiber)
         Metropolitan News v. Daily Journal (newspaper publishing)
         Las Vegas Sun v. Summa Corp. (advertising/publishing)
         Syufy v. American Theaters (motion picture production and exhibition)
         Forro v. IBM (computer/peripheral manufacturers)
         Amec v. Johnson & Johnson (electronic medical equipment)
         Filco v. Amana (consumer electronic sales)
         United States v. Rice Growers (rice)
         Go-Video v. Matsushita (VCRs)
         Blue Cross v. HCA (hospitals/insurance)
         Southern Publishing v. Lesher Publishing (newspapers)
         Rao v. S/T Hospitals (physicians)
         Los Angeles Raiders v. NFL (professional football)
         Baldareli v. H&R Block (tax preparation)
         Latian v. Banco do Brasil (foreign finance)
         Anderson v. Deloitte, Touche & Ross (accounting)
         Montreal Trading v. MIC (international potash trading)
         King v. National Benevolent Association (real estate)
         Reilly v. Hearst Newspaper Corporation (newspapers)
         Raiders v. National Football League (football)
         IREF v. Arthur Andersen (accounting)


  Joseph M. Alioto                                                               3
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                                    TRIALS OF SPECIAL NOTE

         Mr. Alioto has twice set the record for the largest judgments in the history of the
  Antitrust Laws:

         •   Bray v. Safeway, largest judgment in the history of the antitrust laws up to that date
             (1974, $32 million).

         •   McDonald v. Johnson & Johnson, largest judgment for individuals in the history of the
             antitrust laws up to that date (1981, $170 million).

                                    LECTURES ON ANTITRUST

         Approximately 10-20 at American Bar Association, State Bar Associations, Law
  Schools, Symposia, etc. Topics have varied from practical instruction (e.g. “How To Try
  An International Antitrust Case”) to philosophical underpinning of the antitrust laws (e.g.
  “Adam Smith, Antitrust, and the United States.”)


                                 CONGRESSIONAL TESTIMONY

         •   United States Senate, Judiciary Committee; United States Congress, Judiciary,
             Maritime Committees; California Senate

         •   United States Senate Judiciary Committee hearing regarding “Consolidation in
             the Oil and Gas Industry: Raising Prices?”


             TELEVISED DEBATES WITH REAGAN/BUSH ADMINISTRATION
                        DEPARTMENT OF JUSTICE CHIEFS

         •   William Baxter, Assistant Attorney General, Antitrust Division; CNN

         •   Charles Rule, Assistant Attorney General, Antitrust         Division; FNN

                                 ANTITRUST CASES REPORTED

          The following is a list of Mr. Alioto’s cases that have been published in official reporters,
  and it therefore represents only a small fraction of his historical case file.
  Joseph M. Alioto                                                                                        4
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     1. Texaco Inc. v. Dagher, Nos. 04-805 & 04-814, SUPREME COURT OF THE UNITED
        STATES, 547 U.S. 1 (2006).

     2. AD/SAT v. AP, Docket No. 96-7304, UNITED STATES COURT OF APPEALS FOR
        THE SECOND CIRCUIT, 181 F.3d 216 (1999)

     3. Alpha Lyracom Space Communs. v. COMSAT Corp., Docket No. 96-9283, UNITED
        STATES COURT OF APPEALS FOR THE SECOND CIRCUIT, 113 F.3d 372 (1997).

     4. Am. Channel, LLC v. Time Warner Cable, Inc. , Civil No. 06-2175 (DWF/SRN) ,
        UNITED STATES DISTRICT COURT FOR THE DISTRICT OF MINNESOTA , 2007
        U.S. Dist. LEXIS 3484 (2007).

     5. Assigned Container Ship Claims, Inc. v. American President Lines, Ltd., No. 85-1978,
        UNITED STATES COURT OF APPEALS FOR THE NINTH CIRCUIT, 784 F.2d 1420
        (1986).

     6. AT&T Corp. v. JMC Telecom, LLC, No. 05-1304 , UNITED STATES COURT OF
        APPEALS FOR THE THIRD CIRCUIT , 470 F.3d 525 (2006).

     7. Azizian v. Federated Dep't Stores, Inc., No. C 03-3359 SBA , UNITED STATES
        DISTRICT COURT FOR THE NORTHERN DISTRICT OF CALIFORNIA (2006).

     8. Betz v. Trainer Wortham & Co., No. 05-15704, UNITED STATES COURT OF
        APPEALS FOR THE NINTH CIRCUIT (2007).

     9. Black v. Acme Markets, Inc., No. 76-3040, UNITED STATES COURT OF APPEALS
        FOR THE FIFTH CIRCUIT, 564 F.2d 681 (1977).

     10. Cinema Service Corp. v. Twentieth Century-Fox Film Corp., Civ. A. No. 77-265 B,
         UNITED STATES DISTRICT COURT FOR THE WESTERN DISTRICT OF
         PENNSYLVANIA, 477 F. Supp. 174 (1979).

     11. CSY Liquidating Corp. v. Harris Trust & Sav. Bank, No. 96 C 1216, UNITED STATES
         DISTRICT COURT FOR THE NORTHERN DISTRICT OF ILLINOIS, EASTERN
         DIVISION (1998).



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     12. Dollar Rent A Car Systems, Inc. v. Hertz Corp., No. C-75-2650-CBR, UNITED
        STATES DISTRICT COURT FOR THE NORTHERN DISTRICT OF CALIFORNIA,
        434 F. Supp. 513 (1977).

     13. EEOC v. Local Union No. 38, Civil Action No. C 73-0645 SC., United States District
         Court for the Northern District of California. (1981).

     14. Enron Corp. Secs. v. Enron Corp., MDL-1446, CIVIL ACTION NO. H-01-3624,
         CONSOLIDATED CASES , UNITED STATES DISTRICT COURT FOR THE
         SOUTHERN DISTRICT OF TEXAS, HOUSTON DIVISION , 439 F. Supp. 2d 692
         (2006).

     15. Feinstein v. Nettleship Co. of Los Angeles, Nos. 77-3998, 82-5698, UNITED STATES
         COURT OF APPEALS FOR THE NINTH CIRCUIT, 714 F.2d 928 (1983).

     16. Gibson v. Greater Park City Co., Civil No. C-81-0823W., United States District Court
         for the District of Utah, Central Division. (1984).

     17. Golden State Transit Corp. v. Los Angeles, CA No. 83-5903, UNITED STATES
         COURT OF APPEALS FOR THE NINTH CIRCUIT, 726 F.2d 1430 (1984).

     18. Go-Video v. Motion Picture Ass'n of Am. (In re Dual-Deck Video Cassette Recorder
         Antitrust Litig.), No. 92-15967, UNITED STATES COURT OF APPEALS FOR THE
         NINTH CIRCUIT, 10 F.3d 693 (1993).

     19. Go-Video, Inc. v. Akai Electric Co., No. 88-2900, UNITED STATES COURT OF
         APPEALS FOR THE NINTH CIRCUIT, 885 F.2d 1406 (1989).

     20. High Tech. Careers v. San Jose Mercury News, CIVIL NO. 90-20579 SW, UNITED
         STATES DISTRICT COURT FOR THE NORTHERN DISTRICT OF CALIFORNIA
         (1994).

     21. Hilo v. BP Exploration & Oil, No. 95-56545, UNITED STATES COURT OF APPEALS
         FOR THE NINTH CIRCUIT (1997).

     22. Hilo v. Exxon Corp., No. 92-56496, UNITED STATES COURT OF APPEALS FOR
         THE NINTH CIRCUIT, 997 F.2d 641 (1993).



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     23. Horizons International, Inc. v. Baldrige, Nos. 86-1135, 86-1144, UNITED STATES
         COURT OF APPEALS FOR THE THIRD CIRCUIT, 811 F.2d 154 (1987).

     24. In re Airport Car Rental Antitrust Litigation, No. 81-4399, UNITED STATES COURT
         OF APPEALS FOR THE NINTH CIRCUIT, 693 F.2d 84 (1982).

     25. In re Beef Industry Antitrust Litigation, MDL No. 248, UNITED STATES DISTRICT
         COURT FOR THE NORTHERN DISTRICT OF TEXAS, DALLAS DIVISION, 542 F.
         Supp. 1122 (1982).

     26. In re Municipal Bond Reporting Antitrust Litigation, No. 80-2012, UNITED STATES
         COURT OF APPEALS, FIFTH CIRCUIT, 672 F.2d 433 (1982).

     27. In re Tableware Antitrust Litig., No C-04-3514 VRW , UNITED STATES DISTRICT
        COURT FOR THE NORTHERN DISTRICT OF CALIFORNIA (2007).

     28. J.T. Gibbons, Inc. v. Crawford Fitting Co., Civ. A. No. 79-1127, UNITED STATES
         DISTRICT COURT FOR THE EASTERN DISTRICT OF LOUISIANA, 565 F. Supp.
         167 (1981).

     29. Jacobs v. G. Heileman Brewing Co., Civil Action No. 82-736, UNITED STATES
         DISTRICT COURT FOR THE DISTRICT OF DELAWARE, 551 F. Supp. 639 (1982).

     30. Johnston v. IVAC Corp., No. 88-1639, UNITED STATES COURT OF APPEALS FOR
         THE FEDERAL CIRCUIT, 885 F.2d 1574 (1989).

     31. Kalmanovitz v. G. Heileman Brewing Co., No. 84-5682, UNITED STATES COURT OF
        APPEALS FOR THE THIRD CIRCUIT, 769 F.2d 152 (1985).

     32. Lec Tec Corp. v. Johnson & Johnson, Civil No. 3-81-644; Civil No. 4-79-189., United
         States District Court for the District of Minnesota, Fourth Division (1982).

     33. Los Angeles Memorial Coliseum Comm'n v. National Football League, Nos. 83-5907,
         83-5908, 83-5909, UNITED STATES COURT OF APPEALS FOR THE NINTH
         CIRCUIT, 791 F.2d 1356 (1986).

     34. McDonald v. Johnson & Johnson, Civ. No. 4-79-189, UNITED STATES DISTRICT
         COURT FOR THE DISTRICT OF MINNESOTA, FOURTH DIVISION, 537 F. Supp.
         1282 (1982)
  Joseph M. Alioto                                                                             7
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     35. Montreal Trading, Ltd. v. Amax, Inc., No. 79-1999, UNITED STATES COURT OF
         APPEALS, TENTH CIRCUIT, 661 F.2d 864 (1981).

     36. National Ass'n of Review Appraisers & Mortgage Underwriters v. Appraisal Found., No.
         94-2689, No. 94-3074, UNITED STATES COURT OF APPEALS FOR THE EIGHTH
         CIRCUIT, 64 F.3d 1130 (1995).

     37. Newby v. Enron Corp. (In re Enron Corp. Secs., Derivative & ERISA Litig.), MDL-
        1446, CIVIL ACTION NO. H-01-3624 CONSOLIDATED CASES , UNITED STATES
        DISTRICT COURT FOR THE SOUTHERN DISTRICT OF TEXAS, HOUSTON
        DIVISION (2007).

     38. Omni Resource Dev. Corp. v. Conoco, Inc., No. 82-4615, UNITED STATES COURT
         OF APPEALS FOR THE NINTH CIRCUIT, 739 F.2d 1412 (1984).

     39. Ostrofe v. H. S. Crocker Co., No. 77-3985, UNITED STATES COURT OF APPEALS,
        NINTH CIRCUIT, 670 F.2d 1378 (1982).

     40. Overhead Door Corp. v. Nordpal Corp., No. 4-75-Civ. 523., United States District Court
         for the District of Minnesota, Fourth Division. (1978).

     41. Pabst Brewing Co. v. Kalmanovitz, Civil Action No. 82-711, UNITED STATES
        DISTRICT COURT FOR THE DISTRICT OF DELAWARE, 551 F. Supp. 882 (1982).

     42. Paramount Film Distributing Corp. v. Civic Center Theatre, Inc., Nos. 7565, 7566, 7573,
         7585, UNITED STATES COURT OF APPEALS TENTH CIRCUIT, 333 F.2d 358
         (1964).

     43. Phototron Corp. v. Eastman Kodak Co., No. 88-1128, UNITED STATES COURT OF
         APPEALS FOR THE FIFTH CIRCUIT, 842 F.2d 95 (1988).

     44. Reazin v. Blue Cross & Blue Shield, Inc., No. 85-6027-K, UNITED STATES
        DISTRICT COURT FOR THE DISTRICT OF KANSAS, 663 F. Supp. 1360 (1987).

     45. Reilly v. Medianews Group, Inc., No. C 06-04332 SI , UNITED STATES DISTRICT
        COURT FOR THE NORTHERN DISTRICT OF CALIFORNIA (2007).



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     46. Spanish International Communications Corp., SIN, Inc. v. Leibowitz, Case No. 84-0655-
         Civ-Aronovitz, UNITED STATES DISTRICT COURT FOR THE SOUTHERN
         DISTRICT OF FLORIDA, 608 F. Supp. 178 (1985).

     47. Stratmore v. Goodbody, No. 88-5130, UNITED STATES COURT OF APPEALS FOR
        THE SIXTH CIRCUIT, 866 F.2d 189; 1989 U.S. App. LEXIS 492 (1989).

     48. Syufy Enterprises v. National General Theatres, Inc., No. 76-2003, UNITED STATES
        COURT OF APPEALS FOR THE NINTH CIRCUIT, 575 F.2d 233 (1978).

     49. Thornhill Pub. Co. v. General Tel. & Electronics Corp., No. 76-3428, UNITED
         STATES COURT OF APPEALS, NINTH CIRCUIT, 594 F.2d 730 (1979).

     50. Transeuro Amertrans Worldwide Moving & Relocations, Ltd. v. Conoco, Inc., No. 02-
         5174 , UNITED STATES COURT OF APPEALS FOR THE TENTH CIRCUIT , 95
         Fed. Appx. 288 (2004).

     51. Traweek v. San Francisco, No. C 83-5640 TEH, UNITED STATES DISTRICT COURT
         FOR THE NORTHERN DISTRICT OF CALIFORNIA, 659 F. Supp. 1012 (1985).

     52. Turner v. Johnson & Johnson, Civil Action No. 79-2259-MC, UNITED STATES
        DISTRICT COURT FOR THE DISTRICT OF MASSACHUSETTS, 549 F. Supp. 807
        (1982).

     53. Turner v. Johnson & Johnson, Nos. 86-1211, 86-1212, UNITED STATES COURT OF
        APPEALS FOR THE FIRST CIRCUIT, 809 F.2d 90 (1986).

     54. Unioil, Inc. v. E.F. Hutton & Co., No. 85-6024, UNITED STATES COURT OF
        APPEALS FOR THE NINTH CIRCUIT, 809 F.2d 548 (1986).

     55. United Ass'n Local 38 Pension Trust Fund v. Aetna Cas. & Sur. Co., No. 84-2667,
         UNITED STATES COURT OF APPEALS FOR THE NINTH CIRCUIT, 790 F.2d 1428
         (1986).

     56. United States v. G. Heileman Brewing Co., Civil Action No. 82-750, UNITED STATES
         DISTRICT COURT FOR THE DISTRICT OF DELAWARE, 563 F. Supp. 642 (1983).




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     57. Unocal Corp. v. Kaabipour, No. 97-56324, No. 98-56216, No. 98-56631, No. 98-56365,
         UNITED STATES COURT OF APPEALS FOR THE NINTH CIRCUIT, 177 F.3d 755
         (1999).

     58. Wang & Wang, LLP v. Banco Do Brasil, S.A., No. Civ. S-06-00761 DFL KJM ,
         UNITED STATES DISTRICT COURT FOR THE EASTERN DISTRICT OF
         CALIFORNIA (2007).

     59. Zinser v. Continental Grain Co., Nos. 79-2296, 79-2310, UNITED STATES COURT
        OF APPEALS, TENTH CIRCUIT, 660 F.2d 754 (1981).




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     Theresa D. Moore

         Ms. Moore specializes in trial practice and mediation. Her substantive legal focus includes
     antitrust, unfair competition, business, consumer and complex class actions. Ms. Moore has
     been representing antitrust plaintiffs with the Alioto Law Firm since 1981. She has been lead
     counsel in over 100 trials, including civil and criminal trials as a Deputy District Attorney in
     San Francisco.

         Ms. Moore is a Judge Pro Tem for the State of California in San Francisco Superior
     Court. She is a distinguished Professor Adjunct in Trial Advocacy and Evidence at the
     University of California, Hastings College of Law. She has served as keynote speaker and co-
     chair for the National College of Advocacy.

         Ms. Moore is also a California Certified Mediator and Special Master. She has
     successfully mediated approximately 150 cases for private and government organizations,
     including the Federal Equal Employments Opportunity Commission, Multi-Option ADR
     Project, State of California First District Court of Appeal , Conflicts Resolution Center, San
     Francisco Superior Court, and the San Mateo County Courts.

         Ms Moore received her Juris Doctor from the University of California, Hastings College
     of the Law in 1981. She received her Bachelor of Arts from the University of Santa Clara in
     1978.

         Ms. Moore is admitted to practice in the State of California, as well as the United States
     District Courts for the Northern, Eastern and Central Districts of California.

         A representative sample of Ms. Moore’s class action and antitrust cases includes:

     AD/SAT v. Associated Press, et al.-- antitirust litigation alleging illegal pricing
     U.S.D.C. S.D.N.Y.; Case No. 94-civ-6655 (PKL)

     In Re: Airline Ticket Commission Antitrust Litigation- antitrust class action alleging that the
     airlines conspired to fix travel agents’ commission rates
     U.S.D.C. Minn Fourth Division;MDL Docket No. 1058 Master File No. 4-95-107 (all actions
     combined)

     AD/SAT v. McClatchy Newspapers, Inc.-- anititrust litigation alleging and illegal pricing
     conspiracy U.S.D.C. for the Eastern District of California; Case No. CIV-S-95-1387 (DFL)
     (PAN)

     Neve Brothers, et al. v. Potash Corporation of Saskatechewan, et al.-- antitrust class action
     of inidrect purchasers of potash.
     Sup. Ct. CA S.F. Case No. 959767; Ct. App. CA, 1st Dist..
  Theresa D. Moore                                                                                    11
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     Notz et al v Ticketmaster-Southern Californai, Inc. et al. --antitrust consumer class action
     alleging a territorial allocation in violation of the Cartwright Act
     Sup. Ct. CA S.F. Case No. 943-327

     Cosmetics Antitrust Litigation--antitrust class action alleging that manufacturers of prestige
     cosmetics and retail department stores conspired to prevent discounting of cosmetics Sup. Ct
     CA Marin J.C.C.P. 4056; USDC N.D.CA No. 3:03 cv-03359 SBA

     Automobile Antitrust Litigation I, II JCCP 4298 and 4303—antitrust statewide class action
     by indirect purchasers alleging a price fixing conspiracy. Sup.Ct. CA S.F; J.C.C.P. Nos.
     004298, 004303;U.S.D.C. for the District of Maine; MDL 03-md-1532

     Clayworth, et al. v. Pfizer, Inc., et al.--antitrust action by indirect purchaser retail pharmacists
     alleging a price fixing conspiracy. against major drug manufacturers
     Sup. Ct. CA Alameda Case No. 04172428

     In Re Nasdaq Market Makers Antitrust Litigation --antitrust nationwide class action alleging
     a price fixing conspiracy MDL 1023 94 Civ. 3996 (RWS)

     Breaux v Agency Rent a Car; USDC N.D. CA--class action of employees of rental car
     company

     In Re Tableware Litigation; antitrust action alleging illegal pricing and boycott U.S.D.C. Case
     No. C-04-3514 VRW




  Theresa D. Moore                                                                                    12
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     Angelina Alioto-Grace

         Mrs. Alioto-Grace is a general commercial litigator with a focus in antitrust, complex
     business tort, class action, intellectual property, unfair competition, and racial discrimination.
     Her experience includes both trial and appellate advocacy in the federal and state courts. Mrs.
     Alioto-Grace’s responsibilities include all aspects of trial preparation from opening statement
     through argument. Additional pre-trial responsibilities include initiating pleadings, all phases
     of discovery, client retention and management, and settlement negotiation.

         Mrs. Alioto-Grace is admitted to practice in the State of California, the State of New
     York, the Commonwealth of Massachusetts, the United States Supreme Court, the Ninth
     Circuit Court of Appeals, the United States District Court for the Northern District of
     California and the United States District Courts for the Southern and Eastern Districts of New
     York.

        Mrs. Alioto-Grace is a former associate of Akin, Gump, Strauss, Hauer & Feld L.L.P. in
     New York, New York. She received her Juris Doctorate in 1995 from the Georgetown
     University Law Center. After law school, Mrs. Alioto-Grace clerked for the Office of the
     Counsel to the President of the United States.




  Angelina Alioto-Grace                                                                             13
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     Thomas P. Pier

         Mr. Pier practices antitrust litigation with the Alioto Law Firm. He is admitted to practice
     in the State of California, as well as the United States District Court for the Northern District
     of California. Since joining the Alioto Law Firm in 2005, Mr. Pier has been involved in
     antitrust litigation in the fields of transportation, communications, pharmaceuticals, and
     building controls. Mr. Pier’s primary responsibilities are in the coordination of discovery
     matters.

         Mr. Pier received a Juris Doctorate from the University of San Francisco in 2004. Mr.
     Pier also received a Master of Arts in Journalism from the University of Texas, Austin in
     2003, and a Bachelor of Arts in Public Policy from Brown University in 1995.




  Thomas P. Pier                                                                                   15
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            2015                    -795'00                    2'0             0'0             0'0             0'0             0'0             0'0             0'0             3'0             0'0            9'1             4'0             0'0               18'1 -14&397'45

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                 UNITED STATES DISTRICT COURT FOR THE NORTHERN DISTRICT OF CALIFORNIA


               If You Bought A Cathode Ray Tube Product,
                          A Class Action Settlement May Affect You.

         Cathode Ray Tube (CRT) Products include Cathode Ray Tubes and finished products
            that contain a Cathode Ray Tube such as Televisions and Computer Monitors



             A Federal Court authorized this Notice. This is not a solicitation from a lawyer.

    •   There is a lawsuit pending involving CRT Products purchased indirectly from the Defendants
        set out below. “Indirect” means that you did not buy the CRT Product directly from any
        Defendant. The lawsuit, which is brought as a Class Action, seeks: (a) nationwide injunctive
        relief to prohibit the Defendants’ (listed below) behavior that is the subject of the lawsuit and
        (b) money for indirect purchasers in 24 states.

    •   The states receiving money include: Arizona, California, Florida, Hawaii, Illinois, Iowa,
        Kansas, Maine, Michigan, Minnesota, Mississippi, Nebraska, Nevada, New Mexico, New
        York, North Carolina, North Dakota, Oregon, South Dakota, Tennessee, Vermont, West
        Virginia, Wisconsin, and the District of Columbia.

    •   A Settlement has been reached with Chunghwa Picture Tubes Ltd. (called the “Settling
        Defendant”). The litigation is continuing against the remaining Non-Settling Defendants.

    •   Your legal rights are affected whether you act or don’t act. This Notice includes information
        on the Settlement and the continuing lawsuit. Please read the entire Notice carefully.


              These rights and options—and the deadlines to exercise them—are
                                   explained in this notice.
         You can object or comment on the Settlement               see Question 11
         You may also exclude yourself from the Settlement         see Question 11
         You may go to a hearing and ask the Court to speak        see Question 15
         about the Settlement yourself


    •   The Court in charge of this case still has to decide whether to approve the Settlement.
        The litigation against the Non-Settling Defendants is moving towards trial.




            For More Information: Call 1-800-673-4790 or Visit www.CRTsettlement.com
                                            Page 1 of 7
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                                WHAT THIS NOTICE CONTAINS
    
    BASIC INFORMATION ........PAGES 3, 4
            1.    Why is there a notice?
         2.    Who are the Defendant companies?
         3.    What is this lawsuit about?
         4.    Why is there a Settlement but the litigation is continuing?
         5.    What is a Cathode Ray Tube (CRT) Product?
         6.    What is a class action?

    THE SETTLEMENT CLASS ....PAGES 4, 5, 6
         7.    How do I know if I’m one of the Settlors?
         8.    Why does the Settlement exclude claims under the Washington
               Unfair Business Practices and Consumer Protection Act?
         9.    What does the Settlement provide?
         10.   When can I get a payment?
         11.   What are my rights in the Settlement?
         12.   What am I giving up to stay in the Settlement?

    THE SETTLEMENT APPROVAL HEARING........PAGE 6
         13.   When and where will the Court decide whether to approve the
               Settlement?
         14.   Do I have to come to the hearing?
         15.   May I speak at the hearing?

    THE LAWYERS REPRESENTING YOU .......PAGES 7
         16.   Do I have a lawyer in the case?
         17.   How will the lawyers be paid?

    PURCHASE RECORDS .....PAGE 7
         18.   What steps should I take to demonstrate evidence of purchase/ownership
               of a CRT Product?

    GETTING MORE INFORMATION ..PAGE 7
         19.   How do I get more information?




         For More Information: Call 1-800-673-4790 or Visit www.CRTsettlement.com
                                         Page 2 of 7
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                                          BASIC INFORMATION

    1. Why is there a notice?

    You have the right to know about the litigation and about your legal rights and options before the
    Court decides whether to approve the Settlement.

    The Court in charge of the case is the United States District Court for the Northern District of
    California, and the case is called In re Cathode Ray Tube (CRT)) Antitrust Litigation, MDL No.
    1917. The people who sued are called Plaintiffs and the companies they sued are called
    Defendants.

    2. Who are the Defendant companies?

    The Defendant companies include: LG Electronics, Inc., LG Electronics U.S.A., Inc., LG
    Electronics Taiwan Taipei Co., Ltd, Koninklijke Philips Electronics N.V., Philips Electronics
    North America Corporation, Philips Electronics Industries (Taiwan), Ltd., Philips da Amazonia
    Industria Electronica Ltda., LP Displays International, Ltd. f/k/a LG.Philips Displays, Samsung
    Electronics Co., Ltd., Samsung Electronics America, Inc., Samsung SDI Co. Ltd., Samsung SDI
    America, Inc., Samsung SDI Mexico S.A. de C.V., Samsung SDI Brasil Ltda., Shenzhen Samsung
    SDI Co. Ltd., Tianjin Samsung SDI Co. Ltd., Samsung SDI Malaysia Sdn. Bhd., Toshiba
    Corporation, Toshiba America, Inc., Toshiba America Consumer Products, LLC., Toshiba
    America Information Systems, Inc., Toshiba America Electronics Components, Inc., Panasonic
    Corporation f/k/a Matsushita Electric Industrial, Ltd., Panasonic Corporation of North America,
    MT Picture Display Co., Ltd., Beijing-Matsushita Color CRT Company, Ltd. (BMCC), Hitachi,
    Ltd., Hitachi Displays, Ltd., Hitachi Electronic Devices (USA), Inc., Hitachi America, Ltd.,
    Hitachi Asia, Ltd., Tatung Company of America, Inc., Chunghwa Picture Tubes Ltd., Chunghwa
    Picture Tubes (Malaysia) Sdn. Bhd., IRICO Group Corporation, IRICO Display Devices Co., Ltd.,
    IRICO Group Electronics Co., Ltd., Thai CRT Company, Ltd., and Samtel Color, Ltd.


    3. What is this lawsuit about?

    The lawsuit claims that the Defendants conspired to fix, raise, maintain or stabilize prices of CRT
    Products resulting in overcharges to consumers who bought CRT Products such as Televisions and
    Computer Monitors. The Defendants deny that they did anything wrong. The Court has not
    decided who is right.

    4. Why is there a Settlement but the litigation is continuing?

    Only one of the Defendants has agreed to settle the lawsuit. The case is continuing against the
    remaining Non-Settling Defendants. Additional money may become available in the future as a
    result of a trial or future settlements, but there is no guarantee that this will happen.

    5. What is a Cathode Ray Tube (CRT) Product?

    For the purposes of the Settlement, Cathode Ray Tube (CRT) Products means Cathode Ray Tubes
    of any type (e.g. color display tubes, color picture tubes and monochrome display tubes) and
    finished products which contain Cathode Ray Tubes, such as Televisions and Computer Monitors.


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    6. What is a class action?

    In a class action, one or more people, called class representatives, sue on behalf of people who
    have similar claims. All these people are a class or class members, except for those who exclude
    themselves from the class.

    If the Plaintiffs obtain additional money or benefits as a result of a trial or future settlement(s), you
    will be notified about how to ask for a share or what your other options are at that time. These
    things are not known right now. Important information about the case will be posted on the
    website, www.CRTsettlement.com, as it becomes available. Please check the website to be kept
    informed about any future developments.

                                          THE SETTLEMENT CLASS

    7. How do I know if I am one of the Settlors?

    The Settlement Class (“Settlors”) includes any person or business that indirectly bought in the U.S.
    (excluding claims under the Washington Unfair Business Practices and Consumer Protection Act)
    from March 1, 1995 through November 25, 2007, any CRT Product made by the Defendants.
    Both consumers and resellers are included in the Settlement Class. Also excluded are
    governmental entities.

    8. Why does the Settlement exclude claims under the Washington Unfair Business
        Practices and Consumer Protection Act?

    Based on a motion by the Washington Attorney General, the Special Master in this case has
    determined that the settlement may not release claims under the Washington Unfair Business
    Practices and Consumer Protection Act because only the Washington Attorney General may
    release those claims.

    9. What does the Settlement provide?

    The Settlement provides for the payment by Settling Defendant of $10,000,000 in cash, plus
    interest, to the Settlors. It also provides that the Settling Defendant will furnish information about
    the case, including other Defendants’ involvement in the alleged conspiracy, to Class Counsel.
    Finally, it provides that part of the $10 million settlement fund may be used to pay expenses
    incurred in the litigation.

    More details are in the Settlement Agreement, available at www.CRTsettlement.com.

    10. When can I get a payment?

    No money will be distributed to Settlors yet. The lawyers will pursue the lawsuit against the Non-
    Settling Defendants to see if any future settlements or judgments can be obtained in the case and
    then be distributed together to reduce expenses. It is possible that money will be distributed to
    organizations who are, as nearly as practicable, representative of the interests of indirect
    purchasers of CRT Products instead of Settlors themselves if the cost to process claims would


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    result in small payments to Settlors. Regardless of whether the money is distributed to
    organizations or the Settlors themselves, the money from the current settlement, will first be
    allocated amongst the 24 states listed on page 1 of this notice, so that each state receives its pro
    rata share. Each state’s pro rata share shall be determined by computing its population as a
    percentage of the total population of all 24 states using census figures from the year 2000.

    11. What are my rights in the Settlement?

    Remain in the Settlement: If you wish to remain a participant in the Settlement you do not need
    to take any action at this time.

    Get out of the Settlement: If you wish to keep your right to sue the Settling Defendant about the
    claims of the class in this case, you must exclude yourself. You will not be entitled to receive any
    money from this Settlement if you exclude yourself from the Settlement.

    To exclude yourself from the Settlement, you must send a letter that includes the following:
        • Your name, address and telephone number;
        • A statement saying that you want to be excluded from In re Cathode Ray Tube (CRT)
            Antitrust Litigation, MDL No. 1917, Chunghwa Settlement; and
        • Your signature.

    You must mail your exclusion request, postmarked no later than February 1, 2012, to:

                                        CRT Indirect Exclusions
                                      c/o The Notice Company Inc.
                                              PO Box 778
                                          Hingham, MA 02043

    Remain in the Settlement and Object: If you have comments about, or disagree with, any aspect
    of the Settlement, you may express your views to the Special Master by writing to the address
    below. The written response needs to include your name, address, telephone number, the case
    name and number (In re Cathode Ray Tube (CRT) Antitrust Litigation, MDL No. 1917), a brief
    explanation of your reasons for objection, and your signature. The response must be postmarked
    no later than February 1, 2012 and mailed to:

                                               LOCATION

                                    Honorable Charles A. Legge (Ret.)
                                                JAMS
                                     Two Embarcadero, Suite 1500
                                       San Francisco, CA 94111

             INTERIM LEAD COUNSEL                                   DEFENSE COUNSEL

    Mario N. Alioto, Esq.                                Joel S. Sanders, Esq.
    Trump, Alioto, Trump & Prescott LLP                  Gibson Dunn & Crutcher LLP
    2280 Union Street                                    555 Mission Street, Suite 3000
    San Francisco, CA 94123                              San Francisco, CA 94105



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    12. What am I giving up to stay in the Settlement?

    Unless you exclude yourself from the Settlement, you can’t sue Settling Defendant, continue to
    sue, or be part of any other lawsuit against Settling Defendant about the legal issues in this case. It
    also means that all of the decisions by the Court will bind you. The “Release of Claims” includes
    any causes of actions asserted or that could have been asserted in the lawsuit, as described more
    fully in the Settlement Agreement.                The Settlement Agreement is available at
    www.CRTsettlement.com.


                                 THE SETTLEMENT APPROVAL HEARING

    13. When and where will the Court decide whether to approve the Settlement?

    The Special Master will hold a Fairness Hearing at 2:00 p.m. on March 15, 2012, at JAMS, Two
    Embarcadero, Suite 1500, San Francisco, CA 94111. The hearing may be moved to a different
    date or time without additional notice, so it is a good idea to check www.CRTsettlement.com. At
    this hearing the Special Master will consider whether the Settlement is fair, reasonable and
    adequate. The Special Master will also consider Interim Lead Class Counsel’s request for
    payment of $2.5 million from the Settlement Fund to be used for expenses incurred in this case. If
    there are objections or comments, the Special Master will consider them at that time. After the
    hearing, the Special Master will decide whether to approve the Settlement. We do not know how
    long these decisions will take.

    14. Do I have to come to the hearing?

    No. Interim Lead Class Counsel and the Attorneys General of Illinois and Oregon will answer any
    questions the Special Master may have. But you are welcome to come at your own expense. If
    you send an objection or comment, you don’t have to come to the Fairness Hearing to talk about it.
    As long as you mailed your written objection on time, the Special Master will consider it. You
    may also pay another lawyer to attend, but it’s not required.

    15. May I speak at the hearing?

    If you want your own lawyer instead of Interim Lead Class Counsel or the Attorneys General of
    Illinois and Oregon (if applicable) to speak at the Fairness Hearing, you must give the Special
    Master a paper that is called a “Notice of Appearance.” The Notice of Appearance should include
    the name and number of the lawsuit (In re Cathode Ray Tube (CRT) Antitrust Litigation, MDL No.
    1917), and state that you wish to enter an appearance at the Fairness Hearing. It also must include
    your name, address, telephone number, and signature. Your “Notice of Appearance” must be
    postmarked no later than February 1, 2012. You cannot speak at the Hearing if you previously
    asked to be excluded from the Settlement.

    The Notice of Appearance must be filed with the Court, with copies sent to the Interim Lead
    Counsel and Defense Counsel at the addresses listed in Question 11.



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                                  THE LAWYERS REPRESENTING YOU

    16. Do I have a lawyer in this case?

    The Court has appointed Mario N. Alioto of Trump, Alioto, Trump & Prescott LLP as “Interim
    Lead Class Counsel” to represent members of the Settlement Class. The Settlement Class is
    defined in Paragraph 1 of the Order Granting Preliminary Approval of Class Action Settlement
    with Defendant Chunghwa Picture Tubes, Ltd., which is available at www.CRTsettlement.com.
    If you are a resident of Illinois or Oregon, you are a member of the Settlement Class but are
    represented by the Attorney General of your state with respect to your claims under those states’
    antitrust laws.

    17. How will the lawyers be paid?

    You do not have to pay Interim Lead Class Counsel. If you want to be represented by your own
    lawyers, and have that lawyer appear in court for you in this case, you may hire one at your own
    expense. At a future time, Interim Lead Class Counsel will ask the Court for attorneys’ fees not to
    exceed twenty five percent (25%) of the $10,000,000 Settlement Fund plus reimbursement of their
    costs and expenses, in accordance with the provisions of the Settlement. Interim Lead Class
    Counsel may also request that an amount be paid to each of the Class Representatives who helped
    the lawyers on behalf of the whole Class.


                                           PURCHASE RECORDS

     18. What steps should I take to demonstrate evidence of purchase/ownership of a CRT
     Product?


    If you have purchase receipts, invoices or any other proof of purchase of any CRT Product, please
    retain those documents. If you presently have a CRT Product, please keep it if at all possible. If
    you are unable to do so, please photograph the front and rear of the CRT Product including any
    brand name and record the model number, serial number, size and any other information which
    you believe will help identify the manufacturer of the CRT Product.


                                     GETTING MORE INFORMATION

    19. How do I get more information?

    This Notice summarizes the lawsuit and the Settlement. You can get more information about the
    lawsuit and Settlements at www.CRTsettlement.com, by calling 1-800-673-4790, or writing to
    CRT Indirect Settlement, c/o The Notice Company Inc., PO Box 778, Hingham, MA 02043.
    Please do not contact JAMS or the Court about this case.




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